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    About Us

    What is Blind?

    Blind is a trusted community where verified professionals connect to discuss what matters most.

    Professionals anonymously communicate in private company channels and openly with users across industries. Blind is a
    place where 3.5MM+ professionals worldwide share advice, provide honest feedback, improve company culture and
    discover relevant career information.


    Our Mission

    Blind is a platform for change. Our mission towards transparency breaks down professional barriers - empowering
    informed decisions and inspiring productive change in the workplace.




    Why Blind                                                   Community Guidelines

    About Us                                                    FAQs

    Blog                                                        Updates

    Careers                                                     Sitemap




    DOWNLOAD THE APP



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https://www.teamblind.com/about                                                                                             1/1
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    FAQ

    Sign Up

    How do I join Blind?

    You’ll need to verify an email to join Blind. Both personal and work emails are accepted but each will give you different
    levels of access. Verifying a valid work email will give you access to all available channels for your company. You’ll also
    receive full read and write permissions. All other emails will give you read-only-access in our public Topics channel.

    To create an account on the app, enter your email address in the Email Verification field. If you’re opening an account on
    the website, enter your email after selecting Sign Up.


    Why do I need to verify a work email to get full access?

    A core part of our service is to build and maintain a community of verified professionals. Work emails are the best way for
    us to gauge the professional status of potential users.

    If you are worried about security, we’d like you to know that emails are not connected to accounts. You’ll also never
    receive messages from TeamBlind unless requested. To learn more, check out the Privacy and Security section of this
    FAQ.


    I work at a university. Why can’t I get full access with my work email?

    Accounts verified with an education domain (.edu) are given read-only-access in our public forum. We provide this limited
    access because both professionals and students use the .edu domain. Our intention is to build a community of verified
    professionals. Giving students full access may change our community into something we do not intend it to be.

    Our team is discussing solutions that will allow academic and research professionals to participate on Blind. We'll share
    updates as they come!


    I didn’t receive a verification code. How do I complete the sign-up process?

    Make sure you check your spam folder. If you still can’t find the verification code, email us at blindapp@teamblind.com. If
    your company is blocking incoming or outgoing messages to TeamBlind, you can write to us from your personal email
    address.



    Using Blind

    What features are offered?

    Blind provides multiple discussion forums where you can connect with other professionals:

        - A private company channel to discuss all things work-related with just your co-workers
        - An exclusive group channel to connect with employees at affiliated companies

https://www.teamblind.com/faqs                                                                                                    1/4
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        - A public Topics channel where you can engage with the entire Blind community

    Additional features include: group chats, 1:1 conversations, a salary comparison tool, company reviews and more. Please
    note that some features are only available on either app or web.


    Why don’t I have a company channel?

    Company channels are unlocked when 30 employees join. Each company must also meet certain criteria to be eligible for
    a private channel.


    How do I customize my channels?

    On the app, go to My Page > Customize Topics. To customize channels from the website, scroll through the list of
    channels on the homepage. You’ll find a link that will allow you to follow more topics.


    I used up all of my DMs. How do I get more?

    Every user gets 10 free DMs per month. Unused DMs do not roll over to the next month. If you run out of DMs, you can
    purchase more using B Money. Just go to My Page > Items and make your purchase. This can only be done on the app.


    What is B Money?

    B Money is the currency used on Blind. You can use B Money to acquire additional DMs and premium group chat options.
    To purchase B Money or see the list of current B Money prices, go to My Page > B Money. This feature is only available
    on the app.



    Community Standards

    What are the community policies?

    In order to have a sustainable community, we require all members to abide by our Community Guidelines. The guidelines
    are always accessible on both the app and website. We encourage everyone to reference our policies when writing and
    reporting content.


    How do I report content?

    Select the three dot icon (• • •) on the post or comment you wish to report. Choose the option to Flag Content and provide
    a reason. You can always reference our Community Guidelines when reporting content.


    How does Blind moderate the community?

    Blind is a self-moderating community. Posts are automatically removed based on the flags received. Please note that
    every flag is weighed differently based on its category. A specific number of flags is not the sole criteria for removal of
    content.

    Human moderation does take place for certain cases that are brought to our attention. If you request for our involvement,
    please also flag the content that you’d like us to review. This helps expedite the review process.

    Users are subject to account restrictions when their content is removed. Repeat offenses or posting extremely
    inappropriate content can lead to a permanent restriction.



    Account Management
https://www.teamblind.com/faqs                                                                                                    2/4
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    How do I change my username?

    Usernames can only be updated on the app. Go to My Page > Edit > Username. You can change your username once
    per day.


    How do I change my password?

    Passwords can only be updated on the app. Go to My Page > Settings > Change Password.


    I forgot my password. Can you help me retrieve it?

    We are unable to retrieve passwords due to certain security constraints that are meant to protect your anonymity. To
    access Blind, you will need to create a new account.


    Why am I being prompted to re-verify my email?

    We ask users to re-verify emails on a periodic basis. This allows us to update each user’s employment status and it
    allows us to give each user access to the appropriate channels.


    How do I delete my posts?

    Select the three dot icon (• • •) on any post you wish to remove, then choose to delete. Deleting will permanently remove
    your content from Blind. To see a full list of your content, you can check the Activity History in your profile.


    How do I delete my account?

    Email us at blindapp@teamblind.com. Please provide your username when you submit your request.



    Privacy and Security

    Will my employer know that I’m on Blind if I verify my work email?

    Your employer will not know that you’re on Blind if you decide to join.

    If your employer monitors company email accounts, it’s possible for them to find out whether or not you requested a
    verification code. However, receiving a verification code does not mean that you have an account with us. There are
    additional steps that must be taken to set up an account. Once an account is set up, we never send out a confirmation
    email.


    Can I be identified if I join Blind?

    The only information that’s required when joining is an email address. Emails are one-way hashed, salted and encrypted.
    Accounts are stored on a separate server from hashed email addresses. This means that your activity will never be
    connected to your email. Your name will not even be connected to your account since we never ask for this information. In
    short, you will be anonymous, even to our team members.

    To further protect your anonymity, we ask that you not share personally identifiable information with other users. With
    enough details, they may be able to find out your identity.


    Can I hide my company name to avoid being identified?

    Your company name is made visible if the company employs at least 50 people. Unless you share personally identifiable
    information with others (which we discourage), you shouldn’t have to worry about being identified.
https://www.teamblind.com/faqs                                                                                                  3/4
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    Company names are assigned to each user after verifying employment. The advantage of seeing company names is that
    both you and other users can know who you are connecting with. For example, an Amazon employee, Facebook
    employee and so on. The company tag is a vital component of our verified community and we do not allow users to hide it
    at this time.


    Where can I find your Terms of Use and Privacy Policy?

    You can find them here on our website: Terms of Use and Privacy Policy. To find them on the app, go to the verification
    screen or locate them by going to My Page > Settings.


    Still need help? Contact us at blindapp@teamblind.com

                                                                                                           Updated June 2020




    Why Blind                                                    Community Guidelines

    About Us                                                     FAQs

    Blog                                                         Updates

    Careers                                                      Sitemap




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             Terms of Use & Sale


    Terms of Use

    These Terms of Use (“Terms”) govern your use of Teamblind Inc.’s (“Teamblind” or “our”) services (“Services” or “Blind”), and any
    information, text, graphics, photos or other materials uploaded, downloaded or appearing on Blind (collectively referred to as
    "Content"). Before using Blind, you are required to read, understand and agree to these terms. Please be advised that your use of
    Blind constitutes your agreement to these Terms, so you should read them carefully. You may only access Blind after reading and
    accepting these Terms of Use.


    1. Your Agreement With Teamblind.


    1.1. Choice of Law. Your relationship is with Teamblind, a Delaware company, and you agree to be bound by the laws of California
    and the laws of the United States.
    1.2. Any information that you provide to Teamblind is subject to our Privacy Policy, which governs our collection and use of your
    information. You understand that through your use of the Services you consent to the collection and use (as set forth in the Privacy
    Policy) of this information, including the transfer of this information to the United States and/or other countries for storage,
    processing and use by Teamblind. As part of providing you the Services, we may need to provide you with certain communications,
    such as service announcements and administrative messages. These communications are considered part of the Services and your
    Blind account, which you may not be able to opt-out from receiving.
    1.3. By using our Services, you agree, to the fullest extent permitted by law, to defend, indemnify and hold harmless Teamblind and
    all of its employees, shareholders, owners, officers and agents (“Teamblind Group”) harmless from and against any claim or
    demand, made by any third party arising out of: 1) your use of our Services; 2) Content (including posts, images, videos, and other
    materials) you upload or share on Blind); 3) your connection to our Services; 4) your violation of these Terms of Use; or 5) violation
    of any other applicable laws.


    2. Basic Terms.


    2.1. You are responsible for your use of the Services, for any Content you post to the Services, and for any consequences thereof.
    The Content you submit, post, or display on any message board will be able to be viewed by other users of the Services who have
    the right to submit, post, or display on the same board. You should only provide Content that you are comfortable sharing with
    others under these Terms. You agree that by using the Services or posting any Content, you have reviewed and will adhere to our
    Community Guidelines.
    2.2. You may use the Services only if you can form a binding contract with Teamblind and are not a person barred from receiving
    services under the laws of the United States or other applicable jurisdiction.
    2.3. The Services that Teamblind provides are always evolving and the form and nature of the Services that Teamblind provides
    may change from time to time without prior notice to you. In addition, Teamblind may stop (permanently or temporarily) providing the
    Services (or any features within the Services) to you or to users generally and may not be able to provide you with prior notice. We
    also retain the right to create limits on use and storage at our sole discretion at any time without prior notice to you.
    2.4. The Services may include advertisements, which may be targeted to the Content or information on the Services, queries made
    through the Services, or other information. The types and extent of advertising by Teamblind on the Services are subject to change.
    In consideration for Teamblind granting you access to and use of the Services, you agree that Teamblind and its third party
    providers and partners may place such advertising on the Services or in connection with the display of Content or information from
    the Services whether submitted by you or others.


    3. Your Content.



https://us.teamblind.com/setting/term                                                                                                        1/7
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    3.1. Ownership: You retain all rights and ownership in your content. Teamblind may not monitor or control the Content posted via the
    Services and, we cannot take responsibility for such Content. Any use or reliance on any Content or materials posted via the
    Services or obtained by you through the Services is at your own risk.
    We do not endorse, support, represent or guarantee the completeness, truthfulness, accuracy, or reliability of any Content or
    communications posted via the Services or endorse any opinions expressed via the Services. You understand that by using the
    Services, you may be exposed to Content that might be offensive, harmful, inaccurate or otherwise inappropriate, or in some cases,
    postings that have been mislabeled or are otherwise deceptive. Under no circumstances will Teamblind be liable in any way for any
    Content, including, but not limited to, any errors or omissions in any Content, or any loss or damage of any kind incurred as a result
    of the use of any Content posted, emailed, transmitted or otherwise made available via the Services or broadcast elsewhere.
    3.2. Use. You hereby grant to us an unrestricted, irrevocable, perpetual, non-exclusive, fully paid and royalty free license to use,
    copy, perform, display, create derivative works of, adapt and distribute your Content in any and all media throughout the world. To
    the greatest extent permitted by applicable law, you hereby waive any and all of your moral rights applicable to our exercise of the
    foregoing license.
    3.3. Passwords. You are responsible for safeguarding the password that you use to access the Services and for any activities or
    actions under your password. We encourage you to use "strong" passwords (passwords that use a combination of upper and lower
    case letters, numbers and symbols) with your account. Teamblind cannot and will not be liable for any loss or damage arising from
    your failure to comply with the above.
    3.4. Restrictions on Content and Use of the Services. We reserve the right at all times (but will not have an obligation) to remove or
    refuse to distribute any Content on the Services, to suspend or terminate users, and to reclaim usernames without liability to you.
    Your right to access and use our Services is limited in that you are, except as expressly stated otherwise in these Terms, not
    allowed to:
    • Discuss or incite anything unlawful, misleading, malicious, or discriminatory.
    • Defame, harass, threaten, or otherwise violate the legal rights (such as rights of privacy and publicity) of other users of the
    Services, or any other individuals, groups or entities.
    • Post any image or language that is offensive, pornographic, contains nudity, harmful, inaccurate, or threatening or otherwise
    inappropriate to any individual or group.
    • Post anything contrary to our public image, goodwill or reputation.


    4. Your License To Use the Services.


    Teamblind gives you a personal, royalty-free, non-assignable and non-exclusive license to use the software that is provided to you
    by Teamblind as part of the Services. This license is for the sole purpose of enabling you to use and enjoy the benefit of the
    Services as provided by Teamblind, in the manner permitted by these Terms. This license is revocable and Teamblind reserves the
    right to limit or terminate your authorization to use Blind at any time.
    4.1. Account Information. You need to create an account with us in order to use our Services. It is your responsibility to keep your
    log-in credentials secure and you are responsible to Teamblind for all activities that occur via your account.


    5. Teamblind Rights.


    All right, title, and interest in and to the Services (excluding Content provided by users) are and will remain the exclusive property of
    Teamblind and its licensors. The Services are protected by copyright, trademark, and other laws of both the United States and
    foreign countries. Nothing in the Terms gives you a right to use the Teamblind name or any of the Teamblind trademarks, logos,
    domain names, and other distinctive brand features. Any feedback, comments, or suggestions you may provide regarding
    Teamblind, or the Services is entirely voluntary and we will be free to use such feedback, comments or suggestions as we see fit
    and without any obligation to you.


    6. Copyright Policy.


    Teamblind respects the intellectual property rights of others and expects users of the Services to do the same. We will respond to
    notices of alleged copyright infringement that comply with applicable law and are properly provided to Teamblind. If you believe that
    your Content has been copied in a way that constitutes copyright infringement, please provide Teamblind with the following

https://us.teamblind.com/setting/term                                                                                                           2/7
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    information: (i) a physical or electronic signature of the copyright owner or a person authorized to act on their behalf; (ii)
    identification of the copyrighted work claimed to have been infringed; (iii) identification of the material that is claimed to be infringing
    or to be the subject of infringing activity and that is to be removed or access to which is to be disabled, and information reasonably
    sufficient to permit Teamblind to locate the material; (iv) your contact information, including your address, telephone number, and an
    email address; (v) a statement by you that you have a good faith belief that use of the material in the manner complained of is not
    authorized by the copyright owner, its agent, or the law; and (vi) a statement that the information in the notification is accurate, and,
    under penalty of perjury, that you are authorized to act on behalf of the copyright owner.
    We reserve the right to remove Content alleged to be infringing without prior notice, at our sole discretion, and without liability to
    you. In appropriate circumstances, Teamblind will also terminate a user’s account if the user is determined to be a repeat infringer.
    Our designated copyright agent for notice of alleged copyright infringement appearing on the Services is:
    Teamblind, Inc.
    Attn: Copyright Agent
    2001 Addison Street, Suite 300
    Berkeley, CA 94704
    Email: support@teamblind.com


    7. Our Disclaimer of Warranties.


    7.1. You acknowledge and agree that by accessing or using the Services, you may be exposed to materials from others that you
    may consider offensive, indecent, or otherwise objectionable, and agree to accept that risk. Views expressed on our website or
    through our Services do not necessarily reflect our views. We do not support or endorse any content posted by you or other users.
    Certain content from others may be incorrectly labeled, rated, or categorized.
    7.2. Although we will provide reasonable security measures to protect your content, we are not liable for any damages resulting
    from the disclosure of your content.
    7.3. Disclaimer of Warranties: YOU EXPRESSLY UNDERSTAND AND AGREE THAT, TO THE MAXIMUM EXTENT PERMITTED
    BY APPLICABLE LAW, THE SERVICES AND TEAMBLIND MATERIALS ARE PROVIDED TO YOU “AS IS,” WITHOUT
    WARRANTY OF ANY KIND, EXPRESS, IMPLIED, STATUTORY, OR OTHERWISE. FOR EXAMPLE, WE MAKE NO WARRANTY
    THAT (a) THE SERVICES OR MATERIALS WILL MEET YOUR REQUIREMENTS OR WILL BE CONSTANTLY AVAILABLE,
    UNINTERRUPTED, TIMELY, SECURE, OR ERROR-FREE; (b) THE RESULTS THAT MAY BE OBTAINED FROM THE USE OF
    THE SITE, SERVICES, OR MATERIALS WILL BE EFFECTIVE, ACCURATE, OR RELIABLE; OR THAT (c) ANY ERRORS OR
    DEFECTS IN THE SITE, SERVICES, OR MATERIALS WILL BE CORRECTED.


    8. Our Limitation of Liability.


    8.1. Limitation of Liability: IN NO EVENT SHALL TEAMBLIND GROUP BE LIABLE TO YOU OR ANYONE ELSE FOR ANY
    SPECIAL, INCIDENTAL, INDIRECT, CONSEQUENTIAL, OR PUNITIVE DAMAGES WHATSOEVER.
    8.2. TEAMBLIND GROUP’S AGGREGATE LIABILITY UNDER OR IN CONNECTION WITH THIS AGREEMENT SHALL BE
    LIMITED TO ONE HUNDRED DOLLARS (US $100).
    8.3. THE LIMITATIONS AND EXCLUSIONS IN THIS SECTION APPLY TO THE MAXIMUM EXTENT PERMITTED BY
    APPLICABLE LAW IN YOUR JURISDICTION.


    9. Settling Disputes with Teamblind.


    9.1. You agree that your relationship shall be governed by the laws of the State of California and that any claims or grievances of
    any nature shall be brought exclusively in the courts of the County of Orange, or the United States District Court for the Central
    District of California.
    9.2. Disclaimer: You and Teamblind each disclaim the U.N. Convention on Contracts for the International Sale of Goods. By using
    our Services, you and Teamblind both agree it does not apply to the Services.


    10. Termination.



https://us.teamblind.com/setting/term                                                                                                              3/7
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    10.1. You can stop using our Services at any time.
    10.2. We may add, modify, or remove features or functionalities, and we may suspend or stop all or part of the Services. We may
    also stop providing Services to you, or add or create new limits to our Services at any time.
    10.2.1. If we determine in our reasonable judgment that you are not employed by or ceased employment with the company to which
    you have an access account in our Service, we may suspend or terminate your access to such account or Service without prior
    notice, at our sole discretion.
    10.3. If the Service is terminated or discontinued, then we will make a reasonable effort to notify you and provide an opportunity to
    retrieve your content. If your group administrator terminates your access to a Service, then you may no longer be able to access
    content that you or other members of the group have posted to a shared workgroup or shared workspace.


    11. Notices.


    11.1. Notice to Teamblind. Unless these Terms or any Additional Terms say otherwise, you must send any notices to: Teamblind
    Inc., 2001 Addison Street, Suite 300, Berkeley, CA 94704.
    11.2. Notice to You: For purposes of service messages and notices about the Services, Teamblind will place a banner notice across
    its pages or use other means we believe reasonable to alert you to certain messages and notices. You acknowledge and agree that
    the methods we use to notify you of any messages as described above are the best available methods for such notices, and that we
    shall have no liability associated with or arising from your failure to receive such critical information about the Services.


    12. General Terms.


    12.1. Export Control. You acknowledge that the Services, and your use and handling of the Services, are subject to U.S. and
    international laws, restrictions, and regulations that may govern the import, export, and use of the Services and Teamblind Content.
    You agree to comply with all such laws, restrictions, and regulations.
    12.2. English Version. The English version of this agreement will be the version used when interpreting or construing this
    agreement.
    12.3. Severability: If a court finds any section of the Terms invalid or unenforceable, the rest of the Terms still apply.
    12.4. No Waiver: Failure to enforce (or delay of the enforcement of) any of these Terms against you shall not constitute a waiver of
    the Terms or waiver of the right for Teamblind to enforce such Terms.
    12.5. Assignment or Transfer: You cannot assign or transfer your rights or obligations under this agreement to someone else
    without Teamblind’s written permission. We can transfer our rights and obligations to you (if we are acquired by or merge with
    another company, sell one of the Services, or otherwise) without your permission.
    12.6. Entire Agreement. These Terms are the entire and exclusive agreement between Teamblind and you regarding the Services,
    and these Terms supersede and replace any prior agreements between Teamblind and you regarding the Services. We may revise
    these Terms from time to time. If the revision, in our sole discretion, is material we will notify you via banner notice across our page
    or other means possible and appropriate for the type of notice provided. By continuing to access or use the Services after those
    revisions become effective, you agree to be bound by the revised Terms.


    Effective: October 12, 2015
    Last Updated: July 29, 2020




    Terms of Sale


    You should carefully read the following Terms of Sale (“Terms of Sale” or “Agreement”), which governs your transactions with
    Teamblind Inc. (the “Company”). To make a purchase on the Company’s services (“Blind”), you must be a registered Blind user (the
    “User”) (collectively, the “Company” and the “User” shall be referred to as the “Parties,” hereinafter) and comply with these Terms of
    Sale (including the Terms of Use found on Blind). You acknowledge that you are responsible for maintaining the security of, and
    restricting access to, your account and password, and you agree to accept responsibility for all purchases and other activities that
https://us.teamblind.com/setting/term                                                                                                          4/7
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    occur under your account. Teamblind sells its ancillary services only to those Users who can legally make purchases with a credit
    card. By placing an order to purchase a product and/or a service on or through Blind, you agree to be bound by this legal contract
    and you acknowledge that you are at least 18 years old or that you are authorized by your legal guardian to enter into this legal
    contract.


    Article 1 (Objective)
    This Terms of Sale applies to all services provided by the Company which are being made available for purchase on Blind (the
    "Service"). These rules and regulations which govern the Service specifically refer to the requisite acquisition of B Money (as
    defined in Article 4) to be used on Blind.


    Article 2 (Agreement Effect and Changes)
    1. This Agreement shall become effective when the User places an order to purchase B Money or Items (as defined in Article 4).
    Please read the terms on this Agreement carefully before you proceed with the purchase. If you do not understand the Terms of
    Sale, or do not accept any part of them, then you may not use the Services.
    2. The Company reserves the right at all times to discontinue or modify any part of this Agreement in its sole discretion. Any
    changes to this Agreement shall be updated on Blind and effective upon posting of this Agreement with such modification (the
    “Modified Agreement”); provided that no applicable laws are violated. If the Service is terminated or discontinued, then we will make
    a reasonable effort to notify you and provide an opportunity to retrieve your content.
    3. The Company suggests that the User regularly revisit Blind to ensure that he or she stays informed of any changes. You agree
    that posting the Modified Agreement with any changes on Blind is adequate notice to advise you of these changes. By continuing to
    access or use the Services after those changes become effective, you agree to be bound by the Modified Agreement, and the
    Company shall not be responsible for any damages found resulted from the User’s failure to familiarize himself/herself with the
    applicable changes.
    4. If You do not agree to the changes, you may stop using Blind or any services offered through Blind after the effective date of the
    changes.


    Article 3 (Agreement Regulations)
    By using the Services, you agree that any disputes you have with the Company will be resolved in a Federal or State Court located
    in County of Orange, California, United States, unless otherwise agreed to in writing. You agree to the personal jurisdiction of the
    Federal and State courts located in County of Orange, California.
    You agree that, even if any individual provision of this Agreement be declared void or against any applicable laws or regulations,
    then the remainder of this Agreement shall remain in full force and effect.


    Article 4 (Terms and Definitions)
    1. “B Money” refers to cyber/digital currency, which can be purchased by the User on Blind to utilize Items.
    2. “Item(s)” refers to virtual contents available on Blind in exchange for B Money.
    3. “Payment Method” refers to the tools by which the User pays service fees to the Company in order to purchase B Money, through
    tools developed by the Company itself or contracted payment services.
    4. “Service(s)” refers to the acts and operations related to the purchasing of B Money needed to utilize the Item on Blind.


    Article 5 (Payment Methods)
    1. The User is responsible for reading the Terms of Use found on Blind and incorporated herein by reference. The company shall
    not be responsible for any losses arising out of or related to the Terms of Use and other help-based documents.
    2. The User shall be acknowledged that the types and the uses of Payment Methods are subject to change at any time.
    3. The Service may be momentarily suspended depending on the affiliated third party payment companies’ service status.


    Article 6 (B Money User Guide)
    1. B Money shall only be charged, obtained, or utilized by registered users of Blind.
    2. All the fees are subject to change at any time depending upon the Company’s policies. The changes shall be available on Blind.
    3. The Company may, if necessary, place time, rate, or quantity limits on B Money charging.



https://us.teamblind.com/setting/term                                                                                                       5/7
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    4. B Money shall be used to purchase Service contents or Items on Blind unless the Company establishes other functions to allow
    and approve transactions outside of Blind. However, B Money shall not be converted to or exchanged for any other currencies (such
    as dollar, Euro, etc.), or be used to purchase any other goods or services outside of Blind against any of the applicable laws or the
    Company policies.
    5. Types, uses or explanations of Items are subject to change depending upon Company policies without notice in advance. They
    may also be changed periodically due to functional improvements and patches.


    Article 7 (B Money Charge Payment Approval)
    1. The Company may suspend approval or reject the transaction for the following reasons:
    1) The User is not a registered User of Blind.
    2) The Service fee is not paid in full or the payment cannot be processed.
    2. In the following cases, the Company may not approve the transaction request until the issues have been ameliorated:
    1) There are obvious errors on Blind or Blind services are not available due to the limited server space.
    2) The Service is impeded.


    Article 8 (Restrictions on B Money use, Effective Period)
    1. In reference to Blind’s Terms of Use, the use of the Service may be restricted.
    2. In the event of a Service restriction through the reference to the Terms of Sale, there shall be no cash compensation, purchase
    cancellation and refund, Service restart, or the reissuance of B Money.
    3. B Money balance or Items shall expire one (1) year from the User’s last date of access to Blind unless such expiration date for
    Items is indicated otherwise. The User will be notified about 30 days before such B Money balance or Items expired.
    4. Items purchased with B Money cannot be traded with other User(s) via illegal methods or those that are not in accordance with
    the Company’s policies unless such transactions are allowed or made through a function established by the Company.
    5. Users under the age of 18 are not allowed to use or purchase items on Blind without consent of their legal guardian.


    Article 9 (Refund Policy)
    1. All fees and charges shall be non-refundable.
    2. All purchases of virtual contents, including Items, on Blind via third party payment services are final and non-refundable.
    3. If your credit card expires or your payment method is otherwise invalid via third party payment services, you may be suspended
    use of the contents or the Item purchased via invalid transaction on Blind for the time being determined by the Company at its own
    discretion. If a dispute arises out of, or in connection with such invalid transactions, the Parties agree to pursue resolution through
    arbitration or other appropriate dispute resolution process before resorting to litigation. If the result of such resolution process,
    including litigation, if applicable, comes out against you, you shall remain responsible and liable for all charges and all the costs we
    incur in connection with the collection of unpaid amounts, including court costs, attorneys’ fees, collection agency fees and any
    other associated costs. The Company shall not be liable for your losses or others related to any of your transaction.
    4. The Company may cancel the amount of B Money charged illegally or against the Company regulations.
    5. Users shall not be entitled to the compensation or refund for the amount of B Money charged, at the time, in the event that the
    User has been forced out or suspended use of Blind.
    6. Users shall not get a refund for the amount of B Money or the value of the Item in the event of the Users’ voluntary withdrawal
    from Blind.
    7. Any of Users’ private information used in transaction shall not be collected or stored by the Company.


    Article 10 (Warranty Disclaimer; Limitation of Liability)
    1. BLIND AND THE SERVICES ARE PROVIDED ON AN “AS IS” “AS AVAILABLE” BASIS FOR YOUR USE, WITHOUT
    WARRANTIES OF ANY KIND, EXPRESS OR IMPLIED, INCLUDING WITHOUT LIMITATION THE WARRANTIES OF
    MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE OR USE, TITLE, NON-INFRINGEMENT AND THOSE
    ARISING FROM COURSE OF DEALING OR USAGE OF TRADE.
    2. THE COMPANY DOES NOT WARRANT THAT THE SERVICES, YOUR ACCOUNT ON BLIND, ITEMS WILL BE AVAILABLE
    OR BE UNINTERRUPTED, TIMELY, SECURE OR FREE FROM BUGS, VIRUSES, ERRORS OR OMISSIONS OR THAT
    DEFECTS WILL BE CORRECTED.
    3. The Company may change, suspend or discontinue certain Services at its sole discretion.

https://us.teamblind.com/setting/term                                                                                                          6/7
3/30/2021            Case 4:21-mc-80084-DMR Document 1-5Blind
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    4. The Company shall not be liable for any loss or damage that you suffer as a consequence of:
    a. any Services becoming temporarily or permanently unavailable;
    b. disclosing or providing your private information to others by yourself;
    c. failing to satisfy your subjective expectation of utility from using the Services; or
    d. your own decision to use any of the Services on Blind.


    5. The Company is not responsible for the following types of loss or damage which may arise from your use of the Services:
    a. damage to your computer system or loss of data (whether due to a virus or other malicious software or not), except where this is
    caused by the Company not using reasonable care and skill;
    b. loss, damage or upset that you suffer as a consequence of the actions of another User;
    c. any loss or damage if the Services are not provided to you, or are interrupted or suspended, or if the Company does not comply
    with the Terms of Sale because of events beyond control, such as an act of God, accident, fire, lockout, strike or other official or
    unofficial labor dispute, civil commotion or other act or event beyond reasonable control; or
    d. loss or damage which neither of us could have reasonably anticipated or expected when you started using the Services, including
    but not limited to, any loss or damages which is indirect or which is a side effect of the main loss or damage, such as loss of
    revenue or salary, or loss of profit, opportunity or reputation.
    6. The Company does not make any statement, guarantee or promise in respect of the Services not set out in these Terms of Sale,
    including, without limitation, any statements made by third parties, such as third party advertisers.


    Article 11 (Governing Law)
    This Agreement shall be governed by and construed in accordance with the laws of the State of California and the laws of the
    United States.


    Article 12 (Conflict of Terms)
    1. In the event of a conflict or inconsistency between this Agreement and the Terms of Use, the latter shall supersede and replace
    the terms of this Agreement.
    2. The English version of this Agreement will be the version used when interpreting of construing this Agreement.


    Article 13 (Severability)
    If any provision of this Agreement is held illegal or unenforceable in a judicial proceeding, such provision shall be severed and shall
    be inoperative, and the remainder of this Agreement shall remain operative and binding on the Parties.



    This Agreement is effective as of December 10, 2018.




https://us.teamblind.com/setting/term                                                                                                         7/7
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                 Exhibit D
3/30/2021           Case 4:21-mc-80084-DMR          Document
                                 Business Search - Business Entities -1-5    Filed
                                                                       Business     04/20/21
                                                                                Programs | CaliforniaPage   17of of
                                                                                                     Secretary       173
                                                                                                                 State


Dr. Shirley N. Weber
California Secretary of State


              Business Search - Entity Detail

     The California Business Search is updated daily and reflects work processed through Monday, March 29, 2021. Please refer to
     document Processing Times for the received dates of filings currently being processed. The data provided is not a complete or
     certified record of an entity. Not all images are available online.

     C3680314             TEAMBLIND INC.
        Registration Date:                                                06/03/2014
        Jurisdiction:                                                     DELAWARE
        Entity Type:                                                      FOREIGN STOCK
        Status:                                                           ACTIVE
        Agent for Service of Process:                                     SUNGUK MOON
                                                                          2001 ADDISON ST STE 300
                                                                          BERKELEY CA 94704
        Entity Address:                                                   2001 ADDISON ST STE 300
                                                                          BERKELEY CA 94704
        Entity Mailing Address:                                           2001 ADDISON ST STE 300
                                                                          BERKELEY CA 94704

             Certificate of Status


     A Statement of Information is due EVERY year beginning five months before and through the end of June.


       Document Type                                                File Date                                PDF

       SI-COMPLETE                                                   06/10/2020


       SI-COMPLETE                                                   05/29/2019


       REGISTRATION                                                  06/03/2014



     * Indicates the information is not contained in the California Secretary of State's database.

             If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
             California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
             For information on checking or reserving a name, refer to Name Availability.
             If the image is not available online, for information on ordering a copy refer to Information Requests.
             For information on ordering certificates, status reports, certified copies of documents and copies of documents not
             currently available in the Business Search or to request a more extensive search for records, refer to Information
             Requests.
             For help with searching an entity name, refer to Search Tips.
             For descriptions of the various fields and status types, refer to Frequently Asked Questions.


        Modify Search               New Search           Back to Search Results




https://businesssearch.sos.ca.gov/CBS/Detail                                                                                               1/1
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                 Exhibit F
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                                    고     소     장


고    소     인        1. 주식회사 우리은행

                       서울 중구 소공로 51

                       대표이사 권광석



                    2. 권광석

                       서울 중구 소공로 51



                    고소대리인 법무법인 율우

                     담당변호사 검호진 (010-9571-8007), 한광수, 최지현

                    서울 서초구 서초중앙로 148 희성빌딩 12,13층

                     전화 : 02-3482-0500, 팩 스 : 02-3482-0506



피고소인                 성명불상
            명
 죄




                     성폭력범죄의처벌등에관한특례법위반(허위영상물반포),                          정보통신

                     망이 용촉진 및 정 보보호등에 관한법 률위 반(음란화상배 포)，                  정 보통신

                     망이용촉진및정보보호등에관한법률위반(허위사실명예훼손)，                             명예

                     훼손, 모욕




                                                                                   l:-1
서울 서초구 서초중앙로 148
희성빌딩 12,13층                     律a,vul~겅5                       TEL : (02) 3482-0500
                                                                FAX : (02) 3482-0506
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                                   고소요지




고소인들온 아래 고소사실에               관하여     피고소인을 성폭력범죄의처벌둥에관한특례법위

반( 이하 ‘성폭력처벌법’이라 합니다) 등의                 혐의로 고소하오니 철저히 수사하여                    엄벌

해 주시기 바랍니다.



                                   고소 사 실



I.    당사자들의 지위



      고소인 주식회사 우리은행 (이하 ‘고소인 은행 ’ 라고 합니다)은 개인금융 및 기업금

      융 등 종합 금융 서비 스를 제공하는 금융회사이고, 고소인 권광석(이하 ‘고소인’이

      라고 합니다)은 2020. 3 . 24경부터 우 리은행 은행장으로 취임하여 우리은행의 금융

      서비스 제공 업무 둥을 총괄하고 있습니다L증 제 1 호증 동기사항전부증명서 (우리은

       행)].



      피고소인은 성명불상자로 불라인드 앱 1 에서 우리은행                    관련 페이지에        글을 게재한

       것으로 보아 현재 우리은행 소속 근로자로 추정되는 사람입니다.



II. 고소사실



       피고소인은 2021. 2. 16. 불상의 장소에서 반포 동을 할 목적으로 고소인의 얼굴 · 신

       체 사진 을 고소인의       의사에    반하여    와이셔 츠를 풀어       헤친상태에서       눈을 감은 채


l    불라인드(Blind) 엡은 미국 캘리포니아 산호세에 본사를 둔 Teambl.ind inc.(대표 문성욱)가 운영하고 있고, 한국의
직장인 들 이 익명으~ 활동할 수 있는 커뮤니티 에 풀리케 이션입니다.




서울 서초구 서초중앙로 148
희성빌딩 12. 13층                   律a,vul~겅5                        TEL : (02) 3482- 0500
                                                                FAX : (02) 3482-0506
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                     ~                               -.




   여성을 옆으로 끌어안아 여성의 왼쪽 볼에 키스를 하고 있는 다론 남성의 사진에

   합성하여, 블라인드 앱의 우리은행 페이지에 "우 리가 믿고 따랐던 우두머리의 민낯

   이고 본모습입니다.,,라는 제목의            글과 함께 위       합성사진을 게시하여 (중 제 2호중,

   이하 ‘이 사건 게시물’이라고 하고, 게시물 중 굴은 ‘이 사건 게시글' , 사진은 ‘이

   사건 사진'이라고 합니 다] 불특정 다수인이 열람하게 하였습니다.



   이로써 피고소인은 반포 둥울 할 목적으로 고소인의 얼굴 · 신체 사진을 고소인의

   의사에 반하여 성적 욕망 또는 수치심을 유발할 수 있는 형태로 합성하였고, 위 합

   성물을 반포함과 동시에 고소인들을 비방할 목적으로 아래와 같은 허위 내용의

   굴과 함께 합성사진을 정보통신망인 블라인드앱에 게시하여 불특정 다수인들에게

   고소인들의 명예를 훼손하고, 모욕하였습니다.



                     [중 제 2호중 이 사건 게시글 내용 중 발췌 ]



     순번                                   내용

      1       우리은행에 댓글팀이 있고 블라인드 대웅팀이 있다는데

      2       뒤에서 어린 여자를 끼고 술판을 벌리고, 낯뜨거운 스킨쉽도 서슴지 않았

              습니다.

      3       뒤에서는 딸벌도 안된 여자를 끌어안고, 와이셔츠를 풀어헤친채

      4       수많은 직원들의 피와 땀이 한심한 분의, 한 여자의 하루밤 술값으로 쓰

              이고, 저런 인간들 목구멍으로 흘러 넘어갑니다

      5       당신이 1 년 동안 한 일을 차분히 돌이켜 보십시오. 업적이 없습니다. 우

              리은행은 지금 7~8위 은행이 되었습니다.




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                            律a,vul麟                          TEL : (02) 3482- 0500
                                                             FAX : (02) 3482- 0506
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                         •-c



                                    고소이유



I.   피고소인의 구제적 협의 내용



     피고소인은 2021.2.16경 불라인드앱 우리은행 관련 페이지에 "우 리가 믿고 따랐던

     우두머리의        민낯이고 본모습입니다.,,라는 제목의              이 사건 게시물을 게재하였습니

     다.



     이 사건 게시물에는 위 표와 같은 허위 내용의 굴과 함께 고소인의 얼굴과 일부

     신체를 떼어다가 사진 편집프로그램 등 인공지능 기 술을 이용하여 상단의 단추가

     풀어해쳐진 푸른색 와이셔츠를 입은 남자가 유홍주점으로 보 이 는 장소의                                  쇼파에

     앉아 접대       여성으로 보이는 여성을 껴안고 여성의                 왼쪽 볼에      키스를 하고 있는

     사진에 합성하여 마치 고소인이 이 사건 사진의 인물인 것으로 보이는 이 사건 사

     진이 포함되어 있습니다.



     먼저,‘이 사건 게시글' 중 아래 표 내용은 모두 거짓 사실입니다.



                               [이 사건 게시글 내용 증 발췌]



      순번                                      내용

          1    우리은행에 댓글팀이 있고 불라인드 대응팀이 있다는데

          2    뒤에서 어린 여자를 끼고 술판을 벌리고, 낯뜨거운 스킨쉽도 서 슴지 않았

               습니다.

          3    뒤에서는 딸벌도 안된 여자를 끌어안고, 와이셔츠를 풀어헤친채

          4    수많은 직원들의 피와 땀이 한심한 분의, 한 여자의 하루밤 술값으로 쓰



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서울 서초구 서초중앙로
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                                律avul麟                           TEL : (02) 3482-0500
                                                                 FAX : (02) 3482- 0506
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                이고, 저런 인간들 목구멍으로 흘러 넘어갑니다

       5        당신이 1 년 동안 한 일을 차분히 돌이켜 보십시오. 업적이                   없습니다. 우

                리은행은 지금 7~8위 은행이 되었습니다.



       가[필그표량} 관련하여, 고소인 은행은 본점에 홍보실을 두고 있고, 홍보실은
           통상적인 언론대용을 하고 있습니다. 피고소인이 이 사건 굴에 적 시 한 홍보

           실 외에 별도 댓굴팀이나 블라인드 대응팀은 고소인 은행에 존재하지 않고

           운영하지도 않습니다. 따라서 위 1 번 내용은 사실이 아닙니다.



        나 . 12 ~ 4번 내용1과 관련하여, 고소인은 2020. 3. 24경 고소인 은행의 온행장으로
           취임한 이래 지금까지 유홍업소를 드나든 사실 자체가 없고, 접대부 여성을

           불러 유흥을 즐긴다는 것은 꿈에도 생각하지 못할 일입니다. 더구나 사진

           상상으로 보이는 옷, 벨트 등은 고소인이 가지고 있는 것이 아니고 사진 상

           의 장소와 여성이 누구인지 아무것도 알지 못합니다.



               따라서 고소인이 고소인 은행 직원들의 수고로 얻은 수익을 유흥업소에서

               접대부 여성과 유흥을 즐기면서 사용한 것처럼 주장하는 피고소인의 주장

           은 모두 거짓이고, 이 사건 사진 또한 딥페이크물일 뿐입니다



        다 匠〔코핍과 관련하여 고소인 행은 현재 대한만국 5 대 시중은행 중 하나로,
           2020년도에도 매출액 기준으로나 영업이익 또는 순이익 기준으로나 5 위 안

            에 드는 유수의 은행으로 자리매김하고 있습니다. 그럼에도 불구하고, 피고

            소인은 고소인의 이러한 업적을 깍아내리고 마치 고소인이                        대표이사로 취

               임한 이후 고소인 은행이 7~8위로 떨어진 것 같은 표현을 하고 있는데, 명

               백하게 거짓 사실입니다.




서울 서초구 서초중앙로

회성빌딩 12. 13층
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                             律~Yul~露                          TEL : (02) 3482- 0500
                                                              FAX : (02)3482-0506
                                                      -
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                                                     수―
     다움으로,          oJ   샨건 산진은 A묘 主을 요                   ~ °묘 되펜인크
     (deepfak잡한 것으로 보이고, 고소인이 아닙니다.



        갸 첫째, 고소인은 2020. 3. 24경 우리은행의 은행장으로 취임한 이래 지금까지

           유홍주점에 출입하여 접대부와 술을 마신 사실이 전혀 없습니다.



        나. 둘째, 이 사건 사진을 자세히 살펴보면, 사진의                  남자는 귀볼이 없고, 귀의

               생김새가 직선에 가까운 칼귀처럼 생겼지만, 고소인은 귀볼이 두툼하고, 귀




                                                                                 0서
               0一
                결




                               가까워 귀만 보아도 한 눈에 다른 사람입을 알 수




                                                                                  1
                    생김새가 네모에

               습니다.



        댜 셋째, 이 사건 사진의 남자는 구레나릇 아래쪽이 밋밋한 반면(이 부분은 합

               성으 흔적도 보입니다)， 고소인은 구레나릇 아래쪽이 거무잡잡하므로 같은

               사람으로 볼 수 없습니다.



     이와 같이 피고소인은 반포 동을 할 목적으로 고소인의 얼굴 · 신체 사진을 고소인

     의 의사에 반하여 성적 욕망 또는 수치심을 유발할 수 있는 형태로 합성하였고, 위

     합성물을 반포함과 동시에 고소인들을 비방할 목적으로 아래와 같은 허위                                내용의

     글과 함께 합성사진을 정보통신망인 블라인드앱에 게시하여 불특정 다수인들에케

     고소인들의 명예를 훼손하고, 모욕하였습니다.




2   딥패이 크(deepfake)란 인공지눙 기술을 활용해 기존에 있던 인물의 윌료:이나, 특정한 부위 를 영화의 CG 처리처럼
합성한 영상편집물을 말합니다.


                                                                                l1
서울 서초구 서초중앙로

희성빌딩 12. 13층
                     i48
                               律a,Yul~3o                      TEL : (02) 3482-0500
                                                              FAX : (02) 348언0506
      Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 27 of 173
                                                                          ,......,




II. 요청사항


       。   블라인드앱은 미국에                          본사에   있고, 한국 에           영업소가 있지만 개인정보 ;;<7

                                           는
                                         olM
           ?.l-A 느
              0   ...1- \....   미국어`           것으로 추정되므로, 게시물 작성자에                      대한 인적사항

           특정을 위한 형사사법공조요청




Ill. 결 론 : 향후 계획 등

                                   01K
    지금까지            고소사실                 이 사건 경위에       대해 말씀드렸습니다. 위와 같은 내용들을

    충분히 참작하시어 피고소인을 밝혀내어 그 행위가 임벌에 처해질 수 있기를 바랍

    니다.



    이후 관련하여 추가할 증거자료 등온                               t;-): "3-
                                                       0 누        별도의   고소대리인 의견서 등올 통해

    설명 및 제출하도록 하겠습 니 다.




서울 서초구 서초중앙로
                                               律~Yul麟
                         148                                                         TEL : (02) 3482-0500
희성빌딩 12.13층                                                                          FAX : (02) 3482-0506
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                     ,.....,                         ~




                                  증거자료



1.   증 제 1호중                      등기 사항 전부중명서 (우리온행 )

1.   증 제 2호중                      이 사건 게시물




서울 서초구 서초중앙로 148
희성빌딩 12.13층                    律a,Yul麟                       TEL : (02) 3482-0500
                                                             FAX : (02) 3482-0506
      Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 29 of 173
                     r、

                                                        "




                                     2021.   2.   17.



                             위 고소인들의 대리인



                                법무법인 율우



                             담당번호사 김 호 진



                                        한광수



                                        최 지 현




서 울 남대 문경 찰서        귀중




서울 서초구 서초중앙로 148
희성빌딩 12,13층                 律a,vul~3~                        TEL : (02) 3482-0500
                                                             FAX : (02) 3482- 0506
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                    안   국
                            e   등기사항일부증명서(현재 유효사항)［제출용]
                  /!/'~IS




    등기번호                    002633

    등록번호          110111-0023393
                                                                                                 2002.05.20 변   c~1
    상   호      주식회사 우리은행
                                                                                                 2002 . 05 . 20 ,, 71
                                                                                                 2011.10.31 도로
    본   점      서울특별시 중구 소공로 51( 회현동 1 가)
                                                                                                       명주소
                                                                                                 2014.01.23 듀기
                               지배인에 관한 사항
    지배인 김재호 751124-******* 서울특별시 동대문구 정릉천동로 36 , 108동 1702호(용두동, 래마
    안 허브리츠)
       지배인을 둔 장소        서울특별시 중구 소공로 51( 회현동 1 가)（본점)
       2020 년 04 월 16 일 선임    2020 년 04 월 21 일 등기
                                             --   이    하     여     백    --

                                     관할동기소   서울중앙지방법원 동기국 / 발행동기소                     법원행정처 등기정보중앙관리소
                                                                                         수수료  1,000원 영수함




                                                                                                                        중제
                                                                                                                        1
                                                                                                                        포
                                                                                                                        -증
                                                                                                                        호


이 층명서는 등기기록의 내용과 틀림없음을 증명합니다.
[다만 , 신청 이 없는 등기사항과 현재 효력이 없는 동기사항의 기재를 생략하였습니다]
서 기 2021년 02월 17 일


법원행정처 등기정보중앙관리소                                                                         전산운영책임관
*   실선으로 그어진 부분은 말소사항을 표시함.
*   증명서는 컬러 또는 흑백으로 출력 가능함.


[인터넷 발급] 문서 하단의 바코드를 스캐너로 확인하거나, 인터넷동기소 (http://www. iros.go.k:r) 의 발급확인 메뉴에서 발급확
인번호를 입력하여 위 · 변조 여부를 확인할 수 있습니다. 발급확인번호를 통한 확인은 발행일부터 3 개월까지 5 회에 한하여 가능
합니다.




발행 번호       1150208031301070112200142003231602402021ElK1K00101 1       발급확 인 번 호   6330-AAUY--QGNK     발행일 :2021/02/17


                                                             1/1
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                      r""\



         8:53~                                  ,Ill LTE iii),

       <                                   &i




       우리가 믿고 따랐던 우두머리의 민낯
       이고본모습입니다.

       ijlij!llij
       1 3분




       우리은행에 댓글팀이 있고 블라인드 대응팀이 있다는데
       이건 완전히 국정원 댓글팀보다 더 나쁜 행동 아닌가요.
       그럴 인원 있으면 지금 너무나도 바쁜 지점으로 발령내
       주는 것이 옳은 행동 일 것입니댜 이글도 언제 지워질지
       모르니 빨리 보시기 바랍니다.




                                                                      중 재 qr
       우리가 믿고 따랐던 우두머리의 민낯이고 본모습입니다.


       1 만 5천명 직원들에게 바른 생활과 정도를 핏줄 서리게




                                                                           호
       강조하면서, 뒤에서는 어린 여자를 끼고 술판을 벌리고1
                                                                    ~:':
       낯뜨거운 스킨십도 서슴지 않습니다.                                          。




       그것도 요즘같이 직원도, 고객도 모두 피가 마르는 어려
       운시기 에말입니다.


       우리은행의 120년 넘는 장구한
       역사 속에서 이런 파렴치한 행동을 했던 분이 과연 있었
       율)n요?



       앞에서는 '위기니 모두 영업에 매진하라' 외치며, 뒤에서
       는딸벌도안된여자를
       끌어안고, 와이셔츠를 풀어헤친채

       O            댓글을남겨주세요 .
Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 32 of 173
                     ~                                                        ...........



          8:54 .,                                                             ,Ill LTE MJ,




                                                                      뇨
      <     ~lint1
       == ==         르 -1-I   -IL.:   -1 • • 1-,1 --1•·1   UL..,;r::::.   .,.._.•11:::1-1-1•




       과연, 저 장소는 어디며, 품에 안겨
       놀아냐는 저 여성은 누구인지…


       이런 사람인줄도 모르고, 수많은 직원들이 영업현장에서
       땀흘리고, 본부에서 야근하며, 은행을 위해 자신을 희생
       합니다.


       하지만, 수많은 직원들의 피와 땀이 한심한 분의, 한 여자
       의 하루밤 술값으로 쓰이고, 저런 인간들 목구멍으로 흘
       러넘어갑니댜


       개탄을 금치 못하겠습니다.
       믿었기에 더더욱 분합니다.
       긴 역사와 수많은 선, 후배들을 철저히 무시, 배신하는 행
       동입니다


       님·
       우리은행은 당신의 개인 소유물이
       아니며, 직원들은 당신이 시키면
       고개 숙이고, 뛰어다니는 노예가
       아닙니다
       우리은행은 수만명 우리인이 피땀흘려 이룬 장대하고 고
       귀한 산물입니다. 명심하십시오.


       능력도 없으면서 높은곳 빽으로
       정도를 거스르고 그 자리를
       -      -                              -=-                =               =
      O       댓글을남겨주세요.
Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 33 of 173

                          "'                   ,Ill LTE iii),
            8:54~
         ..:,·:·. ·:,
      ,.-··
         ,.,,,
        ·:··----        방금 찍은 스크린샷을 공유하세요!        공유하71




         능력도 없으면서 높은곳 빽으로
         정도를 거스르고 그 자리를
         차지 했으면, 일이라도 열심히, 똑바로 하셔야 하지 않습
         니까?


         당신이 1 년 동안 한 일을 차분히
         돌이켜보십시오.
         업적이없습니다 .
          아! 하냐 있군요• I복장 자율화'...


          VG가있지 않냐고요?
          그거 타은행을 그대로 모방한거
          1 만 5천 직원들이 다 알고있습니다.


           비서, 참모급 그릇이 고등학교 동창의 힘을 빌려 그 자2.1
           에앉아있습니다.


           우리은행은지금
           7~8위 은행이 되었습니다.


           위기에 여자와 술에 취해있는
           이 분을 그냥 보고만 있어야합니까?


           정말 정말 땅을 치고 피 를 토하게 하는 안타까운 현실입
            니다




         O              댓글을남겨주세요.
Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 34 of 173
               ~                              ~


             [:)I.~를!                                                    !fflnl電:"'I


                                                                              國




    ...(:l




             圈                                                                  ....
                        ffll .. J l,.,.Jl ,~111사~ Il l몰""'"'""   ~'-.'
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                 Exhibit G
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                                                                               [Translation]


                                  Complaint

Plaintiffs        1. Woori Bank

                     51 Sogong-ro, Jung-gu, Seoul, Republic of Korea

                     Representative Director Kwang-seok Kwon



                  2. Kwang-seok Kwon

                     51 Sogong-ro, Jung-gu, Seoul, Republic of Korea



                  Counsel for Plaintiff: Yulwoo

                  Attorneys-at-law Ho Jin Kim (010-9571-8007), Gwang Soo Han, Ji Hyun Choi

                  12F and 13F, Heesung Bldg., 148 Seochojungang-ro, Seocho-gu, Seoul

                  Telephone: 02-3482-0500, Fax: 02-3482-0506



Defendant         Unidentified individual



Crimes
                  Violation of the Act on Special Cases Concerning the Punishment,
                  etc. of Sexual Crimes (distribution of false media content)

                  Violation of the Act on Promotion of Information and
                  Telecommunications Network Utilization and Information
                  Protection, etc. (distribution of obscene media content)

                  Violation of the Act on Promotion of Information and
                  Telecommunications Network Utilization and Information
                  Protection, etc. (defamation through false facts), Defamation and
                  Insult
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                                                                                [Translation]

                                  Summary of Complaint

With respect to the following matters of complaint, Plaintiffs have filed a complaint against
the defendant for violation of the Act on Special Cases Concerning the Punishment, etc. of
Sexual Crimes (the “Act”). We respectfully request that you thoroughly investigate the case
and subject the defendant to severe sanctions.


                                     Facts of Complaint

I.   Position of the Parties

     Plaintiff Woori Bank (“Woori Bank”) is a financial company providing a full range of
     financial services including personal financing and corporate financing. Plaintiff
     Kwang-seok Kwon (“Plaintiff Kwon”) has assumed the office of the Representative
     Director of the Bank since March 24, 2020 and has been managing the financial services,
     etc. of Woori Bank. (Plaintiff’s Exhibit No. 1 Certificate of Partial Registered Items of
     Woori Bank)

     Defendant is an unidentified individual presumed to be a current employee of Woori
     Bank, as he/she uploaded posts on the Woori Bank page in Blind 1.


II. Details of Complaint

     On February 26, 2021 at an unidentified location, the Defendant, for the purpose of
     distribution, etc., manipulated the photo of Plaintiff Kwon’s face and body with that of
     another man wearing a partially unbuttoned shirt, who is hugging and kissing the left
     cheek of a woman with his eyes closed against Plaintiff Kwon’s will. The Defendant
     uploaded this photo along with the post entitled “This is the true identity of the boss
     that we have trusted and followed” on the Woori Bank page of Blind, allowinga large
     number of unspecified individuals to view and read the post (Plaintiff’s Exhibit No. 2,
     the “Post”, the text of the post as the “Post Texts”, and the photo as the “Photo”).

     As such, Defendant manipulated the photo of Plaintiff Kwon’s face and body in a way
     that could induce sexual desire or humiliation against Plaintiff Kwon’s will for the
     purpose of distribution, etc. Along with this photo, Defendant posted the following false
     information on Blind – an information and communication network – for the purpose of
     defaming Plaintiff Kwon and Woori Bank, and thereby insulting both Plaintiff and Woori
     Bank while damaging their reputation to a large number of unspecified individuals.

                          [Plaintiff’s Exhibit No. 2 Excerpt from the Post]

           No.                             Descriptions in the Post
            1         Woori Bank allegedly has an online comments monitoring team and a

1
  Blind, operated by Teamblind, Inc. (Representative Director Sunguk Moon) headquartered
in San Jose, California, U.S.A., is a community application that allows Korean employees to
upload posts anonymously.
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                                                                         [Translation]

            Blind monitoring team.
     2      Behind our back, he did not hesitate to enjoy a drinking party while being
            shamefully physically affectionate with a young woman.
     3      He was wearing an unbuttoned shirt while hugging a woman who looks
            to be even younger than his daughter.
     4      Thousands of employees’ blood and sweat go to a waste for a pathetic
            man’s nightly drinks with a hostess, (blood and sweats) flowing down
            the throats of such humans.
     5      Take a closer look at what you have done in one year. There are no
            achievements. Woori Bank is now ranked 7th or 8th .
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                                                                               [Translation]

                                     Ground for Complaint

I.   Specific Allegations of Defendant

     On February 16, 2021, the Defendant uploaded a post entitled “This is the true identity
     of the boss that we have trusted and followed” on the Woori Bank page in Blind.

     The Defendant, by using artificial intelligence technology such as a photo editing
     program, etc., manipulated photos of the face and body parts of Plaintiff Kwon with a
     photo of a man wearing a blue shirt sitting on the sofa with his top buttons unbuttoned
     in a place that appears to be a hostess bar, while hugging a woman who appears to be a
     hostess and kissing her left cheek to make the Plaintiff Kwon appear to be the person in
     the photo. The Defendant posted this edited photo along with the false information in
     the above table.


     First of all, all of the information in the table below is false.

                                       [Excerpt from the Post]

           No.                               Descriptions in the Post
            1         Woori Bank allegedly has an online comments monitoring team and a
                      Blind monitoring team.
             2        Behind our back, he did not hesitate to enjoy a drinking party while
                      being shamefully physically affectionate with a young woman.
             3        He was wearing an unbuttoned shirt while hugging a woman who looks
                      to be even younger than his daughter.
             4        Thousands of employees’ blood and sweat go to a waste for a pathetic
                      man’s nightly drinks with a hostess, (blood and sweats) flowing down
                      the throats of such humans.
             5        Take a closer look at what you have done in one year. There are no
                      achievements. Woori Bank is now ranked 7th or 8th .

     A. With regard to Item No.1, Woori Bank has a public relations team at its head office,
        and this team is responsible for the ordinary management and response to the media.
        However, Woori Bank has neither an online comments monitoring team nor a Blind
        monitoring team as claimed in the Post. As such, Item No. 1 is not true.

     B. With regard to Items No. 2 – 4, ever since Plaintiff Kwon took office as the
        Representative Director of Woori Bank on March 24, 2020, he has never visited a
        hostess bar and never even dreamt of entertaining with a hostess. Further, he does
        not know the location or the identity of a woman in the photo, and he does not own
        the clothes and belt in the photo.

         Hence, Defendant’s argument that Plaintiff Kwon used the profits obtained through
         the efforts of Woori Bank’s employees for entertainment with a hostess in a hostess
         bar is false, and the photo here is a deepfake.

     C. With regard to Item No.5, Woori Bank is currently one of the top five commercial
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                                                                                [Translation]

        banks in Korea and was also one of the top five banks in 2020 in terms of sales,
        operating profit, and net profit. Nonetheless, Defendant undermined Plaintiff
        Kwon’s achievements and portrayed as if Woori Bank’s rank plummeted to 7th or 8th
        place ever since Plaintiff Kwon took office as the Representative Director. This is
        clearly false.


Next, the photo in this case appears to be a “deepfake” 2 to induce sexual humiliation,
and the man in the photo is not Plaintiff Kwon.

    A. First, Plaintiff Kwon has never visited a hostess bar nor had drinks with a hostess
       since he was appointed as the Representative Director of Woori Bank on March 24,
       2020.

    B. Second, if you look at the photograph carefully, the man in the photograph does
       not have much of an earlobe, and the shape of his ear is very slender. However,
       Plaintiff Kwon has thicker, square shaped ears. Thus, you can instantly tell that the
       two individuals are different men.

    C. Third, the man in the photograph has dull sideburns (you can see the edited marks
       in this area), but Plaintiff Kwon has darker sideburns. Hence, the two individuals
       are different men.

As such, Defendant manipulated the photo of face and body of Plaintiff Kwon in a form that
could induce sexual desire or humiliation against the will of Plaintiff Kwon for the purpose
of distribution, and at the same time, for the purpose of defaming Plaintiff Kwon and Woori
Bank. Defendant posted the edited photo with the following false information on Blind – an
information and communication network – thereby insulting Plaintiff and Woori Bank and
damaging their reputation to a large number of unspecified individuals.




2
  Deepfake refers to a video compilation created by manipulating an existing person’s face or
specific part using artificial intelligence similar to the computer graphics in a film.
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                                                                             [Translation]

II. Request

     Although Blind has a sales office in Korea, personal information is presumed to be
      stored in the United Sates as Blind’s head office is in the United States. Hence, we
      hereby request for the mutual legal assistance in a criminal matter to check the
      personal information of the uploader of the post.


III. Conclusion: Future Plans, etc.

   We have explained the facts of this complaint as well as the relevant details. We hope
   that you would fully consider the above details and subject the Defendant to severe
   sanctions.

   We will explain and submit the evidentiary materials through a separate opinion of legal
   counsel.
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                                                                              [Translation]




                                 Evidentiary Materials

1.   Plaintiff’s Exhibit No. 1         Certificate of Partial Registered Items of Woori
                                       Bank Co., Ltd.

1.   Plaintiff’s Exhibit No. 2         The Post




                                                  February 17, 2021

                                                  Legal Counsel for the above Plaintiffs

                                                  Yulwoo

                                                   Attorneys-at-law           Ho Jin Kim
                                                                          Gwang Soo Han
                                                                            Ji Hyun Choi




To: Seoul Namdaemun Police Station
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                                                                              [Translation]

Plaintiff’s Exhibit No. 2

This is the true identity of the boss that we have trusted and followed.
Ijlij!llij
13 minutes ago

Woori Bank allegedly operates an online comments monitoring team and a Blind monitoring
team – isn’t this worse than the online comments monitoring team at the National
Intelligence Service? If they have enough personnel to operate such teams, such personnel
should be assigned to a branch that is currently extremely busy. I don’t know when this post
will be removed, so please take a quick look.

This is the true identity of the boss that we have trusted and followed.

While emphasizing the importance of leading an ethical life to 15,000 employees, behind
our back, he secretly had a drinking party while being shamefully physically affectionate
with a young woman. He did so while both employees and customers are going through such
difficult times.

In the long history of Woori Bank for more than 120 years, was there anyone who committed
such a shameful act?

He shouts, “it is a time of crisis, so everyone should be devoted to sales.” However, behind
our back, he wears an unbuttoned shirt while hugging a woman who looks to be younger
than his daughter.

Indeed, where on earth is this place, and who is this woman in his arms…

Countless employees who are not even aware of his true identity are sweating at sales sites,
working overtime at the head office, and sacrificing themselves for the bank.

However, thousands of employees’ blood and sweat go to a waste for a pathetic man’s
nightly drinks with a hostess, (blood and sweats) flowing down the throats of such humans.

I can’t help but lament. I’m even more furious because I trusted him. It is an act that
completely ignores and betrays our long history as well as many seniors and juniors of the
bank.

Sir!
Woori Bank is not your personal property, and employees are not just slaves running around
and bowing down when you ask them to do so.
Woori Bank is a magnificent and noble product of tens of thousands of employees. Keep
that in mind.

You got that position without any ability by riding on someone’s coattails. Shouldn’t you at
least work hard, and work in a right manner?

Take a closer look at what you have done in one year.
There are no achievements.
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                                                                                [Translation]

Oh! We got one – “no dress code”…

You may say that we have VG?
Every single one of the 15,000 employee knows that this is merely a copy/imitation of
another bank.

A man who is more suitable as a staff or a secretary got his current position by riding on the
coattails of his high school alumnus.

Woori Bank is now ranked 7th or 8th.

Should we just watch this man who gets drunk with a woman at this time of crisis?

This is such a lamentable reality that makes me pound the ground and vomit blood.
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                 Exhibit H
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    I, Sunhee Chung, am fluent in the Korean and English Languages, I have been
    translating documents for over 2 years. I am competent to translate from Korean to
    English.
    I hereby certify that the attached is, to the best of my knowledge and belief, and
    within the given parameters, a true and accurate translation from Korean into English
    of the document with the file name “Criminal Complaint Submitted.”


    I declare under penalty of perjury under the laws of the United States of America that
    the foregoing is true and correct. Executed on April 2, 2021 in Langley, British
    Columbia.




    _______________________
    Sunhee Chung

    2nd day of April, 2021




                LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
          1250 BROADWAY, 32ND FLOOR, NEW YORK, NY 10001 | T 212.689.5555 | F 212.689.1059 |
                                     WWW.TRANSPERFECT.COM
                                  OFFICES IN 90 CITIES WORLDWIDE
Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 47 of 173




    I, Sunhee Chung, am fluent in the Korean and English Languages, I have been
    translating documents for over 2 years. I am competent to translate from Korean to
    English.
    I hereby certify that the attached is, to the best of my knowledge and belief, and
    within the given parameters, a true and accurate translation from Korean into English
    of the document with the file name “Additional Criminal Complaint.”


    I declare under penalty of perjury under the laws of the United States of America that
    the foregoing is true and correct. Executed on April 2, 2021 in Langley, British
    Columbia.




    _______________________
    Sunhee Chung

    2nd day of April, 2021




                LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
          1250 BROADWAY, 32ND FLOOR, NEW YORK, NY 10001 | T 212.689.5555 | F 212.689.1059 |
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    I, Sunhee Chung, am fluent in the Korean and English Languages, I have been
    translating documents for over 2 years. I am competent to translate from Korean to
    English.
    I hereby certify that the attached is, to the best of my knowledge and belief, and
    within the given parameters, a true and accurate translation from Korean into English
    of the document with the file name “Additional Memorandum re Criminal
    Complaint.”


    I declare under penalty of perjury under the laws of the United States of America that
    the foregoing is true and correct. Executed on April 2, 2021 in Langley, British
    Columbia.




    _______________________
    Sunhee Chung

    2nd day of April, 2021




                LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
          1250 BROADWAY, 32ND FLOOR, NEW YORK, NY 10001 | T 212.689.5555 | F 212.689.1059 |
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    I, Sunhee Chung, am fluent in the Korean and English Languages, I have been
    translating documents for over 2 years. I am competent to translate from Korean to
    English.
    I hereby certify that the attached is, to the best of my knowledge and belief, and
    within the given parameters, a true and accurate translation from Korean into English
    of the document with the file name “Segye Ilbo Blind Article.”


    I declare under penalty of perjury under the laws of the United States of America that
    the foregoing is true and correct. Executed on April 7, 2021 in Langley, British
    Columbia.




    _______________________
    Sunhee Chung

    7th day of April, 2021




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    I, Sunhee Chung, am fluent in the Korean and English Languages, I have been
    translating documents for over 2 years. I am competent to translate from Korean to
    English.
    I hereby certify that the attached is, to the best of my knowledge and belief, and
    within the given parameters, a true and accurate translation from Korean into English
    of the document with the file name “Civil Complaint_(against_anonymous_users)-
    2021GaHap515598.”


    I declare under penalty of perjury under the laws of the United States of America that
    the foregoing is true and correct. Executed on April 2, 2021 in Langley, British
    Columbia.




    _______________________
    Sunhee Chung

    2nd day of April, 2021




                LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
          1250 BROADWAY, 32ND FLOOR, NEW YORK, NY 10001 | T 212.689.5555 | F 212.689.1059 |
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                 Exhibit I
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  사       건          업무방해

  고   소   인         주식회사 우리은행, 권 광 석

  피고소인              성명불상




                                  추가고소장




                                         2021.    3.     15.


                                         고 소 인             주식회사 우리은행, 권 광 석

                                                           대 리 인       김 · 장 법률사무소

                                                                       변호사          김귀찬

                                                                       변호사          이환범

                                                                       변호사          한만호

                                                                       변호사          도주호




서울남대문경찰서 수사과 사이버 수 사팀                            귀중




                      서울 종로구 사직로8 길        39 (우)03170
KIM&CHANG             TEL: 02-3703-1114 FAX: 02-737-0371   E-mail: lawkim@kimchang.com
                      직통      02-3703-5971 (변호사 검구1 잔)     kuichan.kim@kimchang.com
 김장법률사무소
                              02-3703-8505 (사무장 신 재용)      zjyshin@kimchang.com
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                                  추가고소장


고    소     인        1. 주식회사 우리은행

                       서울 중구 소공로 51

                       대표이사 권광석



                    2. 권 광 석

                       서울 중구 소공로 51



                     위 고소인들의 대리인          김 · 장 법률사무소

                     변호사     김귀찬, 이환범, 한만호, 도주호

                    서울 종로구 사직로8 길 39 (우)03170



피고소인                 성명불상

                     (게시자 ID는 ' ijlij!llij', '반대울시 다', '마지 막 질문'으로 총 3 개 입

                     니다. ID 마다 각각 다른 사람일 수 있고 이 경우 피고소인은 총

                     3 명이 될 수도 있으나, 현재로서는 구분이 어렵고 모두 성명불상

                     이므로 이하에서는 우선 '피고소인'이라 통칭하겠습니다.)
 최




           명




                     업무방해



고소인들은 지난 2021. 2. 17. 성명불상의 피고소인을 성폭력범죄의처벌등에관한특례

법위반(허위영상물반포) 등으로 고소한 것에 추가하여, 다음과 같이 피고소인을 업무

방해죄 혐의로 고소하오니 신속하게 수사하시어 엄벌하여 주시기 바랍니다.




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                                 고소내용



I.   당사자들의 관계



     고소인 주식회사 우리은행(이하 ‘고소인 은행 ’ 이라고 합니다)은 개인금융 및 기

     업금융 둥 종합 금융 서비스를 제공하는 금융회사이고, 고소인 권광석 ( 이하 ‘고

     소인’ 이라고 합니다)은 2020. 3. 24경부터 우리은행 은행장으로 취임하여 우리은

     행의 금융 서비스 제공 등 경영 업무를 총괄하고 있습니다.



     피고소인은 2021. 2. 1 6경 블라인드앱 우리은행 관련 페이지에 "우리가 믿고 따랐

     던 우두머리의 민낯이고 본모습입니다."라는 제목의 이 사건 게시굴을 게재하고 ,

     2021. 2. 26. 각각 "질문 I ", "질문2", "질문3", "이 건 아닌것 같습니 다”라는 4 건의 게

     시물을 추가로 게재한 것으로 의심되는 사람입니다.



II. 고소이유



1.   이 사건 게시굴 둥의 내용



     피고소인은 2021. 2. 16. 불상의 장소에서, 고소인의 얼굴 · 신체 일부 사진을 다론

     남성의 사진에 합성하여, 블라인드 앱의 우리온행 페이지에 “ 우리가 믿고 따랐던

     우두머리의     민낯이고 본모습입니다. "라는 제목의               글과 함께      게시한 바 있으며

     [증 제 2호중, 이하 ‘이 사건 게시물’이라고 하고, 게시물 중 글은 ‘이 사건 게시

     굴' , 사진온 ‘이 사건 사진 '이라고 합니 다], 고 중 주요 내용을 게시글 내 순서대

     로 나열하면 아래와 같습 니 다.




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                      [중 제 1호중 이 사건 게시글 내용 중 발췌]



      순번                                   내용

       1     1 만 5 천명 직원들에게 바른 생활과 정도를 핏줄 서리게 강조하면서, 뒤

             에서는 어린 여자를 끼고 술판을 벌리고, 낯뜨거운 스킨십도 서슴지 않

             습니다.

       2     앞에서는 ‘위기니 모두 영업에            매진하라' 외치며, 뒤에서는 딸벌도 안된

             여자를 끌어안고, 와이셔츠를 풀어헤친채

       3     수많온 직원들의 피와 땀이 한심한 분의, 한 여자의 하루밤 술값으로 쓰

             이고, 저런 인간들 목구멍으로 흘러 넘어갑니다.

       4     능력도 없으면서 높은곳 빽으로 정도를 거스르고 그 자리를 차지 했으면,

             일이라도 열심히 , 똑바로 하셔야 하지 않습니까?

       5     당신이 1 년 동안 한 일을 차분히 돌이켜 보십시오. 업적이 없습니다. 아!

             하나 있군요. '복장 자율화'

       6    VG가 있지 않냐고요? 그거 타은행을 그대로 모방한거                     1 만 5천 직원들이

             다 알고있습니다.

       7    우리은행온 지금 7~8 위 은행이 되었습니다.



     또한 피고소인온 2021. 2. 26에도 "질문 1 ", " 질문2"' " 질문3"' " 이건 아닌것 같습니

     다”라는 제목의       글 과 함께 위와 동일한 사진을 게시하였습니다[증 제 3 호중의                       l

     내지 4, 이하 ‘ 이 사건 제 2 게시물'이라고 하고, 게시물 중 굴은 ‘ 이 사건 제 2 게시

     글 , 사진은 동일하게 ‘ 이 사건 사진 '이라고 합니다].



2.   고소인 및 고소인 은행의 중점 추진 업 무 방해




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  가. VG 제도 둥의 신설 및 운영 업무



    고소인 및 고소인 은행은, 직원들의 업무 역량을 강화하고 고객 공동관리를

    통해 양질의 금융서비스를 제공하기                위해 거점     점포 중심으로 인근 영업점

    을 그룹화한 협업 체계인 VG (Value Group) 제도를 도입, 시행하는 한편, 직

    원들의 사기 저하 개선 및 수평적이고 유연한 조직문화 구축을 위해 4 대 시

    중은행 최초로 복장자율화를 도입하고 임원회의                    영상을 공유하여 조직 내에

    서 호평을 받고 있습니다(참고자료 2, 녹색경제신문 2021.2.8. 자 기사).



    특히, VG 제도의 경우 최근 인터넷뱅킹의 활성화 및 인터넷은행의 금융 진

    출 가속화 둥 급변하는 금융환경 하에 오히려 대면 채널 을 혁신한다는 역발

    상을 제시하였다는 점에서            그 자체로 큰 의의가 있고, 나아가 은행                    업계의

    고질적인 문제였던 영업점            간의   내부 경쟁을 줄 이고 공동의           목표를 달성한

    다는 방향을 설정하였다는 점에서, 고소인 은행의 혁신과 발전에 반드시 필

    요한, 고소인과 고소인 은행의 중점 추진 업무라고 할 수 있습니다.



    복장 자율화 제도 또한, 고소인이              취임   당시부터     강조하였던 ‘영업문화 혁

    신’의   일환으로 추진된 정책으로서, 단지               옷을 자유롭게       입는 것에     그치는

    것이 아니라 기존의 문화 전반을 변화시키기 위한 첫걸음이라는 점에 큰 의

    미가 있습니다. 이에        더하여, 위 제도는 국 내 은행 중 두번째로 시행된 복장

    전면 자율화 제도일 뿐만이 아니라, 4대 시중은행 중에 최초로 실시되었다는

    점에서 고소인 및 고소인 온행에게는 혁신의                   상징과도 같은 정책이라고 할

    것입니다(참고자료 3, 매일경제 2020. 5. 3 1. 자 기사).




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    하지만, 피고소인은 위 표 4, 5, 6, 7 기재와 같이 VG 제도 및 복장 자율화의

    의미를 의도적으로 폄하하고 고소인의 경영 능력 부족으로 말미암아 고소인

    은행의 시중은행 순위가 7-8 위로 떨어진 것처럼 왜곡, 비난하고 있습니다.



  나. 컴플라이언스 강화 업무



    고소인이 은행장으로 취임한 이래 고소인 및 고소인 은행은 고객신뢰 회복,

    조직안정, 영업문화 혁신을 경영전략으로 내걸고, 특히 컴플라이언스와 리스

    크관리 중심으로 영업문화를 개선하기 위해 노력해 왔습니다( 참고자료 4, 뉴

    데일리경제 2020. 3. 24.자 기사).



    이를 위하여, 고소인은 2020 년 4월경 국내은행 최초로 글로벌 금융회사 수준

    의 자금세탁방지 내부통제 시스템을 구축하였으며, 준법감시인 산하 조직인

    준법치원부를 준법감시실로 격상하고 관련 인원을 대폭 확충하는 등 준법감

    시   체제 강화를 위한 실질적인 노력을 기울였습니다(참고자료 5, 소비자가

    만드는 신문 2020. 6. 17. 자 기 사) .



    그런데, 피고소인은 위 표 1, 2, 3 기재 및 이 사건 사진 계시를 통해, 고소인

    및 고소인 온행이 강조해 온 ‘컴플라이언스’ 기준을 고소인 스스로 어겨가면

    서 코로나 방역지침을 무시하고 무분별하게 은행 경비로 유홍 행위를 한 것

    처럼 묘사하였습니다.



  다. 피고소인의 업무 방해



    하지만, 이미     제출한 고소장 및 고소보충의견서에서                  설명   드린    바와 같이,

    고소인온 2020. 3. 24. 경 고소인 은행의 은행장으로 취임한 이래 지금까지 유


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                                                                                                       현
    흥업소를 드나든 사실 자체가 없고(위 표 1, 2, 3 번 내용)， 고소인 은행은

    재 대한민국 5 대 시중은행 중 하나로, 2020 년도에도 매출액 기준으로나 영업

    이익 또는 순이익 기준으로나 5 위 안에 드는 유수의 온행인바(위 표 7 번 내
                                                                                        'ii
    용), 이 사건 게시글 내용은 명백히 허위이며                                  알의적으로 고소인               'K
                                                                                              고소인
                    및―




    은행윈 젠                성과를 왜곡, 비난하고 麟 특히 이 사건 入L 게시는

    고소인으로 하여금 극도의 모욕감과 수치심, 나아가 같은 유형의 허위 사진

    게시가 이어질 수 있다는 염려와 공포심을 느끼게 합니다.


                                                       'p•K
    이와 같은 피고소인의                   이      사건 게시물               이 사건 제 2 게시물 게자                 행위는,

    허위 사실의 유포 등 위계로써 그리고 위력으로써, 고소인과 고소인 은행이 중

     을 두고 추진하는                p      O   7 치를 훼손하고 그 추진 동력을 상실시키는 것 이

    며, 고소인 은행의 임직원 내찌 주주 간에 고소인의 컴플라이언스(Compliance)
              미K




    강조 의지
               'l




                    영업 실 적 제고를 위한 경영 능력, 나아가 개인적인 도덕성 등에




                                                                                                       수
                                                                                                   무
                                                                                              어n
                                                  nl
    대한 잘못된 인식을 전파하여 고소인                          •K
                                                       고소인 은행의 정당한 은행

    행을 어렵게 할 위험을 심히 초 래하는 행위라 하겠습니다.



  라.소결 론
                                                               곁잎




    판례에    따르면       "업무방해죄으]              성립에         있어서는      업무방해의             결과가 실제로
                              은
                         거A




    발생함을 요하는                      아니고 업무방해의                          초래할 위덮이 발생하면

    충분"하고, 나아가 "업무를 ‘방해한다'함은                                         집행 자체를 방해하는 것

    은 물론이고 널리 업무의 경영 을 저해하는 것도 포함"하는바(대법원 1992. 4.

    10. 선고 91 도3044 판결, 대법원 2002. 3. 29. 선고 2000도 323 1 판결 등 참조),
                                                                      Ul*K
    위와 같은 법원의 선례에                        따를 때, 이 사건 게시물                      01   사건 제 2 게시물의
                                                                      미




                              'p•K
    게재롤 통하여          위계               위력으로써    고소인의             업무    •K
                                                                             고소인     은행의           중점




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         추진 업무를 방해한 피고소인의              행위는 명백히       형법 제 3 14조 제 1 항의      업무

         방해에 해당합니다 \



3.    고소인 은행의 은행장 선출 업무 방해



      고소인은 지난 2020년 3 월 24 일, 통상의 경우와 달리 1 년 임기로 은행장에 선출

      되었습니다. 그 에      따라 고소인 은행은 2021 년 3 월에 현 은행장을 연임시키거나

      또는 새   은행장을 선출하여야 합니다. 그에 따라 고소인 은행이 소속된 우리금

      융지주 및 고소인 은행의 관련 규정에 따라, 지주회사의 "자회사대표이사후보추

      천위원회" 및     고소인 은행의 "임원후보추천위원회"를 통하여                    차기   은행장 후보

      가 확정되고, 이후 고소인 은행의 이사회 및 주주총회를 거쳐 차기 은행장이 선

      출되어야 합 니 다(참고자료 6, 아시아경제 2021. 2.18. 자 기사).



      보다 구체적으로, "임원후보추천위원회"는 위원장을 포함하여 고소인 은 행의 사

      외이사 5 명으로 이루어지는데, 은행장 후보자의                  인적사항, 경력, "금융회사의 지

      배구조에 관한 법률" 등의 관계법령 및 내부 규정에서 정한 자격요건의 충족 여

      부 등에   대한 심사를 진행하고, 위원들 간의 토론, 검토 및 의결을 거쳐 은행장

      후보를 확정하게 됩니다.



      특히, 위 "임원후보추천위원회"에서는 후보자가 현직                    은행장인 경우 은행장 재직

      당시의 업무 추진 내역 또한 검토하 게 되고, 나아가 고도의 청렴성과 준법정신이

      요구되는 은행의 특성상, 후보자의 공익성, 건전경영 의지와 같은 도덕적인 부분에

      대한 고도의 검중을 진행하여 자격 충족 여부를 심사하도록 되어 있습니다.


1    인터넷 게시판에 허위의 사실을 게시한 행위에             대하여, " ... 등의 내용으로 주장하고 그 내용
     이 C 등 여러   언론매체를 통해 보도되게        함으로써 B 그룹이 A울 사모투자펀드에게 매각한다
     는 취지의 허위 사실을 유포함으로써 위계로써 피해자 A 의 업무를 방해하였다.,,이라며 유죄를
     인정한 사례로 서울남부지방법원 2015. I. 22. 선고 20 1 3 고단3013 판결 참조


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     이러한 상황에서, 피고소인은 앞에서                 설명 드린 바와 같이 고소인에             대한 허위

     사실과 근거 없는 비난, 허위 사진 등을 게시하였고, 고소인이 은행장으로서 재

     직하며 추진한 중점 업무에 관한 허위 사실을 유포하였으며, 특히 , "능력도 없으

     면서    높은곳 빽으로 정도를 거스르고 그 자리를 차지                   했으면"' "당신이       1 년 동안

     한   일을   차분히    돌이켜    보십시오 .    업적이    없습 니 다.   우리은행은      지 금 7~8 위     은

     행이 되었습니다."(이 사건 게시글), ”측근도 배신하는 리더가 과연 리던인지 2,,( 이

     사건 제 2 게시글) 와 같이 현재 고소인 은행의 은행장인 고소인의 능력, 자질, 품

     성을 문제 삼는 취지의 내용을 게시하였습니다.



     이룰 통하여 볼 때, 피고소인은 고소인의                  1 년 임기 마감에 따른 고소인 은행의

     은행장 선출 절차가 예정되어              있음을 인식하고 이와 같은 게시글 및 사진을 게

     재함으로써 고소인 은행의 은행장 선출 과정에서                      고소인에     대한 부정적          평가가

     이루어지도록 할 의도로 본건 범행을 범하였다고 생각되며, 그로 말미암아 고소

     인의    공익성 및 자격        등에   대한 오인, 왜곡의        위험과, 공정하게        이루어져야 할

     고소인 온행의 은행장 선출 업무가 방해될 위험이 초래되었다고 볼 수 있습니다.



     이로써, 피고소인은 이 사건 게시물 및                 이 사건 제 2 게시 물 의 게재를 통하여 허

     위 사실을 유포하고, 나아가 위계로써                 고소인 은행의       은행장 선출 업무를 방해

     하였다고 하겠습니다 .




2   "리더인지"의 오기로 보입니다.


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III. 결 론


     피고소인은 다중 아이디를 통 하여 반복적으로 이 사건 게시물 및 이 사건 제 2 계

     시물과 사진 을 게시하는 동, 지능적이고 계획적으로 고소인 및                         고소인 은행의

     업무를 방해하였습니다. 부디 고소인들이                이 사 건 고소를 진행하게 된 경위 등

     을 깊이   헤아려 주시고, 피고소인을 철저히 수사해 주 시어 그들이 마땅한 벌을

     받도록 해주시기를 간절히 요청 드립니다.




                                참고자료



1.   참고자료 2                     녹색경제신문 2021. 2. 8 .자 기 사

1.   참고자료 3                     매 일 경 제 2020. 5. 3 1. 자 기사

1.   참고자료 4                     뉴데일리경제 2020. 3. 24. 자 기사

1.   참고자료 5                     소비자가 만드는 신문 2020. 6. 1 7.자 키사

1.   참고자료 6                     아시아경제 202 1. 2. 1 8.자 기사




                                첨부서류



1.   위 참고자료                           각 1부




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                                              2021.       3.   15.




                                                                                     士〔高靈
                                               휘

                                                   고소인의 대리인



                                              김 · 장 법률사무소       김한도
                                                                귀만주
                                                                찬
                                                                                     a
                                              변호사



                                              변호사              이환범
                                                                      호호




                                              변호사



                                              변호사




서울 남대문경찰A7 수사과 사이버수사팀                           귀중



                                                                                         10/1 0
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 감장법률사무소                                                  kuichan.kim@kimchang.com
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         녹색경재신문
          지속가능경재를위한




HOME    기획  [그날그후]

[그날 그후] 권광석 우리은행장, 코로나19 위기극복 사명 받고
돌아온 은행 '홍보맨'
 박종훈 기자 |     승인 2021.02.08 00:00




        - 시중은행장으로서 특이하게 1년 임기···내부안정·조직혁신에 숨가빴던 한해




        ▲ 권광석 우리은행장 (사진 = 우리은행 제공)




       전 세계에 여파를 미친 코로나19는 은행을 비롯한 금융기관의 변화에 촉매 역할을 했다.

       감염 확산을 막기 위해 '사회적 거리두기' 등 비대면 풍토가 자리잡았고, 안그래도 은행 미래전략
       의 가장 윗 줄에 있었던 디지털화는 더욱 가속됐다.

       어려운 내외 환경 속에서 은행권의 2020년 한해 농사는 나쁘지 않다. 혹자는 이를 백안시할지도
       모르지만, 위기는 누구에게나 위기고, 어려움은 모두에게 공평했다.

                                      참고자료 2
변화의 Case
    물길을4:21-mc-80084-DMR
         빠르게 읽어내고 방향타를   Document
                            단단히1-5  Filed리더십과,
                                  부여잡는   04/20/21 묵묵히
                                                   Page 일선
                                                        64 of현장에서
                                                             173  소
임을 다했던 은행원 모두의 공이다.

코로나19로부터 비롯된 거대한 변화의 물결이 들이닥치기 전부터, CEO 중징계라는 위기에 직
면했던 우리은행은 2020년 더 거칠게 조직이 흔들렸다.

4대 시중은행 거대한 선체의 복원력을 회복하기 위해 동분서주했던 많은 이들 가운데, 누구보다
도 바쁘게 지냈던 것은 임기 1년 남짓 앞두고 있는 권광석 우리은행장이다.


◆ 그날
우리은행 홍보실장, 2년 만에 컴백




       A.ward;202
                            3관왓스상
                        J hl'1l.;111l,1T




 ▲ 2020년 ‘더 뱅커(The Banker) THE BANK OF THE YEAR’ 시상식은 코로나19 영향으로 온라인으로 진행됐다. 우리은
 행 권광석 은행장이 3개 부문 수상 트로피를 들고 있는 모습 (사진 = 우리은행 제공)




2020년 2월 11일, 우리금융그룹 임원후보추천위원회(임추위)는 차기 우리은행장 후보 숏리스
트 3인 중 권광석 새마을금고중앙회 신용공제대표를 차기 은행장 단독후보로 추천했다.

당시 경합했던 이들은 김정기 우리은행 영업지원부문장과 이동연 우리에프아이에스 사장.

당시 임추위는 "우리금융지주 설립 뒤 지주회사 회장과 은행장을 처음 분리해 운영하는 상황에
서 원활한 소통으로 시너지를 창출할 적임자"라며 "은행의 조직 안정화를 이끌고 뛰어난 성과를
창출하길 기대한다"고 말한 바 있다.
     Case
1963년인  권4:21-mc-80084-DMR
          행장은 1988년 상업은행에  Document
                               입행한1-5  Filed 04/20/21
                                    뒤 2015년   우리은행 Page  65 of 1732017년
                                                      대외협력단장,
우리은행 IB그룹장, 2017년 우리프라이빗에쿼티자산운용 대표이사를 지낸 바 있다.

2018년에는 새마을금고중앙회 신용공제사업 대표이사로 선임되며 우리금융을 잠시 떠난다.

2013년과 2014년에는 우리금융지주와 우리은행 홍보실장을 지내기도 했다.

주주총회 이후 코로나19 상황을 감안해 별도 취임식 없이 곧바로 업무를 시작한 권 행장은 "우리
은행은 DLF 사태와 코로나19가 촉발한 팬데믹으로 인해 위기 상황에 직면했다”며 “빠른 시일 내
에 조직을 안정시키고 앞으로의 변화와 위험에 철저히 대비하겠다”고 말했다.

또한 첫 업무로 코로나19 관련 대고객 지원 현황 등을 점검하며 "은행은 실적이나 KPI 보다는 당
장 생업에 타격을 입은 소상공인 고객들이 어려움을 조금이라도 덜 수 있도록 신속하게 지원책을
마련하라”고 지시했다고 알려졌다.

2020년 우리은행의 3대 경영방침으로 권 행장은 ▲고객신뢰 회복 ▲조직 안정 ▲영업문화 혁신
을 제시했다. 이를 위해 "기본과 원칙을 지키는 정도 영업과 고객중심의 영업문화를 확립하고, 조
직 안정을 통해 직원들이 자존감을 회복할 수 있도록 솔선수범하여 낮은 자세와 열린 마음으로
소통하겠다”며 "최근 발생한 일련의 사태에 대한 냉철한 반성과 함께 은행의 모든 제도와 시스템
을 철저히 제로베이스에서 점검하고 개선하여, 어떤 경우에도 항상 고객을 최우선시 하는 근본
적인 혁신을 추진하겠다"고도 강조했다.



◆ 그후
1년 임기 동안 내외 위기상황 얼마나 추스릴 수 있을까?




  ▲ 2020년 7월 17일 열린 '2020년 하반기 경영전략회의'에서 예정에 없이 깜짝 이벤트로 무대에 올라 직원들과 소통의
  시간을 가진 권광석 행장 (사진 = 우리은행 제공)
      Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 66 of 173




통상 2년~3년의 은행장 임기가 부여되는 것과 달리, 권 행장은 1년 임기로 조만간 연임 여부가
판가름된다.

짧은 임기는 우리은행이 처한 내외 위기 상황의 소방수로서 권 행장의 역할을 기대하고 있다는
시그널.

권 행장의 선임 직전 우리은행은 해외금리 연계 파생결합펀드(DLF) 사태, 라임펀드 사태 등에 연
루되며 난관에 봉착해 있었다.

이보다 앞서 2017년 불거진 채용비리 사태도 가장 먼저 터지며 추락한 소비자신뢰 회복이라는
난제를 떠안고 있었다.

권 행장은 내정 직후 기자간담회에서 "내부통제시스템, 고객신뢰, 조직안정으로 이어지는 삼각
축이 무너진 상황"이라고 우리은행이 처한 상황을 진단하기도 했다.

이와 같은 상황은 수치도 말해주고 있다.

우리은행은 2018년 당기순이익 2조510억원을 기록하며 최대 실적을 기록했지만, 2019년 1조
5270억원으로 물러앉았다.

물론 이는 지주 재출범과 관련해 6개 자회사가 이전하며 회계상 손익이 감안된 부분이긴 하다.

하지만 2020년도 1조3632억원을 기록하며 다시 떨어졌다. 2020년 실적에도 자회사 이전 관련
회계상 손익이 1380억원 가까이 포함됐다.

또한 코로나19나 사모펀드 사태 등 미래를 위한 대손비용 충당 규모를 감안할 필요가 있다.

이러한 와중에 은행의 건전성은 타이트한 관리를 해왔다. 고정이하여신(NPL) 비율은 2016년
0.98%였던 것이 지속 감소해 2020년 0.32%를 기록했다. 2019년과 비교해도 0.08%p 감소
했다.

연체율도 2019년 4분기 0.30%였던 게 2020년 4분기 0.25%로 줄었다.

은행 우량자산비율은 2016년 75.5%에서 2020년 87.5%로 늘었다.


◆ 그리고, 앞으로
권광석 "위기극복은 122년 우리은행 역사의 DNA"
    Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 67 of 173




 ▲ 2021년 1월 22일 열린 '2021년 상반기 경영전략회의'에서 강연하고 있는 권광석 행장 (사진 = 우리은행 제공)




2021년 1월 22일 우리은행은 올해 상반기 경영전략회의를 갖는다. 이날 권 행장은 "122년 유구
한 역사를 가진 위기극복 DNA에 ‘혁신 D.N.A’를 더해 미래 디지털 금융시대를 주도해 나가자"고
임직원들에게 주문했다.

'혁신 D.N.A'는 올해 3개 경영 추진방향을 디지털 혁신(Digital), 지속가능 성장(Net), 수익기반
확대(Action)으로 설정하고 각 영단어의 앞 글자를 따서 만든 키워드라는 설명이다.

우리은행은 1899년 대한제국 고종 황제의 자본으로 설립된 대한천일은행을 그 뿌리로 여기고
있다. 대한천일은행은 조선상업은행으로 이름이 바뀌었고, 광복 후 1950년 한국상업은행으로
이름을 바꾼다.

IMF 외환위기 이후엔 한일은행과 합병하며 한빛은행으로 이름이 바뀌고, 2001년연 평화은행을
흡수하며 지금의 우리은행으로 자리잡았다.

우리은행의 아픈 역사는 한빛은행의 탄생 즈음으로 거슬러 올라간다. 당시 예보를 통해 투입됐
던 공적자금은 12조8000억원 수준이다.

공적자금 회수를 위한 우리금융 민영화는 20년이 지난 지금도 여전히 진행 중이다.

투입된 공적자금의 관리를 위해 2001년 우리금융지주가 출범한 이래, 민영화는 논란과 지지부
진이 계속됐다.

우리금융 민영화 과정에서 늘 회자되는 것은 '대어를 누가 삼킬 것'이냐는 물음이다.
   Case
우여곡절 끝에4:21-mc-80084-DMR
        2010년 1차 민영화 추진  Document
                           과정에선1-5유력 Filed
                                     후보인   04/20/21
                                            하나금융그룹이 Page 68 of 173 인수
                                                          외환은행을
했다. 2011년 2차 민영화에선 당시 MB 정권의 힘을 입은 강만수 전 산은회장의 '메가뱅크론'이
특혜 시비가 일며 다시 무산.

2012년 3차 민영화에선 다시 유력한 선수인 KB금융그룹이 발을 뺀다.

결국 2014년 4차 민영화에선 '쪼개 팔기'가 진행, ▲우리투자증권·우리아비바생명·우리금융저
축은행은 NH농협금융지주가, ▲광주은행은 JB금융지주가, ▲경남은행은 BNK금융지주가, ▲우
리자산운용은 키움증권이, ▲우리F&I는 대신증권이, ▲우리파이낸셜은 KB금융지주가 가져간
다.

4차 민영화 과정에서 우리금융지주는 해체되고, 남은 계열사는 우리은행의 자회사로 들어간다.

우리금융지주는 2019년 1월 재출범한다. 당시 "지주사가 공식 출범하면 상대적으로 은행에 집
중된 사업 포트폴리오를 다방면으로 확대하고, 새로운 금융서비스를 창출할 수 있을 것"이라며
"기업 인수합병을 통해 기업가치를 극대화하고 한 단계 더 나아갈 수 있는 좋은 기회"라고 말했
던 손태승 회장의 말처럼 '숙원'이었던 것.




  ▲ 시중은행 최초로 전면 복장자율화를 시행하고 있는 우리은행의 회의 모습 (사진 = 우리은행 제공)




'위기극복'을 위한 우리은행의 다양한 시도 중 눈에 띄는 점은 조직개편과 관련한 부분이다.

2020년 7월 우리은행은 급변하는 금융환경에 민첩하게 대응하기 위해 애자일 조직체계를 도입
한다.
부서와 Case
    팀의 중간4:21-mc-80084-DMR   Document
             형태인 'ACT(Agile Core      1-5신설한
                                 Team)'를  Filed것.
                                               04/20/21
                                                  필요할 경우Page 69 of설립돼
                                                           수시로    173 경영

진으로부터 부여 받은 미션을 수행하는 조직이다.

ACT의 리더는 부서장의 권한을 갖고, 지원업무는 관련 소관부서가 대행하면서 권한은 크게, 업
무는 간소화했다.

본사 조직 차원에서의 애자일 문화가 아니라, 일선 영업현장의 재편도 주목할만한 변화다.

2021년 1월 4일부터 거점점포 한 곳과 인근 영업점 4~8개를 하나의 그룹으로 묶는 VG(Value
Group)제도가 그것이다.

거점점포 중심으로 인근 영업점을 그룹화해 협업체계를 구축함으로써 같은 VG에 속한 영업점
간 공동 영업과 업무 노하우 공유를 통해 직원들의 업무 역량을 강화하고 고객 공동관리를 통해
고객에게 양질의 금융서비스를 제공할 수 있다는 설명이다.

휴가나 연수 등으로 결원이 다수 발생하는 영업점에는 같은 VG에서 상호 인력지원도 가능하다.

VG 단위 공동평가로 내부경쟁 과열은 지양하고 공동의 목표달성을 위한 협업을 강화한다는 측
면은, 은행 내외에서 최근 지속적으로 문제제기되고 있는 과당경쟁 부작용을 일소할 수 있을지
기대된다.

또 자산관리그룹 내 ‘투자상품전략단’을 신설해 고객 중심의 포트폴리오 상품전략 추진을 통해
자산관리 영업의 재건을 추진했다.

투자상품전략단은 펀드, 신탁 등 자산관리 상품을 총괄해 포트폴리오 중심의 상품전략 수립 역
할을 수행한다.

나아가 상품전략수립의 전문성과 상품개발∙검증 역량 강화를 동시에 추구하며, 이로써 고객 수
익률을 높이기 위한 다양한 투자전략은 물론 고객의 투자위험을 보다 더 세심하게 관리할 수 있
게 한다.

디지털 혁신과 병행해 우리은행이 추진하고 있는 이와 같은 내부 혁신은, 은행들이 처한 작금의
경영환경을 고스란히 반영하고 있다.

온라인 채널 비중이 커지는 가운데, 오프라인 채널은 어떻게 할 것이냐는 문제. 비단 은행만이 아
니라, 대고객 서비스를 제공해야 하는 산업 전반에서 최근 가장 중요한 화두다.

인터넷은행과 빅테크 등의 금융진출 가속화로 금융환경이 변화하고 있는 가운데 이번 VG제도
시행으로 자산관리, 기업금융 등 영업점을 통해서 이루어지는 대면채널 역량 강화로 고객에게
고품격의 부가가치 서비스를 제공할 수 있다는 게 우리은행의 노림수다.

권광석 우리은행장의 임기는 3월 만료된다. 일정과 절차를 감안하자면 우리금융그룹 임추위는
2월 중순 차기 행장 후보를 선임할 것으로 보인다.

예단하긴 조심스럽지만 권 행장의 연임 가능성은 높게 점쳐지고 있다.
   Case권4:21-mc-80084-DMR
무엇보다도    행장 취임에 앞서 일련의    Document
                           악재들로 1-5   Filed 04/20/21
                                   인한 직원들의     사기저하를 Page 70 of 173
                                                        개선하기     위한 시도
들이 주효했다는 평가다.

특히 4대 시중은행 최초로 복장자율화를 도입한 점이라든지, 임원회의 영상을 공유하는 등의 시
도는 조직 내에서 호평이다.

김정기 우리카드 대표, 박경훈 우리금융캐피탈 대표 등 그룹 주요 계열사 인사도 마무리됐다는
점 역시 연임 가능성을 높이고 있다.

더욱이 손태승 우리금융회장이 라임사태와 관련해 금감원으로부터 두 번째 중징계 통보를 받았
고, 2월 25일 제재심을 앞두고 있다.

이보다 앞서 DLF사태로 인한 중징계는 소송전으로 맞서며 3월 2차 변론기일이 잡혀 있다.

코로나19로 인한 영향이 올해도 얼마나 계속될지 불투명하다. 이와 같은 내외 경영환경 리스크
속에서 핵심 계열사인 은행의 수장 교체를 단행하는 것은 무리수라는 평가다.


  1                  권광석 우리은랭장 주요 약력                               |
            날짜                        주요내응

      198,2, 년     울산학성고등학교졸업

      198,6 년      건국대 산업공학과졸업

      1988 년       상업은행 입헹

      2007 년       우리금융지주 회장실 부장

      2008 년       우리아메리카은앵 워싱턴 영업본부장

      2011 년       우리은행 아크로비스타지점장

      2012년        우리은행 무역센터금융센터장

      2013 녀       우리급융지주 홍보실장(영업본부장 대우)
      2014 년       우리은행 홍보실장

      2015 년       우리은행 대와협력단장(상무)

      201'7 년      우리은행 1 18그룹 장(집행부행장)

      2017 년       우리프라이빗에쿼리자산운용 대표이사
      2018 년       새마을금고중앙회 신용공제사업 대표이사

      2020 년 3 월   우리은행장쥐임




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                                                            박종훈 기자
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       1K 뉴스
                                                                         二
                                                                         인쇄하기
                                                                              三
                                                                              취 소




    우리은행, 6월부터 복장 자율화 전면 시행…4대 은행 중 처음
    권광석 행장 `제로베이스 혁신` 주문 일환

    전종헌 기자            입력 : 2020.05.31 09:01:02




    .6.[사진 제공 = 우리은행]



    우리은행은 자율과 책임의 원칙에 기반한 창의적이고 유연한 기업문화 조성을 위해 6월 1일부
    터 국내 전 직원의 복장 자율화를 시행한다고 31일 밝혔다. 4대 은행 중 최초다. 앞서 국내 은
    행 중에는 대구은행이 복장 전면 자율화를 실시한 바 있다.


    우리은행은 직원의 개성과 자율성을 최대한 보장하기 위해 본인이 원하는 복장을 자유롭게 입
    을 수 있도록 했다. 다만, 은행업의 특성상 고객응대에 적합한 복장, 고객에게 신뢰를 주는 단정
    한 복장 착용 등을 권장한다.


    이번 복장자율화는 은행의 모든 제도와 시스템을 전면 점검하고 개선하자는 권광석 우리은행
    장의 `제로베이스 혁신`의 일환으로 추진됐다. 지난 3월 권행장은 취임사에서 올해 3대 경영방
    침으로 ▲영업문화 혁신 ▲조직 안정 ▲고객신뢰 회복 등을 제시하며 창의적이고 근본적인 혁
    신을 강조했다.

                                                 참고자료 3
https://www.mk.co.kr/news/print/2020/554979                                           1/2
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    권 행장은 지난 25일 전 직원에게 보낸 메일에서 "포스트 코로나로 대변되는 언택트, 디지털화
    등 빠르게 변하는 시대 흐름과 세대 변화에 발맞추고 은행에 활력을 불어넣고자 복장을 자율화
    하기로 했다"며 "단순히 옷을 자유롭게 입는 것에 그칠 것이 아니라, 변화를 두려워하지 않는
    혁신적인 은행으로 탈바꿈하는 결실로 이어지길 바란다"고 강조했다.


    우리은행 관계자는 "특히 복장 자율화는 행원급 여직원의 유니폼을 없애 수평적이고 유연한 조
    직문화를 형성하게 됐다는 점에서 큰 의미가 있다"며 "자율적이고 창의적인 기업문화 정착으로
    업무 효율성을 높일 수 있을 것으로 기대한다"고 말했다.


    [전종헌 기자 cap@mkinternet.com]
    [ⓒ 매일경제 & mk.co.kr, 무단전재 및 재배포 금지]




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                                                             뉴데일리



                                                             뉴더1일리 경제

        우리은행 권광석 행장, 취임식 없이 조용한 출발
        코로나19 영향…영상메시지로 인사 전해
        “제로에서 다시 시작…영업문화 혁신부터”
        임기 1년 부담 속 구원투수 부담감 2배

        기사입력 2020-03-24 12:52:10 | 최종수정 2020-03-24 13:13:52 | 차진형 기자 | jinhyung@newdailybiz.co.kr




        ▲ 권광석 우리은행장.ⓒ우리은행



        권광석 우리은행장이 공식 업무를 시작했다. 하지만 화려한 취임식은 없었다.

        24일 우리은행은 정기주주총회를 열고 권광석 은행장 선임 안건을 처리했다. 내정자로 선
        임된 지 43일만이다.

        오랜 기다림을 거쳤지만 특별히 취임식을 열지 않았다. 코로나19 영향으로 정부에서 사회
        적 거리두기를 권고했기 때문이다.

        대신 직원들에게 영상메시지로 향후 계획과 1만2000원 상당의 스타벅스 커피 쿠폰을 돌
        리며 인사를 대신했다.

        권광석 은행장은 취임 인사에서 “지금 우리은행은 지난 121년 동안 이뤄낸 수많은 성과와
        영광을 뒤로한 채 매우 힘들고 어려운 상황에 놓여 있다”라며 “빠른 시일 내 잘못된 관행
        을 고치고 부족한 시스템과 제도를 정비하는 노력이 필요하다”고 말했다.
biz.newdaily.co.kr/svc/article_print.html?no=2020032400120   참고자료 4                                 1/2
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                                                             뉴데일리



        이어 “0.1초를 다투는 치열한 F1 자동차 경기에서도 사고없이 결승선을 통과하기 위해서
        는 잠시 서킷에서 벗어나 연료를 공급받고, 타이어를 교체하는 피트인이라는 정비 시간이
        필요 하듯이 우리은행도 새로운 도약을 위한 기회의 시간을 가질 필요가 있다”고 덧붙였
        다.

        위기를 극복하기 위해 권 행장이 내건 경영전략은 ▲고객신뢰 회복 ▲조직안정 ▲영업문
        화 혁신 등이다.

        특히 영업문화는 컴플라이언스와 리스크관리 중심으로 새로운 판을 짠다. 철저한 관리로
        고객을 먼저 생각하겠단 의지다.

        권 행장은 “앞으로 컴플라이언스와 리스크관리 등을 영업 앞단에서 먼저 고민해 빈틈이
        없게 하고 영업점, 본점 직원 모두 ‘이게 안되면 영업을 못한다’라는 근본적인 인식의 전환
        을 당부한다”고 말했다.

        이를 통해 펀드, 방카 등 상품판매 위주에서 고객의 수익과 자산 성장에 초점을 맞춘 자산
        관리영업을 중시하고 현재의 평가제도나 규정, 영업조직 등 은행의 모든 제도와 시스템이
        고객 중심으로 구성돼 있는지 제로베이스에서 재점검할 계획이다.

        해외영업은 맞춤식 현지화 계획을 밝혔다.

        동남아 등 수익성이 높은 성장지역은 자본금 증자 등 현지 영업을 확대하고 성장이 정체
        된 글로벌 거점 점포들은 해외투자와 대체투자 등 IB영업의 전진기지로 전환한다.

        우리은행의 위기탈출을 위해 권광석 은행장이 구원투수로 올라갔지만 어깨가 무거운 것
        도 사실이다. 여기에 임기가 단 1년뿐이라는 사실도 부담이다.


        차진형 기자 (jinhyung@newdailybiz.co.kr)




           이 기사 주소: http://biz.newdaily.co.kr/site/data/html/2020/03/24/2020032400120.html




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소비자가만드는신문
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신한은행·우리금융 등 은행권 자금세탁방지 전문성 강화
잰걸음
 박관훈 기자 |       승인 2020.06.17 07:10




       은행권이 앞다퉈 자금세탁방지(AML, Anti Money Laundering) 전문성 강화에 노력
       을 기울이고 있다. 전세계적으로 자금세탁방지와 관련된 규제와 제재가 강화됨에 따
       라 관련 시스템을 정비하고 내부통제를 강화하는 중이다.

       최근 국제적으로 AML 체계 구축이 주요 과제로 부각되면서 금융회사가 시스템 미
       흡으로 거액의 벌금을 맞는 사례가 늘고 있다. 국내에서도 지난 4월 IBK기업은행 뉴
       욕지점이 자금세탁방지법 위반으로 미국 검찰 및 금융당국으부터 1000억 원 규모의
       벌금을 부과 받았다.

       이 같은 상황에 대처하기 위해 국내 은행들은 자금세탁방지를 위한 시스템 개선과
       전문인력 양성에 집중하고 있다.

       신한은행(행장 진옥동)은 이달 11일 자금세탁방지 업무 담당자의 전문성 강화를 위
       해 세계 최대 자금세탁방지 전문가 협회(ACAMS)의 기업회원 서비스를 국내 기업
       최초로 도입했다. 앞서 신한은행은 지난해에도 자금세탁방지 업무 전문성을 강화하
       기 위해 세계 최고 수준의 인지도를 갖춘 ‘톰슨 로이터社 자금세탁방지 교육 프로그
       램’을 도입한 바 있다.

       신한은행은 ACAMS 기업회원 서비스 도입으로 유관부서 실무자에게 자금세탁방지
       및 경제제재 관련 국제기구의 가이드라인, 각국 법령 및 제도, 감독기관 제재사례 등
       최근 동향의 정보를 신속하게 제공 가능하며, 국내외 감독기관에 자금세탁방지 업무
       전문성 강화에 대한 의지를 보였다.

       또한 신한은행은 ACAMS 기업회원 서비스 운영 외에도 글로벌 업무를 수행하는 직
       원들의 자금세탁방지 및 경제제재에 대한 기본적인 이해도를 높이기 위해 지난해
       도입한 ‘톰슨 로이터社’의 교육 프로그램도 전년 600여명에서 올해 총 1650여명의
       국내외 담당자를 대상으로 확대 운영 중이다.

       신한은행 관계자는 “신한은행은 글로벌에서 공인된 자금세탁방지 부문 최고의 교육
       기관 프로그램을 지속 활용함으로써 글로벌 수준의 역량을 확보한 전문가들을 양성
       해 나가는 동시에, 국내외 감독기관의 자금세탁방지 업무 담당자에 대한 전문성 강
       화 기대수준도 충족시킬 수 있을 것이다”라고 강조했다.
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또한 최근 우리금융(회장 손태승)은 국제자금세탁방지기구(FATF) 출신 전문가인 탁
윤성 자금세탁방지부 본부장을 영입했다. 앞서 우리금융은 지난해 10월 국내 금융
그룹 최초로 그룹 차원의 통합 자금세탁방지 체계인 ‘그룹AML/CFT정책(One
AML/CFT Policy)’을 도입한 바 있다.

국내 금융그룹의 자회사는 다양한 업종으로 구성돼 있어 자금세탁방지 및 테러자금
조달방지(CFT, Countering the Financing of Terrorism) 등의 내부통제 수준에 편차
가 있다.

‘그룹AML/CFT정책’은 우리금융그룹의 각 그룹사가 자금세탁방지업무 수행시 일관
되게 지켜야 하는 최소 준수기준(Minimum Standard)이다. 이러한 공통 가이드라인
은 그룹사별 관리역량을 상향 평준화시켜 그룹의 전체적 리스크 통제수준을 향상시
킬 것으로 기대하고 있다.

우리금융 관계자는 “그룹 차원의 자금세탁방지 통합 정책의 성공적인 정착을 통해
변화하는 글로벌 금융환경 및 새로운 유형의 자금세탁 위험에 선제적으로 대응해
나갈 계획”이라며 “대외적으로 컴플라이언스 신뢰도를 향상시켜 향후 글로벌 선진
금융그룹 수준으로 발전시켜 나가겠다”고 밝혔다.

여기에 우리은행(행장 권광석)은 지난해 4월 국내은행 최초로 글로벌 금융회사 수준
의 자금세탁방지 내부통제 시스템을 구축하고, 전담부서인 자금세탁방지부를 자금
세탁방지센터로 격상함과 동시에 부서장을 본부장급으로 선임했다.

또한 자금세탁방지 전문인력을 현재 36명에서 110여명으로 대폭 증원했으며 준법
감시인 산하 조직인 준법지원부도 준법감시실로 격상하고 인원을 확충해 준법감시
와 점검 역할을 강화하기로 했다.

우리은행 관계자는 “국내외적으로 자금세탁방지 규제가 강화되는 것을 계기로 국내
금융회사도 선진 내부통제체계를 갖춰야 한다는 분위기”라며 “이에 따라 지속적인
자금세탁방지 시스템 개선, 전문인력 양성, 교육 체계를 선진 금융회사 수준으로 향
상시키기 위한 외부 전문기관의 컨설팅을 진행하고 있다”고 설명했다.

이밖에 SC제일은행(행장 박종복)은 내부적으로 금융범죄리스크위원회를 운영해 자
금세탁 및 경제제재조치 관련 리스크를 안정적으로 관리하고 있다. 경영진의 지속적
인 관심과 지원으로 자금세탁방지 기능 강화를 위한 차세대 시스템 구축과 전문인
력 육성 등에 적극 투자하고 있다는 설명이다.

SC제일은행 관계자는 “국내 은행들과의 교육 프로그램 협력을 통해 SC그룹의 선진
적인 자금세탁방지 모델을 폭넓게 공유함으로써 은행권의 실질적인 자금세탁방지
업무개선 지원에 앞장서고 있다”고 말했다.

[소비자가만드는신문=박관훈 기자]
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                                                       。      박관훈 기자
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                                                                가능성에 무게

    아시아경제 기사 프린트하기



       임기 한 달 남은 권광석 우리은행장…연임 가능성에
                     무게
  기사입력 2021.02.18 11:10              최종수정 2021.02.18 11:10




      코로나19·라임사태 제재심 상황서 리더십 필요
      금융당국 "개입 않을 것"…'코로나 절벽' 앞두고 기존 은행장과의 호흡 중요
      권광석, 최근 '같이그룹 제도'로 디지털 혁신 속도전…인터넷전문은행·빅테크 확장에 대응




   [아시아경제 원다라 기자] 우리금융그룹이 이르면 다음주 권광석 우리은행장 연임 여부를 논의할 자회사대표이사후보추천위원회

   (자추위)를 가동한다. 자추위에서 은행장 후보를 추천하면 우리은행 임원후보추천위원회(임추위), 이사회, 주주총회를 거쳐 권 행

   장의 최종 연임 여부가 결정된다. 금융권과 우리금융 내부에선 권 은행장이 연임할 것이라는 관측이 힘을 얻고 있다.



                                   올해 우리은행 주총, 3월22일~26일 사이…권광석 연임론 우세

   18일 우리금융 관계자는 "조만간 차기 행장 후보를 추천할 자추위를 가동할 것"이라면서 "통상 주총 한 달 전에 자추위를 개최했

   다"고 말했다. 올해 우리은행 주총은 3월22일부터 26일 사이 개최하는 것으로 가닥이 잡혔다. 일정대로 추진될 경우 다음주 경에


                                                     참고자료 6
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   는 자추위가 가동될 전망이다. 다만 우리은행측은 "지주사와 달리 자회사는 반드시 주총 한달 전 결론내야 할 의무는 없다"면서 정

   확한 시점은 못 박지 않았다.



   금융권에선 권 행장의 연임 전망이 우세한 상황이다. 코로나19, 인터넷은행·빅테크(대형정보통신기업) 금융권 진출 등 은행권의

   위기상황서 권 행장이 리더십을 유지해야 한다는 이유에서다.



   지난해 3월 1년 임기로 취임한 권 행장의 능력을 보여주기에는 기간이 너무 짧았다는 평가도 나온다. 통상 국내 은행장 임기가 ‘기

   본2년, 성과에 따라 1년 연임이라는 점을 감안하면 특별한 실기가 없었던 권 행장의 임기 연장이 자연스럽다는 것.



   특히 권 행장은 파생결합펀드(DLF) 사태로 혼란스럽던 조직을 추스르고 소비자보호 강화에 주력하면서 고객 신뢰도 제고에 힘썼

   다는 내부 평가를 받고 있다. 여기에 손태승 우리금융지주 회장이 금융당국으로부터 징계를 받은 상황에서 우리금융의 안정을 위

   해 행장을 교체하기 쉽지 않을 것이라는 관측이다.

                                    금융당국, '코로나 절벽' 앞둔 상황서 기존 은행장과 호흡 중요

   금융당국 입장에서도 하반기 코로나19 금융지원 종료에 따른 ‘코로나 절벽’을 눈앞에 둔 상황서 기존 은행장들과의 호흡이 중요하

   다는 분석이다. 금감원은 지난 16일 발표한 올해 업무계획에서 "코로나19 장기화로 차주의 채무상환능력이 약화되고 있어 금융지

   원 조치 정상화시 잠재된 부실이 표면화될 우려가 있다"며 "경기회복 과정서 금리상승이 동반될 경우 한계기업·가계 부실이 증가

   할 가능성이 있다"고 짚었다. 진옥동 신한은행장이 지난해 12월 연임된 데 이어 내달까지 임기인 지성규 하나은행장도 연임설이

   나오고 있는 상태다.



   은성수 금융위원장도 금융권 연임 문제에 개입하지 않겠다는 입장을 재차 확인했다. 은 위원장은 전일 국회에서 열린 정무위 업무

   보고에서 금융지주 회장 연임을 지적하는 김한정 더불어민주당 의원의 질의에 "원칙적으로 금융회사 스스로 결정해야 할 문제"라

   며 "금융산업 발전에 도움이 되는지에 대해 판단하고 있다"고 답했다.



   한편 권 행장은 최근 거점 점포 한 곳과 인근 영업점 4~8개 내외를 하나의 그룹으로 묶는 영업점과 협업체계인 '같이그룹(VG제

   도)' 활성화에 주력하고 있다. 인터넷은행과 빅테크의 금융진출 가속화 리스크를 영업점간 공동 영업과 업무 노하우 공유, 고객공

   동관리로 대응하겠다는 취지다.



   권 행장은 올해 신년사에서 같이그룹제도를 언급하며 "영업방식의 패러다임을 바꾸게 될 것"이라고 강조했다. 그는 "인터넷전문은

   행이나 빅테크, 플랫폼사들의 출현은 은행업의 정의를 새로 내려야할만큼 근본적인 혁신을 요구하고 있다"며 "올해 우리은행이 나

   가야 할 방향을 '디지털 퍼스트, 디지털 이니셔티브'로 정하고 영업현장의 디지털화에 속도를 내겠다"고 말했다.




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                                                                가능성에 무게




   원다라 기자 supermoon@asiae.co.kr
   <ⓒ경제를 보는 눈, 세계를 보는 창 아시아경제(www.asiae.co.kr) 무단전재 배포금지>




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                 Exhibit J
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                                                                                              [Translation]




  Case               Interference with Business
  Plaintiff          Kwang-seok Kwon, Woori Bank
  Defendant          Unidentified individual




                           Additional Complaint



                                            March 15, 2021


                                        Plaintiff(s)                  Kwang Seok Kwon, Woori Bank
                                                             Counsel for Plaintiff        Kim & Chang
                                                                     Attorney-at-law      Kui Chan Kim
                                                                     Attorney-at-law Hwan Beom Lee
                                                                      Attorney-at-law         Man Ho Han
                                                                      Attorney-at-law          Joo Ho Do




To: Cybercrime Investigation Team,
Criminal Investigation Division of Seoul Namdaemun Police Station




                        39, Sajik-ro 8-gil, Jongno-ro, Seoul 03170
                       TEL: 02-3703-1114   FAX: 02-737-0371     E-mail: lawkim@kimchang.com
                       Hotline 02-3703-5971 (Attorney Kui Chan Kim)    kuichan.kim@kimchang.com
                              02-3703-8505 (Jae Yong Shin)     zjyshin@kimchang.com
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                                                                                     [Translation]


                               Additional Complaint

Plaintiffs           1. Woori Bank

                         51 Sogong-ro, Jung-gu, Seoul, Republic of Korea

                         Representative Director Kwang-seok Kwon



                     2. Kwang-seok Kwon

                         51 Sogong-ro, Jung-gu, Seoul, Republic of Korea



                     Counsel for Plaintiffs: Kim & Chang
                     Attorneys-at-law Kui Chan Kim, Hwan Beom Lee, Man Ho Han, Joo Ho Do

                     39, Sajik-ro 8-gil, Jongno-ro, Seoul 03170


Defendant             Unidentified individual
                      (There are three user IDs: “ijlij!llij,” “I disagree,” “Last question.” Each
                      user ID may belong to a different individual, which means that there
                      could be three Defendants. However, it is difficult to confirm at this stage
                      and since they are all unidentified, they will collectively be referred to as
                      “Defendant.”)



Crime                 Interference with Business


In addition to the complaint filed against the unidentified Defendant on February 17, 2021 for
 violation of the “Act on Special Cases Concerning the Punishment, Etc. of Sexual Crimes”
 (distribution of false media content), we hereby file a complaint against Defendant for
 interference with business as follows. We respectfully request that you investigate the case
 promptly and subject Defendant to severe sanctions.




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                                                                                         [Translation]


                                        Details of Complaint


I.   Relationship between the Parties

     Plaintiff Woori Bank (“Woori Bank”) is a financial company providing a full range of
     financial services including personal financing and corporate financing. Plaintiff Kwang-
     seok Kwon (“Plaintiff Kwon”) has assumed the office of the Representative Director of the
     Bank since March 24, 2020 and has been managing the financial services, etc. of Woori
     Bank.

     Defendant is suspected of uploading a post entitled “This is the true identity of the boss that
     we have trusted and followed” on February 16, 2021 and four additional posts entitled
     “Question 1,” “Question 2,” “Question 3,” and “This is not right” on February 26, 2021.


II. Reason for Complaint

1.   Posts, etc.

     On February 16, 2021, at an unknown location, Defendant manipulated parts of a photo of
     Plaintiff’s face and body with a photo of another man, and posted “This is the true identity
     of the boss that we have trusted and followed” on the Woori Bank page of Blind
     (Plaintiff’s Exhibit No. 2, the “Post,” texts of the post as the “Post Texts,” and photo in the
     post as the “Photo”). The key texts of the above Posts, in sequence, are as follows:


                          [Plaintiff’s Exhibit No. 1, Excerpt from the Post Texts]

       No.                                        Descriptions in the Post
        1          While emphasizing the importance of leading an ethical life to 15,000 employees,
                   behind our back, he secretly had a drinking party while being physically
                   affectionate with a young woman.
        2          He shouts “it is a time of crisis, so everyone should be devoted to sales.” However,
                   behind our back, he wears an unbuttoned shirt while hugging a woman who looks to
                   be younger than his daughter.
        3          Thousands of employees’ blood and sweat go to a waste for a pathetic man’s nightly
                   drinks with a hostess, (blood and sweats) flowing down the throats of such humans.
        4          You got that position without any ability by riding on someone’s coattails.
                   Shouldn’t you work hard, and work in a right manner?
        5          Take a closer look at what you have done in one year. There are no achievements.
                   Oh! We got one – “no dress code”



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                                                                                    [Translation]

        6      You may say that we have VG? Every single 15,000 employees knows that this is
               merely a copy/imitation of another bank.
        7      Woori Bank is now ranked 7th or 8th.


     Moreover, the Defendant posted the same photo as above along with the posts entitled
     “Question 1,” “Question 2,” “Question 3,” and “This is not right” [Plaintiff’s Exhibit No.
     3-1 to No. 3-4, “Second Post,” texts of these posts as the “Second Post Texts,” and the
     photo as the “Photo”].


2.   Interference with business of Plaintiff Kwon and Woori Bank

     A. Establishment and Operation of VG System, etc.

         Plaintiff Kwon and Woori Bank introduced and implemented the Value Group (“VG”)
         system, a collaborative system that grouped nearby branches around the base branch in
         order to strengthen employees’ work capabilities and provide quality financial services
         through client joint management. Further, in order to enhance employee morale and
         build a horizontal and flexible organizational culture, Woori Bank abolished dress codes,
         as the first of the four commercial banks, and shared videos of executives’ meeting,
         receiving favorable feedback within the organization (Reference No. 2 News Article of
         Green Economy Newspaper dated February 8, 2021).

         In particular, the VG system is of great significance in that it presented the contrarian
         idea of innovating face-to-face channels in a rapidly changing financial environment,
         such as revitalization of internet banking and the acceleration of internet banks’
         advancement to finance. Furthermore, the VG system may be considered a key
         promotion task of Plaintiff Kwon and Woori Bank essential for Woori Bank, in that it
         has set a direction to reduce internal competition between branches – which was a
         chronic issue of the banking industry – and achieve a common goal.

         The “No Dress Code” system is also a policy promoted as part of the “sales culture
         innovation” that Plaintiff Kwon emphasized from the time of his appointment, and is of
         great significance in that it represents not just freedom of attire but the first step to
         change the entire culture. In addition, the above system is a symbol of innovation to
         Plaintiff Kwon and Woori Bank in the sense that Woori Bank was the second bank to
         implement the “No Dress Code” system among domestic banks and the first among the
         four major commercial banks (Reference No. 3 News Article of Maeil Economic Daily
         News dated May 31, 2020).

         However, as shown in Table 4, 5, 6, and 7 above, Defendant intentionally denounced
         the meaning of the VG system and “No Dress Code,” distorting and reproaching as if
         Plaintiff Kwon’s lack of management ability is responsible for Woori Bank’s drop to the


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                                                                                [Translation]

    7th or 8th place.


B. Compliance Reinforcement Work

    Ever since Plaintiff Kwon got appointed as the Representative Director of Woori Bank,
    he and Woori Bank have been promoting customer trust and recovery, organizational
    stability, and sales culture innovation as business strategies, and have made efforts to
    improve sales culture, especially focusing on compliance and risk management
    (Reference No. 4 News Article of New Daily Economy dated March 24, 2020).

    To this end, Plaintiff Kwon established an internal control system for prevention of
    money laundering at the level of global financial companies – the first among domestic
    banks – around April 2020, and made practical efforts to strengthen the compliance
    monitoring system by elevating the Compliance Support Division, an organization
    under the Compliance Offer, to the Compliance Monitoring Division and greatly
    expanding the number of relevant personnel (Reference No. 5 News Article of
    Newspaper Made by Consumers dated June 17, 2020).

    However, Defendant portrays Plaintiff Kwon as if he violated the “compliance”
    standards that he and Woori Bank emphasized, ignoring the quarantine guidelines for
    COVID-19 and indiscriminately spending bank expenses for entertainment, through the
    uploading of Post Texts 1, 2, and 3 above and the Photo.


C. Defendant’s Interference with Business

    However, as explained in the Complaint and the Supplementary Opinion to the
    Complaint that have been submitted, Plaintiff Kwon has not visited any hostess bar
    since he was appointed as the Representative Director of Woori Bank on March 24,
    2020 (Items No. 1, 2, and 3 in the Table above), and Woori Bank is currently one of the
    top five commercial banks in Korea, and is one of the five leading banks in terms of
    sales, operating profit, or net profit in 2020 (Item No. 7 in the Table above). Given the
    foregoing facts, the Post Texts are clearly false, and maliciously distort and
    denounce the system and performance of Plaintiff Kwon and Woori Bank. In
    particular, the Photo causes Plaintiff Kwon to feel extremely insulted and be
    humiliated, and even induces anxiety and fear that the same types of false photos
    may get posted later on.

    Defendant’s acts of posting the Post and the Second Post, as dissemination of false facts,
    etc., undermine the value of business which Plaintiff Kwon and Woori Bank focus
    on promoting, deprive them of driving force, and disseminate false perceptions
    regarding Plaintiff Kwon’s willingness to reinforce compliance, management
    ability to improve sales performance, and personal morality to employees and


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                                                                                             [Translation]

          officers and shareholders of Woori Bank. Hence, the above acts give rise to a severe
          risk of causing difficulties to performance of righteous duties of Plaintiff Kwon and
          Woori Bank.


     D. Sub-conclusion

          According to court precedents, “the actual occurrence of the result of business
          interference is not a necessary condition to establish a crime of business interference,
          given that a risk of causing interference with business is sufficient,” and
          “interference with business” includes not only hindering the execution of business
          itself, but also hindering the management of business” (Supreme Court Decision No.
          91Do3044, rendered on April 10, 1992 and Supreme Court Decision No. 2000Do3231,
          rendered on March 29, 2002, etc.). Given the foregoing court precedents, the acts of
          the Defendant interfering with Plaintiff Kwon’s duties and Woori Bank’s key business
          by uploading the Post and the Second Post are considered interference with business
          under Article 314, Paragraph 1 of the Criminal Act. 1


3.   Interference with the appointment of the President of the Bank

     On March 24, 2020, Plaintiff Kwon was appointed as the Representative Director of Woori
     Bank for a one-year term, which is not a customary practice. Accordingly, Woori Bank must
     either extend the current Representative Director’s term of office or appoint a new
     Representative Director in March 2021. Pursuant to the regulations of the Woori Financial
     Group, which Woori Bank is affiliated with, and the regulations of Woori Bank, the
     candidate for the next Representative Director is determined through the “Candidate
     Recommendation Committee for Subsidiary Representative Director” of the holding
     company and the “Executive Candidate Recommendation Committee” of Woori Bank, and
     the next Representative Director must be elected through the board of directors and general
     meeting of shareholders of Woori Bank (Reference No. 6 News Article of Asian Economy
     dated February 18, 2021).

     More specifically, the “Executive Candidate Recommendation Committee” (the
     “Committee”) is comprised of five outside directors of Woori Bank, including the
     Chairperson. The Committee conducts a review with regard to a candidate’s personal
     information, career, and whether or not a candidate satisfies the eligibility requirements
     stipulated in the relevant regulations such as the Act on the Corporate Government of


1
   Regarding the act of posting false information on the Internet bulletin board, refer to the Seoul North
ern District Court Decision rendered on January 22, 2015, which found the act of “interfering with A’s
business through fraudulent means by disseminating false facts that B sold A to a private equity fund b
y arguing that … and causing such details to be reported through various media outlets such as C” gui
lty.

                                                                                                       5/10
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                                                                                      [Translation]

    Financial Companies and internal regulations, and a candidate for the Representative
    Director’s position is confirmed upon discussion, review, and resolution among the
    Committee members.

    In particular, if the candidate is the current Representative Director of Woori Bank, the
    Committee reviews the candidate’s performance during his/her tenure as the
    Representative Director. Furthermore, due to the nature of banks that require a high level
    of integrity and compliance, the Committee is expected to conduct a high-level screening
    on the moral aspects of candidates, such as public interest and willingness to sound
    management, to determine whether or not they meet the eligibility requirements.

    In this situation, Defendant posted false information, groundless accusations, and false
    photo against Plaintiff Kwon as described above, and distributed false information regarding
    the key tasks that Plaintiff Kwon promoted during his tenure as the Representative Director
    of Woori Bank. In particular, Defendant posted details to the effect of questioning the ability,
    qualities, and personality of Plaintiff Kwon who is the current Representative Director of
    Woori Bank, as follows: “You got that position without any ability by riding on someone’s
    coattails,” “Take a closer look at what you have done in one year. There are no achievements.
    Woori Bank is now ranked 7th or 8th ” (Post), and “Is the leader betrayed even by his cronies
    actually a leader?” (Second Post)

    Given the above, it is believed that the Defendant, acknowledging that the procedure for
    appointing the Representative Director of Woori Bank is scheduled following the end of the
    term of office of Plaintiff Kwon, committed the alleged crime of posting such posts and
    Photo to the effect of making negative evaluation against Plaintiff Kwon in the process of
    appointing the Representative Director of Woori Bank. As a result, Defendant gave rise to
    the risk of misconstruing and distorting Plaintiff Kwon’s public interest and eligibility, and
    the risk of interfering with the fair and neutral business of appointing the Representative
    Director of Woori Bank.

    In this regard, Defendant disseminated false facts by posting the Post and the Second Post,
    and through fraudulent and deceptive means, interfered with the business of appointing the
    Representative Director of Woori Bank.


III. Conclusion

    Defendant slyly and intentionally interfered with the business of Plaintiff Kwon and Woori
    Bank by repeatedly posting the Post, the Second Post, and the Photo using multiple IDs.
    We sincerely ask for your deep understanding of the circumstances surrounding Plaintiffs’
    filing of the Complaint in this case, and that you conduct a thorough investigation against
    the Defendant so that they could get the punishment they deserve.




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                                                                              [Translation]

                                   Reference Materials


1.   Reference No. 2       News Article of Green Economy Newspaper dated February 8, 2021

1.   Reference No. 3         News Article of Maeil Economic Daily News dated May 31, 2020

1.   Reference No. 4               News Article of New Daily Economy dated March 24, 2020

1.   Reference No. 5       News Article of Newspaper Made by Consumers dated June 17, 2020

1.   Reference No. 6                 News Article of Asian Economy dated February 18, 2021




                                   Attached Document


1.   Reference materials above    One (1) Copy Each




                                                                                      7/10
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                                                                                              [Translation]




                                                   March 15, 2021



                                                   Counsel for Plaintiffs

                                                    Kim & Chang


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                                           Attorney-at-law Man Ho Han


                                              Attorney-at-law Joo Ho Do




To: Cybercrime Investigation Team,
Criminal Investigation Division of Seoul Namdaemun Police Station




                                                                                                      8/10
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                 Exhibit K
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                                                  고소보충의견서


              고         소    인            1. 주식회사 우리은행

                                            서울 중구 소공로 51

                                            대표이사 권광석



                                          2. 권광석

                                            서울 중구 소공로 51



                                          고소대리인 법무법인 율우

                                          담당변호사 검호진 (010-9571-8007), 한광수, 최지현

                                          서울 서초구 서초중앙로 148 희성빌딩 12,13 충

                                          전 화 : 02-3482-0500, 팩 스 : 02-3482-0506



              피고소인                        성명불상

                                          (게시자 ID 는 'ijlij!llij', '반대올시다'' '마지막 질문'으로 총 3 개입
                   el

              빼                           니다. ID 마다 각각 다른 사람일 수 있고 이 경우 피고소인은 총
      嶋 .. "' ..
                   ""
嶋

'!I
                                          3 명이 될 수도 있으나, 현재로서는 구분이 어렵고 모두 성명불상
      ~   "   "'



"' " ""                                   이므로 이하에서는 우선 ‘피고소인’이라 통칭하겠습니다.)
"'

                             명            성폭력범죄의처벌등에관한특례법위반(허위영상물반포,                        촬영물이
""                 "
                                          용협박·강요)，          정보통신망이용촉진및정보보호등에관한법률위반
"' ., .,
                                          (음란화상배포, 허위사실명예훼손), 명예훼손, 모욕




                                                                                                    ,1갑

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              희성빌딩 12,13층
                                    148
                                                      律a,vul~넒                     TEL : (02) 3482-0500
                                                                                   FAX : (02) 3482-0506
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                                                 고소보충요지




                고소인들은         아래   고소사실에      관하여   피고소인을 성폭력범죄의처벌둥에관한특례법(이하

                ‘성폭력처벌법’이라고 합니다)위반(허위영상물반포) 및 정보통신망이용촉진및정보보호동

                에관한법률(이하            ‘정보통신망법' )위반(음란화상배포 및 명예훼손) 등의 혐의로 고소하

                였습니다. 본 의견서에서는 이에 추가하여 피고소인의 범행이 성폭력처벌법위반(촬영물

                이용협박·강요)에도 이를 수 있는 사안이라는 점을 밝혀                        피고소인에      대한 엄중한 처벌

                을 요청       드리고자 합니다.




                특히,       피고소인은 위와 같은 범행을 계속적·반복적으로 하고                    있고    이러한 피고소인의

                행위는 단순히 고소인 권광석 개인이나 고소인 주식회사 우리은행(이하 ‘고소인 은행’이

                라고 합니다) 측의               명예를 훼손하는 것에     그치는 문제가 아니라 고소인 권광석의                   직무

                수행의        정당성을 부정하고 나아가 은행 조직의               기강을 흔드는 행위에         해당하는 것으로

                서 그 심각성이나 파장이 심대하다는 점도 강조하고자 합니다.



                     "
.,.,,,.아래에서는 본 고소보충의견서만으로 고소장에                               기재된 내용과 추가 보충된 내용을 함께
                     "
                          이해하실 수 있도록 상세히 설명 드리겠습니다 .
"'
.,.,,,.,.,,
,
’
                                                    고소사실

     ’ ’ ’
     ..,   ..   "I

  .., ..1,..             고소사실(주가 보중된 내용 포함)
’ .., ,.. ..,

                         피고소인은 2021.2.16. 불상의 장소에서 반포 등을 할 목적으로 고소인의 얼굴·신



                                                                                                  ,119"
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                                                律avul~需                          TEL : (02) 3482-0500
                                                                                 FAX : (0 2) 3482-0506
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            체     일부 사진을 고소인의 의사에              반하여, 와이셔츠를 풀어      헤친 상태에서 눈을 감

            온 채     여성을 옆으로 끌어안아 여성의              왼쪽 볼에      키스를 하고 있는 다른 남성의

            사진에 합성하여, 블라인드 앱의 우리은행 페이지에 “우리가 믿고 따랐던 우두머리

            의     민낯이고 본모습입니다."라는 제목의 글과 함께 게시하여[증 제 2호중, 이하 ‘이

            사건 게시물’이라고 하고, 게시물 중 글은 ‘이 사건 게시글', 사진은 ‘이 사건 사진’

            이라고 합니다] 불특정 다수인이 열람하게 하였습니다.



            또한, 피고소인은 2021. 2. 26. 어 도 "질문 1"       "질문 2"   "질문 3", "이건 아닌것 같습니

            다”라는 저목의             글겨   굵꺼   °   동일한 A 진을   게시능     중 제 3 호중 o      1     A   4

            0 굽    '0   J- 건   저 2 게 A 물’이라고 승고   게 A 물 중 글은 '0    J- 건   저 2 게 A 글'     A 진

            은 동일하게 ‘이 A 건 사진’이라고 합니다                불특정 다수인이 열라하게 하여습니다.



            이로써         피고소인은 반포 등을 할 목적으로 고소인의               얼굴 · 신체 사진을 고소인의

            의사에 반하여 성적 욕망 또는 수치심을 유발할 수 있는 형태로 합성하고 이를 반

            포하는 성폭력범죄를 저지름과 동시예                   고소인들을 비방할 목적으로 아래와 같은

            허위     내용의     글과 함께       합성사진을 정보통신망인 블라인드앱에                게시하여         불특정

            다수인들에게 고소인들의 명예를 훼손하고, 모욕하였습니다.
     ’

            나아가 피고소인은 여할분담을 하여 돌아가면 A                     또는 순차적으로        수치심을 유발할

            수 ol 는 이 사건 A 진을 블라인드 oi:I 에          반복적으로 게시하면 A       리 E 의 자격에           의문

            울 제기굼 는 등°            방   으로 고소인 권광入1 의   직무수행의       정당성을 부정하고 나아

            가 사임할 것을 간접적으로 요구하며                   이에 응하지 않을 경우 지속적으로 이 사건

            사진을 게시할 것             같은 태세를 보이는 등       - 박하여 고소인 권광석의 권리행사를
"、
            방해하고 고소인 권광석에게 의무 없는 일을 하게 하여습니다.




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         희성빌딩 12,13층
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                                           律avul~需                        TEL : (02) 3482- 0500
                                                                          FAX : (02) 3482- 0506
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                                         [중 제 2호중 이 사건 게시글 내용 중 발췌]



                      순번                                      내용

                          1    우리은행에 댓글팀이 있고 블라인드 대웅팀이 있다는데

                          2    뒤에서 어린 여자를 끼고 술판을 벌리고, 낯뜨거운 스킨쉽도 서슴지 않았

                               습니다.

                          3    뒤에서는 딸벌도 안된 여자를 끌어안고, 와이셔츠를 풀어헤친채

                          4    수많은 직원들의 피와 땀이            한심한 분의, 한 여자의 하루밤 술값으로 쓰

                               이고, 저런 인간들 목구멍으로 흘러 넘어갑니다

                          5    당신이 1 년 동안 한 일을 차분히 돌이켜 보십시오. 업적이                      없습니다. 우

                               리은행은 지금 7~8 위 은행이 되었습니다.



                II.   적용 법조



                      [성폭력범죄의저벌등에관한특례법]



                      제 14 조 의 2( 허 위 영 상물 등의 반포등)
,., ......
              "       O   반포등을 할 목적으로 사라의           얼굴 · 신체 또는 음성을 대상으로 한 촬영물 · 영상물
 C

 <
             ’빽
       f     빽
                      또는 음성물 이하 이 조에入           "영상물등" 이라 한다 을 영상물등의 대상자의 의사어l 반하
'"'.,'"'.,.,
’                re
                          서처욕망또는수女지을유발할수°는혀태로편;,:..굵성또는가공 0i;                                   0    조
             C




 (C
            Cr
             『




                      에서      "편집등,, 이라 한다)한 자는 5 년 이하의 징역 또는 5 천만원 이하의 벌금에                         처한
     ...,
"I                    댜
     ,,     `
           ,,
     ,, ,,       ,    @ 제 1 항에 따른 편又 물 . - 성물 · 가공물 이하 이 항에서             "편又 물등" 이라 한다              또는
,,
     ,, ..,
                      복제물 복제물°        복제물을 포궁 한다. 이하 이 항에入          같다 을 반포등을 한 자 또는 제 1

                      항의 편집등을 할 당시에는 영상물등의               대상자의 의사에       반하지 아니한 경우에도 사후



                                                                                                    ;기?
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                 희성빌딩 12,13층                    律a,Yul麟                          TEL : (02) 3482- 0500
                                                                                 FAX : (02) 3482- 0506
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                            예    그 편집물등 또는 복제물을 영상물등의              대상자의    의사에   반하여    반포등을 한 자는

                            5 년 이하의 징역 또는 5 천만원 이하의 벌금에 처한다.




                            제 14조의 3( 촬영물 등을 이용한 협박 · 강요)

                            ®    성적   욕망 또는 수치심을 유발할 수             있는 촬영물 또는 복제물(복제물의                     복

                            제물을 포함한다)을 이용하여 사람을 협박한 자는 1 년 이상의 유기징역에                                   처한

                            다.

                            @ 제 1 항에 따른 협박으로 사람의 권리행사를 방해하거나 의무 없는 일을 하게

                            한 자는 3 년 이상의 유기징역에             처한다.

                            [정보통신망이용촉진및정보보호등에관한법률]



                            제 70 조(벌칙 )

                            @ 사람을 비방할 목적으로 정보통신망을 통하여 공공연하게 거짓의 사실을 드

                            러내어 다른 사람의 명예를 훼손한 자는 7 년 이하의                      징역 , 10 년 이하의 자격정

                            지 또는 5 천만원 이하의 벌금에 처한다.



                            제 74 조(벌칙)        ®   다음 각 호의 어느 하나에       해당하는 자는 1 년 이하의             징역 또
. ., .,       뺀



                            는 1 천만원 이하의 벌금에 처한다.               <개정   2012. 2. 17. , 2014. 5. 28.>
,    .... 뺀


     뺀I   . . ,0            2. 제 44조의 7 제 1 항 제 1 호를 위반하여 음란한 부호 · 문언 · 음향 · 화상 또는 영
"'   ......
"'                          상을 배포 · 판매 · 임대하거나 공공연하게 전시한 자
((




                   、        제 44 조의 7( 불법정보의        유통금지 등)    ®   누구든지    정보통신망을 통하여              다음 각
                        I
                            호의 어느 하나에 해당하는 정보를 유통하여서는 아니 된다 .
.,                 .,
     ’
                            1. 음란한 부호 · 문언 · 음향 · 화상 또는 영상을 배포 · 판매 · 임대하거나 공공
                            연하게 전시하는 내용의 정보



                                                                                                          't<::)"

                                                      律a,vul~겅;
           서울 서초구 서초중앙로                 148                                             TEL : (02) 3482-0500
           희성빌딩 12,13층                                                                  FAX : (02) 3482- 0506
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                               [형법]



                               제 307 조(명 예훼손)

                               ®   공연히        사실을   적시하여    사람의   명예를 훼손한 자는 2 년          이하의      징역이나

                               금고 또는 500 만원 이하의 벌금에 처한다.

                               @ 공연히 허위의 사실을 적시하여 사람의 명예를 훼손한 자는 5 년 이하의 징

                                역, 10 년 이하의 자격정지 또는 1 천만원 이하의 벌금에 처한다.



                               제 311 조(모욕) 공연히 사람을 모욕한 자는 1 년 이하의                  징역이나 금고 또는 200

                               만원 이하의 벌금에 처한다.



                                                           고소보충사유



                 I.            피고소인의 구제적 혐의 내용



                               1. 당사자 사이의 관계

.... . .     、



       ., .. 고소인                       은행은 개인금융 및 기업금융 등 종합 금융 서비스를 제공하는 금융회사이
’
  . .. .,. .,
,.,     -                 .. 고, 고소인 권광석은 2020. 3. 24경부터 원고 우리은행의 은행장으로 취임하여 원고
... ,., "
...
I'\
                               우리은행의 금융 서비스 제공 업무 등을 총괄하고 있습니다.
                          어l
 (C




                  ’
".., .., ..,.., 피고소인은 2021. 2.16 경 블라인드앱 우리은행 관련 페이지에 "우리가 믿고 따랐던
      .., ., ,.,
                      、        우두머리의          민낯이고    본모습입니다."라는       제목의     이   사건   게시물을       게재하고,
      ...,
                               2021. 2. 26.   각각 ‘‘질문 1"' u 질문 2", u 질문 3", u 이건 아닌것 같습니다”라는 4 건의 게

                               시물을 추가로 게재한 것으로 의심되는 사람입니다.



                                                                                                          t/1~·

                                                          律avul~3~
                 서울 서초구 서초중앙로                 148                                         TEL : (02) 3482-0500
                 희성빌딩 12,13층                                                              FAX : (02) 3482-0506
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                          2. 이 사건 게시물은 게시글과 사진 모두 완전한 허위입니다.



                          이 사건 게시물(게시자 ID 'i jlij!llij ') 에는 아래 표와 같은 허위 내용의 글과 함께                        고




                                                                                  등
                          소인의   얼굴과 일부 신체를 떼어다가 사진 편집프로그램                             인공지능 기술을 이용




                                                                              은
                                                                         Ol
                          하여 상단의     단추가 풀어헤쳐진 푸른색 와이셔츠를                          남자가 유홍주점으로 보




                                                                          口
                          이는 장소의 쇼파에 앉아 접대 여성으로 보이는 여성을 껴안고 여성의                                 왼쪽 볼에

                          키스를 하고 있는       사진에 합성하는 등의 방법으로 마치 고소인이 이 사건 사진의

                          인물인 것으로 보이게 만든 이 사건 사진이 포함되어                   있습니다.



                          먼저, ‘이 사건 게시글’ 은 아래 표 내용을 비롯하여 모두 거짓입니다.



                                                [이 사건 게시글 내용 증 발췌]



                           순번                                   내용

                            1    우리은행에 댓글팀이 있고 블라인드 대웅팀이 있다는데

                            2    뒤에서 어린 여자를 끼고 술판을 벌리고, 낯뜨거운 스킨쉽도 서슴지 않았
"
 ’
                ’
                      j          습니다.
 ...
., 이        ’
                뻬
                      ~     3    뒤에서는 딸벌도 안된 여자를 끌어안고, 와이셔츠를 풀어헤친채

’,.,                        4    수많은 직원들의 피와 땀이            한심한 분의, 한 여자의 하루밤 술값으로 쓰
.,
..,
                ..,   t          이고, 저런 인간들 목구멍으로 흘러 넘어갑니다




                      i
       "
 "                          5    당신이 1 년 동안 한 일을 차분히 돌이켜 보십시오. 업적이                           없습니다. 우
       ,,

 "
                                 리은행은 지금 7~8 위 은행이 되었습니다.
       어




                            가. 묘〔멘먼과 관련하여, 고소인            은행은 본점에 홍보실을 두고 있고, 홍보실은



                                                                                                           ~


                                                  律avul麟
                서울 서초구 서초중앙로        148                                                 TEL : (02) 3482- 0500
                희성빌딩 12,13층                                                             FAX : (02) 3482- 0506
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                             통상적인 언론대웅을 하고 있습니다. 피고소인이 이 사건 굴에 적시한 홍보

                             실 외에 별도 댓글팀이나 블라인드 대웅팀은 고소인 은행에 존재하지 않고

                             운영하지도 않습니다. 따라서 위 1 번 내용은 사실이 아닙니다.



                          나.12 ~ 4번 내용I과 관련하여, 고소인은 2020. 3. 24경 고소인 은행의 은행장으로
                             취임한 이래 지금까지 유흥업소를 드나든 사실 자체가 없고, 접대부 여성을

                             불러     유흥을 즐긴다는 것은 꿈에도 생각하지                   못할 일입니다. 더구나 사진

                             상상으로 보이는 옷, 벨트 등은 고소인이 가지고 있는 것이 아니고 사진 상

                             의 장소와 여성이 누구인지 아무것도 알지 못합니다 .



                             따라서          고소인이   고소인 은행 직원들의 수고로 얻은 수익을 유흥업소에서

                             접대부 여성과 유흥을 즐기면서 사용한 것처럼 주장하는 피고소인의 주장

                             은 모두 거짓이고, 이 사건 사진 또한 이른바 딥페이크물!로 보입니다.



                          다. 던〔민민과 관련하여 고소인 은행은 현재 대한민 국 5 대 시중은행 중 하나
                             로, 2020 년도에도 매출액 기준으로나 영업이익 또는 순이익 기준으로나 5 위

                             안에 드는 유수의 은행으로 자리매김하고 있습니다. 그럼에도 불구하고, 피
"' " " ’
                             고소인은 고소인의            이러한 업적을 깎아내리고 마치                고소인이       대표이사로
,,.
        .                    취임한 이후 고소인 은행이 7~8 위로 떨어진                     것   같은 표현을 하고 있는데,
"..,                           명백하게 거짓 사실입니다.
"
’
’
'"' "
                         으으로    0   )..   건 A 진은 성 又   수文 심 을   ° 발할   수   ° 도로   퍼   ° 크 dee    fake 숭
            :'\
       .., ..,           거나 고소인 권광A 과 유사해 보 O 는 A 진을 도용한 것으로 보 O 며                            사진 속의
,.,
            ~




                  1   딥페이크 (deepfake) 란 인공지능 기술을 활용 해 기존에 있던 인물의 욀료:이나, 특정한 부위 를 영화의 CG 처리처럼
                  합성한 영상편집물을 말합니다.




                                                  律a,Yul~겅5
                 서울 서초구 서초중앙로 148                                                     TEL : (02) 3482-0500
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                         인물은 절대로 고소인이 아닙니다.



                           가. 첫째, 고소인은 2020. 3. 24 경 우리은행의 은행장으로 취임한 이래 지금까지

                               유홍주점에 출입하여 접대부와 술을 마신 사실이 전혀 없습니다.



                           나.둘째, 이 사건 사진올 자세히             살펴보면, 사진의       남자는 귀볼이         없고, 귀의

                               생김새가 직선에 가까운 칼귀처럼 생겼지만, 고소인은 귀볼이 두툼하고, 귀




                                                                                                     있
                               의   생김새가 네모에 가까워         귀만 보아도 한 눈에 다른 사람임을 알 수

                               습니다.



                           댜셋째, 이 사건 사진의 남자는 구레나릇 아래쪽이 밋밋한 반면(이 부분은 합

                               성의   흐치亡
                                    `기__,_   보입니다)， 고소인은 구레나릇 아래쪽이             거무잡잡하므로 같은

                               사람으로 볼 수 없습니 다.



                         3. 피고소인은 이 사건 게시물을 게재하고 10 일 후인 2021. 2. 26. 불과 1~2분 사이
                           에




                               이 사건 사진을 사용한 게시물을 무려 4 건이나 연속으로 올리며 불순한 의

              ., ,.,       도를 드러냈습니다.
.., "'I "'I



 cc      '터

                         이 사건 게시물의 경우 게시되고 약 2시간 정도가 지난 후 신고를 받아 운영자로
 (Cr((

                         부터 게시물 숨김 처리가 되었는데, 그로부터 10 일 이 지 난 2021. 2. 26. 22:15 ~ 22:16

                         사이의 1 분 정도의 시간에 이 사건 사진을 사용한 게시물 무려 4 건이 추가로 게재
    rr




(                   .,   되었습니다.
              ,.,
    「




    "         "            가. 첫 번째 게시물(게시자 ID '반대올시다')은 "질문 l" 이라는 제목 하에 "술을

                               드신 시점이 코로나가 한창인 8월이 맞습니까?" 라는 내용이 기재되어 있습




              서울 서 초구 서초중앙로
              희성빌딩 12,13층
                                    148
                                                律a,vul~3~                         TEL : (02) 3482-0500
                                                                                  FAX : (02) 3482-0506
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                                 니다.



                               나. 두 번째 게시물(게시자 ID '반대올시다')은 "질문 2" 라는 제목 하에 "저                       여

                                 성은 누굽니까?" 라는 내용이 기재되어 있습니다.



                               댜 세   번째   게시물어~ ID ‘반대올시다')은 "질문 3" 이라는 제목 하에 "저

                                 술값은 사빈니까27 은행경빕니까?" 라는 내 용이 기재되어 있습니다 .



                               라. 네 번째 게시물(게시자 ID '마지막 질문')은 ”이건 아닌 것 같습니다” 라는

                                 제목 하에 “사진 각도가 정면이면 측근인 데 .... 측근도 배신하 는 리더가 과

                                 연 리던인지 .... " 라는 내 용이 기재되어 있습니다.
                          위




                               게시물의    내용을 종합하여     보면, 피고소인은 마치          고소인 권광석이 COVID-19

                          방역 상황에서 은행 경 비 로 술을 마시고 측근에 의해 그 모습을 사진 찍히는 등의

                          배신을 당한 사람인 것처럼           표현함으로써      고소인     권광석의     리더십과 직무수행의

                          정당성을 부정하고 나아가 고소인 권광석이 은행장의 자리에서 물러날 것을 간접

                          적으로 종용하고 있습니다 .
,..,       . ’,"'I


... .....
,                         우리은행은 1998 년      한일은행과 상업은행이         합병해 한빛은행으로 통합 출범하였는
...,
     .     뻔   ""    ~


                          데 , 내부에선 여전히 출신에 따라 상업은행과 한일은행 계파를 형성하고 있고,합
’..., . ...,
                          벼o




, .., ".                       이후 은행장을 선출하는 과정에서도 상업은행과 한일은행 출신들이                          번갈아 맡
       ~




 ,                   .,   아왔습니다. 특히 은행장 선거를 앞 둔 시점에서는 상대진영의 음해하려는 시도 때

       rr                 문에    상업은행과 한일은행 출신 간 힘겨루기              프레임으로 기사가 나온 적도 여러
r

                          번 있었습니다(참고자료 1. 한국경제 2017.11. 2. 자 기사).



           2         "사비입니까?"의 오타로 보입니다 .




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                    일반적인 회사도 마찬가지지만, 은행이나 은행장을 음해하려는 사람 등 내부 불만

                    세력은 향상 있기 마련입니다. 고소인 은행의 경우 두 은행이 합병하여 만들어 지

                    다 보니, 다른 은행보다 그러한 일이 더             많은 것으로 보입니다. 특히 고소인 은행

                    의 은행장인 고소인 권광석은 1 년의            임기가 곧 만료되어, 자회사대표이사추진위원

                    회(자추위, 2021. 3. 4.), 임원추천위원회(임추위)， 주주총회 (2021. 3. 25. 예정) 등의 일

                    정이 3 월에 예정되어      있는 상황이었습니다. 이와 같이 중요한 일정을 앞 둔 시기에

                    피고소인은 이 사건 게시물과 제 2 게시물을 2월 중순과 하순에                     연달아 게재하였습

                    니댜 이러한 점에       비추어 보건대, 피고소인의           일련의    행위들은 고소인 은행 또는

                    고소인 권광석을 음해하고, 고소인 권광석이 고소인 은행의 장으로 연임되지 못하

                    게 하려는 시도인 것으로 강하게 의심됩니다 .



                    실제로, 피고소인은 이 사건 게시글에 ’삽形7&/_—여0H와― 술에 취해있는 이 —분을 그당

                    垣교만밌려야합디쩡" 라고 기재하여 고소인의 행위를 묵과해서는 안되며 특단의

                    조치를 요구, 관철시켜야 함을 강조, 선동하고 있고, 결국 피고소인의                         행위는 고소

                    인 권광석을 고소인 은행의 은행장의              지위에 A    끌어   내   려는 생각으로 이루어진

               , 의도적 범행이라는 접을 강하게 의심할 수 있습니다.
...,         ’
             ’.
                    또한 "질문 3" 게시물의 댓글 중에는 "l헐그누_나ZLI究 라는 댓글이 있는데 이는 핀프:
"'
                    소인이거나 적어도 그에 동조하는 직원이 피고소인의 위와 같은 의도를 실현                                지又
"'
                    하기 위해 기재한 댓글로 추정됩니다.

       ’
        『




                    4. 허위영상물 합성 둥 또는 반포 등
        r




               "I
       ..,

                    반포 등을 할 목적으로 사람의           얼굴 · 신체 또는 음성을 대상으로 한 영상물을 영



                                                                                               ~~


                                           律avul~겅5
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             희성빌딩 12,13층                                                     FAX : (02) 3482-0506
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               상물의 대상자의 의사에 반하여 성적 욕망 또는 수치심을 유발할 수 있는 형태로

               편집 · 합성 또는 가공하거나, 이러한 편집물·합성물·가공물 또는 복제물을 반포·공

               공연하게 전시하여서는 아니됩니다.



               앞서   살펴보았듯이, 이 사건 사진은 성적              수치심을 유발할 수 있도록 딥페이크

               (deepfake) 하였거나 고소인 권광석과 유사해 보이는 사진을 도용한 것으로 절대로

               고소인 권광석이 아닙니다.



               그럼에도 불구하고, 피고소인은 블라인드 앱에 반포하거나 공공연하게 전시를 할

               목적으로 고소인 권광석의 얼굴 · 신체 사진을 고소인 권광석의 의사에 반하여 유

               흥주점으로 보이는 장소의 쇼파에 앉아 접대 여성으로 보이는 여성을 껴안고 여성

               의 왼쪽 볼에 키스를 하고 있는 사진에 합성하거나 그와 유사한 사진을 이용하는

               방법으로 성적 욕망 또는 수치심을 유발할 수 있는 형태로 만들었습니다.



               뿐만 아니라, 위와 같이 합성한 사진을 2021. 2. 16. 및 2021. 2. 26. 2차례에 걸쳐 블

               라인드 앱에 게시하는 방법으로 반포 또는 공공연하게 전시하였습니다.

          ’’
"'
               5. 명예훼손 및 모욕



               이 사건 게시글 중 특히 위 표 [이 사건 게시글 내용 중 발췌]의 5 가지는 모두 허
『 c




      ’        위일 뿐만 아니라, 이 사건 사진도 합성한 것으로 허위입니다. 이 사건 게시물과

               추가로 게시한 이 사건 제 2 게시물을 종합적으로 살펴보면, 마치 고소인 권광석이

               고소인 은행의 은행장으로 재직하면서 은행의 경비로 COVID-19 가 한창인 시기에

               유홍주점에서 접대 여성과 스킨쉽을 하면서 술을 마신 것처럼 묘사하고 있습니다.




          서울 서초구 서초중앙로
          희성빌딩 12,1~충
                         148
                                      律a,Yul~겅;                         TEL : (02) 3482-0500
                                                                        FAX : (02) 3482-0506
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          피고소인은 거짓된 이 사건 게시물 및 이 사건 제 2 게시물을 블라인드 앱에                                게시함

          으로써 고소인 권광석을 비방하고, 이러한 게시물을 확인하는 블라인드 앱에                                     가입

          한 고소인 은행의       임직원 및 그들로부터          전파받을 수 있는 사람들로 하여금 고소

          인 권광석은 고소인 은행의            대표로 부적합하여         물러나야 한다거나 다시는 고소인

          은행의       장으로 취임하여서는 안된다는 암시를 주어               고소인 권광석의             리더쉽과 직

          무수행의 정당성을 부정하는 방법으로 고소인 권광석의 명예를 훼손하고 모욕하였

          을 뿐만 아니라, 이러한 고소인 권광석이 고소인 은행의 은행장으로서 업무를 제대

          로 수행하고 있지 않다는 인상을 주어 결국 고소인 은행의 명예도 훼손하였습니다.



          특히    이 사건 게시글과 같이         거짓된 사실로 고소인 은행의 지위를 폄하하는 방법

          으로도 고소인 은행의 명예를 훼손하였습니다.



          7 장   °   스己 운 것은   T   고소인 O   거지 게 A 물을   2021. 2. 16 . 어 1-   2021. 2. 26. 2 -

          게시하여 같은 유형의         범행이    계소 이루     지고 Ol 고    앞으로도 같은             행이 반보적

          으로 일어날 가능성이 매우 높아 고소인 권광 A 과 고소인 은행의 명예가 계속하여

          바닥없이 실추할 수 있다는 점입니다 .


...
          6. 촬영물 이용 협박·강요
      빽




          피고소인은 이 사건 게시물 및 이 사건 제 2게시물을 어느 정도 기간을 두고 반복
                                                                                             습
                                                                                        o사




          적으로 게시함으로써          앞으로도 계속하여        이러한 범행을 할 것처럼               협박하고
                                                                                         l




          니다.


,.,
          이와 같은 협박으로 고소인 권광석의 리더십과 직무수행의 정당성을 부정하고, 나

          아가 고소인 권광석을 고소인 은행의 은행장의 자리에서 물러나게 하거나, 다시 은




                                   律a,Yul麟
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      희성빌딩 12,13층                                                      FAX : (02) 3482-0506
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                 행장의 자리에 취임할 수 없도록 하려는 의도인 것으로 보입니다.



                 실제로     "질문 3"   게시물의 댓글 중에는         "헐… 나가라"       라는 댓글이        있는데 이

                 는 피고소인이거나 적어도 그에 동조하는 직원이                   피고소인의      의도를 명확하게 보

                 여주기 위한 댓글로, 피고소인이 위 게시물을 반복적으로 블라인드 앱에 게시함으

                 로써   의무없이 고소인 권광석이 고소인 은행의 은행장 지위에서 사임하라고 종용

                 하는 것이거나 고소인 권광석이 고소인 은행의 은행장으로서의 직무권한을 제대로

                 수행하지 못하도록 방해하는 것입니다.



       II. 요청사항



                   (D '사이버 성폭력'에 대한 철저한 수사 요청

                         0 피고소인들은 익명성을 기반으로 한 블라인드 앱을 이용하여 자신들의

                          신원을 숨긴 채 고소인 권광석을 비방하고, 협박 내지                      강요의       수단으

                          로 블라인드 앱에서        이 사건 게시물 등을 게시하고 있으며, 이러한 행

                          위는 사이버 성폭력에 해당되는, 나쁜 죄질의 범행입니다.
             터




                         0 단순 명예훼손이 아니라 사이버 성폭력으로 인한 인격말살의 본건 범
"' .. 콘



  ,.   .                  행은 마땅히     엄하게 처벌되어야 하고, 경찰에서도 지난 2021. 3. 2. '경

                          찰, 10 월까지 사이버성폭력 불법유통 집중단속 한다’ 제하의 보도자료

                          를 통해 사이버성폭력에 대한 단속, 처벌 계획을 밝힌 것으로 알고 있

                          습니다.

                         0 일상예 침투하여 말할 수 없는 고통을 초래하는 사이버성폭력 범죄 척

                          결을 위하여     불법   합성물 등을 제작 및          반포한 이 사건을 철저히                 수

                          사하여 주시길 요청 드립니다.




                                                                                             r9
           서울 서초구 서초중앙로
           희성빌딩 12,13층
                            148
                                        律avul麟                            TEL : (02) 3482- 0500
                                                                          FAX : (02) 3482- 0506
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                      @ 성명불상자들의 공모 관계 수사 요청

                          0 이 사건 게시물 및 이 사건 제 2 게시물에 비추어 보면, 이와 같은 거짓

                            게시물이           반복적으로      재생산되고    있음을   알 수   있고, 그 게시물들에

                            대한 댓글을 통해, 게시자 자신들이 의도하는 메시지를 블라인드 앱을

                            사용하는 고소인 은행의                임직원과 그들로부터     전파될 수 있는 사람들

                            (결국에는 고소인 은행의                전   임직원이라고 할 수 있습니다)에게              전달

                            하고 있습니다.

                          0 이러한 점으로 살피건대, 이 사건은 단순한 명예훼손 사건이                              아니라

                            은행장의           연임을 저지하고 자리에서         물러나도록 하고자 하는 ‘성명불

                            상자들' 세력이 공모하여 다양한 방법으로 범행을 저지른 것으로 강하

                            게 추정됩니다.



                      ®   압수수색의 필요성에 관한 검토 요망

                          O 블라인드 앱은 특허받은 ‘단체인증' 및 인증 후 가입절차 상 정보를

                            삭제하는 방식으로 진행되고 있습니다. 이러한 방식으로 인해                              블라인
                 빽


el "' 빽                     一
                            亡   o1=lll 亡
                                       o   일반적으로 가입자 정보가 없다고 대응하는 것으로                    알고     있
                 ~

        .. 뺄 촐
                            습니다.
        뺀b



        "' "'    뺑        O 블라인드 앱의          가입       인증 및   정보 보관과 관련하여    확인된 바를 상세
f、



                            하게      말씀드리면,        ®   사용자가 입력한 이메일과 회사명을 기초로, 해

                            당 사용자가 실제 해당 회사 근무자인지를 확인하는 "단체인증"을 수
             ’
’
                            행하고, (2) "단체인중"을 완료한 후에는 사용자가 가입절차상에서                               사
’ ,.,                       용자가 닉네임과 비밀번호를 입력하게 됩니다·                   ®   사용자가 입력한 비

                            밀번호를           이용하여   사용자의       이메일 주소가 암호화되어         서버에       전달



                                                                                             s갑9


                                              律a,Yul~需
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                             되고, @ 서버는 대웅하는 세션키(랜덤 숫자)를 발행하고, 사용자의                                             암

                             호화된         이메일 주소와 매칭하여                     저장합니다. 발행된 세션키는 단말에

                             도     전달됩니다. (5) 세션키                   발행까지        마치면    인증절차가 모두           완료된

                             것이고, 인증절차 완료되면 가입절차상에서 저장해 둔 정보는 모두 삭

                             제됩니다.

                           0 그러나 (a) 이메일과의 링크는 없더라도, 園령희~A}J용자로겨괴 —특경

                             짜제든7f닭합니다.               (b)          "회원용 테이블"에 "회원번호"라는 필드가 있

                             어     이   정보를 바탕으로 회원이 특정                          가능합니다. (c) 특정된 회원이             어

                             떤 게시판에 A           활동하여는지               여부     어떤       게시글을 올己 는지       여부 등은

                             게시글/댓글 관리용                테이블을 통해                  확인   가능합니다. (d) 게시글/댓글

                             관리용         테이블에는        게시글/댓글의               식별번호와 굵 께        해당      게시글/댓글

                             을 작성한 회원의                회원번호가 포함되어                     있습니다. (e) 특정된        회원이

                             언저        7 Ol 5 여는 .A         l::l     떤   IP 로   저소승 여는又       터는     명화숭 又 는


                             않은데         해당 정보를 入 버쪽에서                    별도로 又 장/관리하고 있는 경우예는

                             확인 가능할 것으로 생각됩니다.

                           0 이처럼 블라인드 앱이라고 하더라도 ‘익명화 된 사용자’로서의 특정은
                 뺀


.... "'      빽               각하고, 특정의 게시물을 올린 사용자가 언제 가입하여 어떤 게시판
    -,   .... 尋
                 •
’                            어入        활동굼     는지     어떤 IP로 치소굼                  는又   등은   게 A 글/    글 관      용
             ....
    . . ".                   테이블을 통해 확인 가능할 것으로 보입니다.
’                          0 이와 같은 사정을 고려하시어, 팀블라인드 서울사무소의 PC 에서 관리

                             자 계정으로 접근할 수                          있는 블라인드        앱의 서버에      대한 압수수색을

                             통하여         게시물 및 게시물 게시자의                         정보를 확인할 수 있는 자료 등을
                 "'          확보하는 방안을 적극 검토하여 주시기를 부탁드립니다.
         "



                                                                                                              m접


                                                  律a,Yul麟
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                       @ 피고소인 인적사항 확보를 위한 사법공조 요청

                          O 블라인드앱을 운영하는 팀블라인드는 미국에 본사에 있고, 서울에 팀

                             블라인드 서울사무소가 있습니다. 팀블라인드의                    개인정보 저장소는 미

                             국에      있는 것으로 추정되고, 팀블라인 서울사무소의 PC 에서는 관리자

                             계정으로 위 서버에 접속할 수 있는 것으로 추정됩니다.

                          0 기술적인 문제 등으로 팀블라인드 서울사무소에 대한 압수수색을 통한

                             게시자      인적사항 특정      등 관련자료      확보가 어려울 경우를             대비하여,

                             국제형사사법공조법          제 5조   및   한미형사사법공조조약           제 1 조,    제 14조,

                             제 15 조 등에   의거하여      선제적으로 미       사법당국에      사법공조요청을 할

                             필요가 있다고 보입니다.

                          O 또한, 다행히 서울사무소에 대한 압수수색을 통해 관련자료가 일정 부

                             분 확보된다고 하더라도, 디지털 증거의                  정확성과 신뢰도 확보 또는

                             보강 차원에서도 위와 같은 사법공조요청은 여전히                       필요성은        인정될

                             것입니다

                          O 참고로, 피고소인의 본건 행위는 고소인 권광석에게 상당한 정신적 고통

                             (substantial emotional distress)를 가한 행위로서 미국 연방법 제 18조 2261A
                 ~


. "' .                       (18. U.S. Code § 2261A) 의 stalking 규정 을 위 반한 범 죄 행 위 에 해 당될 수
. -- "' "'                   있는 것으로 알고 있습니다.
!!I
      ..... " "'
                 "'       O 따라서 게시물 작성자에 대한 인적사항 특정과 관련 자료의 조속한 확
"'
            尋 鴨
                             보를 위하여      미   사법당국에      대한 형사사법공조요청도 적극적으로 검

                             토해 주시기를 간곡히 부탁드립니다.


          "" .
.     .


          II1. 결론
                 "'




                                                                                               1!'?>

                                             律avul~겅5
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                 이 사건 범행은 성적수치심을 일으키는 조작된 사진을 수많은 임직원들이 공유하

                 는 사이버공간에 비난 굴과 함께 게시한 것으로서, 고소인 및 고소인 은행의 명예

                 를 단순히 훼손하는 것에 그치지 않고 고소인의 직위를 위협하고 고소인 은행 전

                 체 조직의 기강을 흔드는 중차대한 범죄행위입니다.



                 이와 같은 범죄자를 끝까지 추적하여 엄벌하지 못한다면 수많은 기업에서, 나아가

                 정부조직에서도 유사한 범죄가 재발하지 않으리라는 보장이 없을 것입니다.



                 대한민국 경찰에서 가능한 법적 수단과 수사기법을 동원하시어 이 건 범행을 중히

                 단죄함으로써 일벌백계의 예를 보여 주시고, 향후 유사범죄로 공조직, 사조직의 기

                 강이 흔들리고 소모적 혼란이 초래되는 상황을 막아 주실 것을 간곡히 부탁드립니

                 댜




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     빽


         "' "'
!II "' "I • •




                                                                                          ;융

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       희성빌딩 12,13층
                           148
                                        律a,Yul麟                           TEL : (02) 3482-0500
                                                                          FAX : (02) 3482- 0506
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                                                              증거자료




                  1.             증 제 3 호 증 의 1 내지 4             이 사건 제 2 게시물




                                                              참고자료




                      1.         참고자료 1.                        한국경 제 2017. 11. 2. 자 기 사




                             •
                 ”
                       霜·
          嶋




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                       총鴨
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    霞鴨鴨




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                      서울 서초구 서초중앙로
                      희성빌딩 12,13층
                                            148
                                                         律avul麟                            TEL : (02) 3482- 0500
                                                                                           FAX : (02 ) 3482- 0506
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                                                                           2021.   3.   .



                                                                   위 고소인들의 대리인



                                                                      법무법인 율우




                                                                                            €
                                                                                               플을
                                                                                                젤
                                                                                                      \
                                                                               한
                                                                                   광
                                                                                        수
                                                                                                      .



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                                                                              최지현
  •••••••
 •••
".
        ···嶋
               ｀·틀




    `
    ``•·`•
               빽를촐.
        鳴뺀총.




•
                      남대문경찰서         귀중




         서울 서초구 서초중앙로
          희성빌딩 12,13층
                               148
                                            律a,Yul麟                           TEL : (02) 3482一0500
                                                                              FAX : (02) 3482- 0506
Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 112 of 173




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         질문1

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          O      댓 글을 남겨 주 세요,
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          O     댓 글을 남겨 주 세요
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           이건아닌것같습니다
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           사진 각도가 정면이면 측근인데 ....
           측근도 배신하는 리더가 과연 리던인지 ....




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          O       댓 글을 남겨주세요,
      Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 116 of 173
한경닷컴 1 프린트                                                          Page I of3



   만국경제                                                    프린트      닫7 1




   고질병 드러난 우리은행…해묵온 옛 상업-한일은행
   계파갈등
   입력   2017-1 1-0218:00 수정 2017-1 1-0314:00




   이광구 우리은행장이 사임을 밝히자 우리은행 임직원들도 크게 술렁이고 있다. 이 행장이 물러 나
   게 된 데는 옛 한일은행 출신과 상업은행 출신 간 해묵은 반목이 자리잡고 있다는 분석이 우리은
   행 내에서 퍼지면서 죄악의 분열로 지닫는 것 아니냐는 우려까지 나오고 있다. 또 자기 행장 선임
   욜 앞두고 벌써부터 상업은행과 한일은행 출신 간 힘겨루기가 시작됐다는 분석도 대두되고 있다.




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한경닷컴|프린트                                                                     Page 2 of3


                    우리온맹주요임원
                   | 이름            작책                             춤신    |
                    01 광구          은행장                           상업은댕
                           ’
                    남71 명          국내부문장(직위해제)                   상업은행
                    손태승            굴로벌부문장                        인일은행
                       .
                    정원재            영업지원부문장                       한일은텝
                               ’        ....... -   -- -   ,._
                                                                 ---
                    김홍희            부동산금융그룹집행부행장                  상업은행
                    최정훈            리스크관리그룹집행부행장                  한일은행
                    조재현            디지덤금융그룹집행부행장                  상업은행
                    김선규            여신지원그룹집행부행장                   한일은텝
                    신현석            경영 71 획그룹집행부행장                상업은행
                    장안호            기업그룹집행부행장                     한일은행
                    조운행            71 관그몹집행부행장                   상업은행
                    권광석            18 그몹집행부행장                    삼업은행
                    박성일            준법감시인(집행부행장급)                 한일은행


   익명을 요구한 우리은행 관계자는 2 일 II심상정 정의당 의원이 공개한 '2016 년 우리은행 신입사원
  공재 주전현황' 문건에서 특혜 재용된 16 명을 주전한 우리은행 임직원이 전원 상업은행 즐신인
   것으로 알고 있다'고 말했다 이 관계자는 "공재 때 만 다가오면 임원 들 에게 수많은 정탁이 들 어 온
   다"며 "현재 우리은행 임원진은 상업은행과 한일은행 출 신이 비슷한 비율로 포진해 있는데 상업
  은행 출신들만 명단에 들 어 있는 게 이상하다”고 의문을 제기했다,


  우리은행은 1998 년 한일은행과 상업은행이 합병해 한빛은행으로 통합 출범했 다, 내부에선 여전
   히 출신에 따라 상업은행과 한일은행 계파를 형성하고 있다 우리은행은 이 후 은행장을 선출하는
  과정에서도 상업은행과 한일은행 출신 들 이 번갈아 맡아왔지만 상업은행 출신인 이 순우 전 행장
   에 이어 이광구 행장이 연달아 수장 자리 를 꿰자자 한일은행 출신 들 사이에선 불만 이 컸던 것으
  로 전해졌다. 사임을 발표한 이 행장은 상업은행 출신이다, 우 리은행 관계자는 "정권 교제 이 후
  금융계 수장이 바뀌면서 한일은행 출신들이 행내 주도권을 찾기 위해 재용비리 관련 문건을 작
   성했다는 소문이 돌고 있다"고 전했다, 현재 우리은행 임원으로는 행장 밑 에 3 명의 부문장과 9 명
   의 집행부행장 및 준법감시 인이 있다 이 행장을 제외한 임원 중 상업은행 출신과 한일은행 출신
   은각각 6 명이다,


  금융계는 우리은행에서 계파 간 갈등 이 사라지려면 앞으로도 상당한 시간이 흘 러야 할 것으로
  보고 있다. 우리은행 임직원 중                2r:JJ/4   정도는 상업은행, 한일은행 출신 이기 때 문 이다. 대 부분 부장
  급 이상으로 조1 소 5 년은 더 지나야 계파 갈등의 고리가 끊기지 않겠느 LH:곤 게 우리은행 직원들
   얘 7 1 다.


   안상미 가 자     saramin@han~JJng.com


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      Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 118 of 173
한경닷컴 1 프린트                                                          Page 3 of3




                                         프린트        닫기




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                 Exhibit L
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                                                                                      [Translation]


                           Supplemental Opinion to the Complaint

Plaintiffs

    1. Woori Bank
       51 Sogong-ro, Jung-gu, Seoul, Republic of Korea
       Representative Director Kwang-seok Kwon

    2. Kwang-seok Kwon
       51 Sogong-ro, Jung-gu, Seoul, Republic of Korea

         Counsel for Plaintiff: Yulwoo
         Attorneys-at-law Ho-Jin Kim (010-9571-8007), Gwang Soo Han, Ji Hyun Choi
         12th and 13th Floor, Heesung Building, 148 Seochojungang-ro, Seocho-gu, Seoul
         Tel: 02-3482-0500, Fax: 02-3482-0506

Defendant

         Unidentified individual
         (There are three user IDs: “ijlij!llij”, “I disagree”, “Last question”. Each user ID may
         belong to a different individual, which means that there could be three Defendants.
         However, it is difficult to confirm at this stage and since they are all unidentified, they
         will collectively be referred to as “Defendant.”)

Crimes

         Violation of the Act on Special Cases Concerning the Punishment, etc. of Sexual
         Crimes (distribution of false media content, threat to use filmed content), Violation of
         the Act on Promotion of Information and Telecommunications Network Utilization
         and Information Protection, etc. (distribution of obscene media content), Violation of
         the Act on Promotion of Information and Telecommunications Network Utilization
         and Information Protection, etc. (defamation through false facts), Defamation and
         Insult


                             Supplementary Points to the Complaint

Plaintiffs have filed a complaint against Defendant by referring to violations (distribution of
false media content) of the Special Act on the Punishment of Sexual Crimes (“Act on the
Punishment of Sexual Crimes”) and violations (distribution of obscene content, defamation
through false information) of the Act on Promotion of Information and Communications
Network Utilization and Information Protection, etc. (“Act on Information and
Communications Network”). This supplementary opinion seeks to explain that there could
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                                                                                   [Translation]


be additional violation of the Act on the Punishment of Sexual Crimes (intimidation or threat
using filmed content) and advocates for a severe punishment against Defendant.

In particular, Defendant has continuously and repeatedly performed the above criminal actions.
Defendant’s actions do not simply defame Plaintiffs Kwang-seok Kwon and Woori Bank
(“Woori Bank”), but also denies the legitimacy of Plaintiff Kwon’s job performance, and
further brings instability to the organizational structure of Woori Bank. We would like to
emphasize the seriousness and significant impact of Defendant’s actions.

Below, we explain in detail our complaint and supplementary opinion.


                                        The Complaint

    I.      Facts of the Complaint (including additional information)

On February 16, 2021, Defendant, at an unknown location and for the purpose of distribution,
etc., manipulated the photo of Plaintiff Kwon’s face and body with that of another man wearing
a partially unbuttoned shirt, who is hugging and kissing the left cheek of a woman with his
eyes closed. Defendant uploaded this photo along with the post entitled “This is the true
identity of the boss that we have trusted and followed” on the Woori Bank page of Blind,
allowing a large number of unspecified individuals to view and read the post (Plaintiff’s Exhibit
No. 2, the “Post”, the text of the post as the “Post Text”, and the photo as the “Photo”).

In addition, Defendant, on February 26, 2021, uploaded posts entitled “Question 1”,
“Question 2”, “Question 3”, and “This is not right” along with the same photo (Exhibit No.
3-1 through 4, as the “Second Post”, the text of the posts as the “Second Post Texts”, and the
photo as the “Photo”], allowing the photograph to be accessed and viewed by a large number
of unspecified individuals.

The Defendant manipulated distributed photos of Plaintiff Kwon’s face and body in a form that
could induce sexual desire or humiliation against Plaintiff Kwon’s will and committed a sexual
crime that defames Plaintiff Kwon. By posting a manipulated photo with false information on
Blind (an information and communication network), Defendant insulted and defamed Plaintiffs
to a large number of unspecified individuals.

Furthermore, Defendant took on different roles (sequentially or rotationally), to question the
legitimacy of Plaintiff Kwon’s job performance and his qualification to be a leader by
repeatedly posting the photo that induces humiliation. Defendant also indirectly demanded
Plaintiff Kwon to resign and threatened to continuously post the photo if there was no response,
thereby interfering with the rights of Plaintiff Kwon and forcing him take an unnecessary action.

                         [Excerpt from Exhibit No. 2, the Post Text]
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                                                                                     [Translation]



  No.                                    Descriptions in the Post
            Woori Bank allegedly has an online comments monitoring team and a Blind
    1
            monitoring team.
            Behind our back, he did not hesitate to enjoy a drinking party while being shamefully
    2
            physically affectionate with a young woman.
            He was wearing an unbuttoned shirt while hugging a woman who looks to be even
    3
            younger than his daughter.
            Thousands of employees’ blood and sweat go to a waste for a pathetic man’s nightly
    4
            drinks with a hostess, (blood and sweats) flowing down the throats of such humans.
            Take a closer look at what you have done in one year. There are no achievements.
    5
            Woori Bank is now ranked 7th or 8th.

  II.     Applicable laws

The Special Act on the Punishment of Sexual Crimes

Article 14-2 (Dissemination of false media, etc.)

    (1) A person who edits, synthesizes, or processes (hereinafter referred to as “edit, etc.”
        in this Article) photographs/videos or audio materials (hereinafter referred to as
        “media, etc.” in this Article) targeting a person’s face, body, or voice in a form that
        creates sexual desire or shame against another person’s will shall be subject to
        imprisonment of up to five years or a fine of up to KRW 50 million.
    (2) A person who distributes, etc. an edited/synthesized/processed product (hereinafter
        referred to as “edited products, etc.” in this paragraph) or makes copies of such
        products (including copies of copies; hereinafter in this paragraph, the same shall
        apply), or distributes edited products of paragraph (1) against the will of the subject,
        even if the creation of such products was not against the will of the subject, shall be
        subject to imprisonment of up to five years or a fine of up to KRW 50 million.

Article 14-3 (Intimidation or threat using filmed content)

    (1) Any person who intimidates another person using filmed content or copies of filmed
        content (including copies of copies) that may create sexual desire or shame shall be
        subject to imprisonment for at least one year.
    (2) Any person who obstructs another person’s rights through intimidation as described
        in paragraph (1) shall be subject to imprisonment for at least three years.
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                                                                                   [Translation]


Act on Promotion of Information and Telecommunications Network Utilization and
Information Protection, etc.

Article 70 (Penalties)
(2) Any person who defames another person by publicly revealing false facts through the
information and communications network for the purpose of slandering a person shall be
punished by imprisonment of up to seven years, suspension of qualifications of up to 10
years, or a fine of up to KRW 50 million.

Article 74 (Penalties) (1) Any person falling under any of the following shall be punished
by imprisonment of up to one year or a fine of up to KRW 10 million: <Amendment
February 17, 2012, May 28, 2014>
2. A person who distributes, sells, rents or displays obscene signs/words/sounds/images or
videos in violation of Article 44-7, Paragraph 1, Section 1

Article 44-7 (Prohibition of the distribution of illegal information, etc.) (1) No person shall
distribute information falling under any of the following through the information and
communication network:
     1. Information regarding distribution, sale, lease, or public display of obscene signs,
        words, sounds, images, or videos


Criminal Code

Article 307 (Defamation)
    (1) A person who damages the reputation of a person by publicly releasing information
        shall be subject to imprisonment of up to two years, or a fine of up to KRW 5
        million.
    (2) A person who damages the reputation of a person by publicly releasing false
        information shall be subject to imprisonment of up to five years, suspension of
        qualifications of up to 10 years, or a fine of up to KRW10 million.

Article 311 (Insult) A person who publicly insults a person shall be subject to imprisonment
of up to two years, or a fine of up to KRW 2 million.



                            Supplemental Causes for Complaint

  I.      Detailed Allegations

  1. Relationship between the parties
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                                                                                      [Translation]


Woori Bank is a financial company providing a full range of financial services including
personal financing and corporate financing. Plaintiff Kwon has assumed the office of the
Representative Director of the Bank since March 24, 2020 and has been managing the
financial services, etc. of Woori Bank.

Defendant, around February 16, 2021, posted the following on the Woori Bank page in Blind:
“This is the true identity of the boss that we have trusted and followed.” On February 26,
2021, Defendant is suspected of uploading four more posts entitled “Question 1”, “Question
2”, “Question 3”, and “This is not right”.

    2. The Post Text and the Photos are all false

The Post (posted by user ID “ijlij!llij”) included false information as listed in the table below
as well as a manipulated photo of the face and body parts of Plaintiff Kwon with a photo of a
man wearing a blue shirt sitting on the sofa with his top buttons unbuttoned in a place that
appears to be a hostess bar, while hugging a woman who appears to be a hostess and kissing
her left cheek by using artificial intelligence technology such as an editing software, etc. to
make the Plaintiff Kwon appear to be the person in the photo.

First of all, the Post Text, including those set forth below, are completely false.

                                 [Excerpt from the Post Text]

     No.                                   Descriptions in the Post
                Woori Bank allegedly has an online comments monitoring team and a Blind
       1
                monitoring team.
                Behind our back, he did not hesitate to enjoy a drinking party while being
       2
                shamefully physically affectionate with a young woman.
                He was wearing an unbuttoned shirt while hugging a woman who looks to be even
       3
                younger than his daughter.
                Thousands of employees’ blood and sweat go to a waste for a pathetic man’s
       4        nightly drinks with a hostess, (blood and sweats) flowing down the throats of such
                humans.
                Take a closer look at what you have done in one year. There are no achievements.
       5
                Woori Bank is now ranked 7th or 8th.


    A. With regard to Item No.1, Woori Bank has a public relations team at its head office,
       and this team is responsible for the ordinary management and response to the media.
       However, Woori Bank has neither an online comments monitoring team nor a Blind
       monitoring team as claimed in the Post. As such, Item No. 1 is not true.

    B. With regard to Items No. 2 – 4, ever since Plaintiff Kwon took office as the
       Representative Director of Woori Bank on March 24, 2020, he has never visited a
       hostess bar and never even dreamt of entertaining with a hostess. Further, he does not
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                                                                                                 [Translation]


          know the location of the place or the identity of a woman in the photo, and he does not
          own the clothes and belt in the photo.

          Hence, Defendant’s argument that Plaintiff Kwon used the profits obtained through
          the efforts of Woori Bank’s employees for entertainment with a hostess in a hostess
          bar is false, and the photo here is a deepfake. 1


    C. With regard to Item No. 5, Woori Bank is currently one of the top five commercial
       banks in Korea and was also one of the top five banks in 2020 in terms of sales,
       operating profit, and net profit. Nonetheless, Defendant undermined Plaintiff Kwon’s
       achievements and portrayed as if Woori Bank’s rank plummeted to 7th or 8th place
       ever since Plaintiff Kwon took office as the Representative Director. This is clearly
       false.

Next, the photo in this case appears to be a “deepfake” to induce sexual humiliation, and
the man in the photo is not Plaintiff Kwon.

    A. First, Plaintiff Kwon has never visited a hostess bar nor had drinks with a hostess since
       he was appointed as the Representative Director of Woori Bank on March 24, 2020.

    B. Second, if you look at the photograph carefully, the man in the photograph does not
       have much of an earlobe, and the shape of his ear is very slender. However, Plaintiff
       Kwon has thicker, square shaped ears. Thus, you can instantly tell that the two
       individuals are different men.

    C. Third, the man in the photograph has dull sideburns (you can see the edited marks in
       this area), but Plaintiff Kwon has darker sideburns. Hence, the two individuals are
       different men.

    3. Defendant uploaded the Post, and ten days later, on February 26, 2021, uploaded four
       more Posts including the Photo within one to two minute intervals, with malicious
       intent.

The Post was hidden by the site administrator about two hours after it got posted due to a
complaint/report. However, 10 days later on February 26, 2021 between 10:15 p.m. and
10:16 p.m., there were four additional Posts posted along with the Photo within one minute
interval.

    A. The first of these four Posts (posted by user ID “I disagree”) was entitled “Question 1”
       and contained the following: “Is this the time when you were drinking in August, when
       COVID-19 was prevalent?”

1
  Deepfake refers to a video compilation created by manipulating an existing person’s face or specific part
using artificial intelligence similar to the computer graphics in a film.
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                                                                                   [Translation]



    B. The second of these four Posts (posted by user ID “I disagree”) was entitled “Question
       2” and contained the following: “Who is that woman?”

    C. The third of these four Posts (posted by user ID “I disagree”) was entitled “Question 3”
       and contained the following: “Did you pay for this alcohol with your own money or
       bank expenses?”

    D. The fourth of these four Posts (posted by user ID “Last question”) was entitled “This
       is not right” and contained the following: “Based on the angle of the Photo, it was
       taken from the front – which means that the Photo must have been taken by an aide…
       can a leader who gets betrayed even by his aide really be considered a leader?”

Based on the above posts, Defendant seems to state as if Plaintiff Kwon had been caught
while out drinking alcohol using Woori Bank’s expenses while COVID-19 was prevalent.
These posts tarnish Plaintiff Kwon’s leadership and job performance, and indirectly urges
Plaintiff Kwon to step down from his position as the Representative Director.

Woori Bank was established as Hanvit Bank through a merger between Hanil Bank and the
Commercial Bank of Korea. Internally, the bank is divided into these two bank “factions”
(Hanil Bank and Commercial Bank of Korea), and the position as the Representative Director
of Woori Bank has been filled by taking turns (i.e., rotation between personnel from Hanil
Bank and the Commercial Bank of Korea). Past attempts to undermine each other prior to the
new elections for the Representative Director position had been reported by the media as a
tug of war between these two bank factions (Reference 1. Article on Korea Economy from
November 2, 2017).

There are always going to be unhappy internal personnel who try to undermine the
Representative Director of a bank or the bank itself, same as with any regular company. In our
case, as two banks had merged to form Woori Bank, there seem to be more such cases
compared to other banks. Furthermore, as the one-year tenure of the Bank’s Representative
Director, Plaintiff Kwon, had been coming to an end, there were important events coming up
such as the Subsidiary Representative Director Promotion Committee (March 4, 2021),
Executive Recommendation Committee, and the Shareholders’ Meeting (scheduled for March
25, 2021). With these important events coming up, the Defendant posted the Post and the
Second Post consecutively in mid-February and at the end of February In this regard,
Defendant’s actions that defamed Plaintiff Kwon and Woori Bank can be suspected to be seen
as those that intentionally attempted to keep Plaintiff Kwon from serving consecutive terms as
the Representative Director.

Indeed, Defendant posted “Should we just watch this man who gets drunk with a woman at this
time of crisis?” and provoked others to not be silent about the Plaintiff’s behavior, reiterating
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                                                                                   [Translation]


the need to take actions. In the end, Defendant’s actions can be suspected to have criminal
intentions of removing Plaintiff Kwon from his position as the Representative Director.

In addition, the comments for the Post entitled “Question 3” include “Wow… just leave.” This
comment can be seen as written by Defendant, or by someone else with the same intentions as
Defendant.

    4. Production and distribution of false media, etc.

The following are not allowed: (i) distribution of edited or manipulated media that combines
the face or body of a person with the purpose of provoking sexual desires, or (ii) distribution
or public display of edited, manipulated, processed or copied material.

As described above, the Photo was either edited to induce sexual humiliation via deepfake
technology or included a subject that looked like Plaintiff Kwon. The man in the Photo is
definitely not Plaintiff Kwon.

In addition, Defendant either manipulated the image of Plaintiff Kwon’s face and body with a
photo of a man hugging and kissing a woman on the left cheek while holding her on a couch
at place that appears to be a hostess bar or posted a photo of a man that looked like Plaintiff
Kwon on Blind for the purpose of distribution and public display against the will of Plaintiff
Kwon. The Photo was made in a form that could induce sexual desire or humiliation.

Not only that, Defendant posted the Photo over two different instances, on February 16, 2021
and on February 26, 221, for the purpose of distribution and public display on Blind App.

    5. Defamation and insult

The five Post Texts in the table above [i.e., excerpt from the Post Texts], in addition to the
Photo, which is manipulated, are all fake. The Second Post, which supplemented the original
Post, portrays that Plaintiff Kwon, while serving as the Representative Director of Woori Bank,
was drinking alcohol at a hostess bar engaging in intimate physical contact with a hostess using
bank expenses when COVID-19 was prevalent.

Defendant, by posting the Post, which is false, and the Second Post on Blind, slandered Plaintiff
Kwon. Defendant not only defamed and insulted Plaintiff Kwon by questioning the leadership
and job performance of Plaintiff Kwon and by implying that Plaintiff Kwon should resign from
his position as the Representative Director of Woori Bank and never be allowed to take his
position back to all of the officers and employees of Woori Bank who are on Blind and to
whom the officers and employees can spread the information, but also defamed Woori Bank
by creating the impression that Plaintiff Kwon is not carrying out his duties appropriately as
the Representative Director of the Bank.
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                                                                                    [Translation]


In particular, Defendant defamed Woori Bank with the false information in the Post Texts that
disparaged the position of Woori Bank.

The biggest concern is that Defendant posted similar contents twice, once on February 16, 2021
and twice on February 26, 2021 (repetition of the same illegal action), and it is likely to
continue to repeat such illegal action, thereby further damaging the reputation of Plaintiff
Kwon and Woori Bank.

    6. Intimidation or threat using filmed content

By uploading the Post and the Second Post over a certain period of time, Defendant is
intimidating and threatening Plaintiffs by making it seem as if his illegal actions will continue.

Through such intimidation, Defendant intends to deny Plaintiff Kwon’s leadership and job
performance, make Plaintiff Kwon resign from his current position, and prevent Plaintiff
Kwon from taking the position again.

One of the comments of the Post entitled “Question 3” was “Wow… just leave.” This
comment seems to be from Defendant, or at least an employee who has the same intention as
Defendant. By repeatedly uploading the Posts on Blind, Defendant intended to either force
Plaintiff Kwon to resign from the Representative Director position at Woori Bank or prevent
Defendant Kwon from carrying out his obligations as Woori Bank’s Representative Director.

    II.     Requests

    (1) Request for a comprehensive investigation on “cyber sexual crimes”
        - Defendant slanders Plaintiff Kwon while remaining anonymous through Blind
           App and using the Posts as means of intimidation and coercion by posting on
           Blind App and these actions are serious criminal acts that can be considered as a
           cyber sexual crime.
        - Defendant’s crime must not only be punished as defamation, but also as cyber
           sexual crime. The police, on March 2, 2021, had a press release for its plans to
           crack down and punish cyber sexual crimes by stating that “the police will mount
           intensive crack down on cyber sexual crimes and illegal distribution by October.”
        - We request that this case of illegal production and distribution of edits, etc. be
           thoroughly investigated in order to eliminate cyber sexual crimes which infiltrate
           the daily life and cause unspeakable pain.

    (2) Request for an investigation on the relationship between the unidentified individuals
        - By looking into the two Posts, it can be seen that such false information is being
           repeated and reproduced, and through the comments to these Posts, the uploaders
           of these Posts can spread their malicious message to all of the officers and
           employees of Woori Bank who are on Blind and to whom the officers and
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                                                                               [Translation]


       employees can spread the information (can be assumed to include all officers and
       employees of Woori Bank).
   -   From such a perspective, this case is not simply a defamation case but one that
       involves “unidentified parties” cooperating through various means to commit
       criminal actions to prevent Plaintiff Kwon from being re-elected as
       Representative Director of the Bank, and to urge him to resign.

(3) Request for the review on the necessity of a seize and search
    - Blind uses a patented method that includes a “group certification” and deletion of
       user information during its registration process. Hence, Blind is known to respond
       that it does not have the user information when requested.
    - The following are details of Blind’s registration certification process and user
       information storage: (i) there is a “group certification” that confirms that a user is
       an employee at the respective company by checking for the user’s email and
       company name; (ii) following “group certification”, the user may choose a
       nickname and password for registration; (iii) using the user’s password, the user’s
       email becomes encrypted and sent to the server; (iv) the server produces a session
       key (random number), and saves the user’s email following a matching process;
       the session key is then delivered to the terminal; and (v) when the session key is
       issued, the verification process is completed, and when the verification is
       complete, the saved information from the registration process gets completely
       deleted.
    - However, (a) even without the email and the link, identification of an anonymous
       user is possible. (b) In the “table for members”, there is a requirement for
       “member number”, making identification of a member based on this information
       possible. (c) It is possible to know which specific member was active in which
       subsections, and what they posted through the posts/comments management table.
       (d) In the posts/comments management table, the identification number of
       posts/comments and the member number of the author of such posts/comments
       are available. (e) It is unclear whether the information regarding when the
       member registered and through which IP address the member used, is available,
       but it is believed that it may be possible if the server stores/manages the
       applicable information separately.
    - Through such methods, even on Blind, it could be possible to identify
       “anonymous users”. It seems possible to find out when the user who made certain
       posts registered with the app and which subsections they were active in, and also
       which IP address they accessed through the posts/comments management table.
    - Given the above, we ask that you proactively consider issuing a seize and search
       warrant for the PCs at Team Blind’s Seoul office to access the servers and check
       the user information of the members that made certain posts and comments.

(4) Request for judicial assistance to secure/obtain Defendant’s personal information
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                                                                                        [Translation]


           -   Team Blind, which operates the Blind App, has its headquarters in the U.S., while
               its Seoul team has an office in Seoul. It seems that Team Blind’s storage of
               personal information is located in the U.S., and it also seems that the PCs in Team
               Blind’s Seoul office is capable of accessing the above server through an
               administrative account.
           -   In case that it may be difficult to access the relevant identification information of
               uploaders through Team Blind’s Seoul office due to technical issues, we see that
               it is necessary to request judicial assistance from the U.S., under Article 5 of the
               International Criminal Justice Treaty and Articles 1, 14, and 15 of the Korea-U.S.
               Criminal Justice Treaty.
           -   Further, even if the relevant information is obtained through a seize and search of
               the Seoul office, such requests for judicial assistance will still be necessary for the
               accuracy and reliability of the digital evidence.
           -   Defendant’s actions against Plaintiff Kwon created substantial emotional distress,
               which is considered a crime under the regulations against stalking in 18. U.S.
               Code §2261A.
           -   Therefore, in order to obtain the relevant information regarding the uploader of
               the Posts, we request for you to proactively review the possibility of requesting
               the mutual legal assistance in a criminal matter from the judicial authorities of the
               U.S.

    III.       Conclusion

This case involved the public display of manipulated media content that induces sexual
humiliation along with words of disparagement in the cyberspace shared by countless officers
and employees. Defendant’s actions are serious crimes that not only defamed Plaintiff Kwon
and Woori Bank, but also intimidated and threatened Plaintiff Kwon’s position as well as the
organizational discipline of Woori Bank as a whole.

If we are not able to pursue to the end and severely punish these types of crimes, there may
be no guarantee that similar crimes may not recur at numerous other corporations or
government organizations.

We request that the police of the Republic of Korea conduct all possible legal actions and
investigations and impose strong sanctions on the Defendant so as to set an example of strong
enforcement against crimes to prevent any similar crimes from recurring and thereby prevent
situations in which the discipline of public and private organizations break down and fall into
confusion.
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                                                                              [Translation]


                                    Evidentiary Materials


1.   Plaintiff’s Exhibit No. 3-1 to 3-4    Second Post




                                      Reference Materials


1.   Reference Material 1.                 The Korea Economic Daily Article on Nov. 2, 2017
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                                                                          [Translation]




                                             March [*], 2021

                                             Legal Counsel for the above Plaintiffs

                                             Yulwoo

                                     Attorneys-at-law          Ho Jin Kim[seal:]
                                                           Gwang Soo Han[seal:]
                                                             Ji Hyun Choi[seal:]




To: Seoul Namdaemun Police Station
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                                                                                [Translation]



Exhibit No. 3-1

Question 1
User: “I Disagree”
22 minutes ago

Is this the time when you were drinking in August, when COVID-19 was prevalent?




Exhibit No. 3-2

Question 2
User: “I Disagree”
21 minutes ago

Who is that woman?




Exhibit No. 3-3

Question 3
User: “I Disagree”
19 minutes ago

Did you pay for this alcohol with your own money or bank expenses?




Exhibit No. 3-4

This is not right
User: “I Disagree”
13 minutes ago

Based on the angle of the Photo, it was taken from the front – which means that the Photo must
have been taken by an aide… can a leader who gets betrayed even by his aide really be
considered a leader?
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                 Exhibit M
2021. 4. 6.     Case 4:21-mc-80084-DMR Document 1-5
                                        세상을 보는 눈,   Filed
                                                  글로벌 미디어04/20/21
                                                          - 세계일보 - Page 135 of 173




블라인드 서버엔 개인정보 저장 안한다는데…"꼬우면 이직해라" 글 작성자 처벌될
까?
경찰 "지난해 디지털성범죄자들을 수사할 당시에도 텔레그램 측으로부터 자료를 받지 않았음에도 검거에 성공. 블라인드 측 개
인정보 자료 제공 여부가 수사에 영향을 주지 않는다"

입력 2021-03-16 15:30:42, 수정 2021-03-17 08:05:58




"꼬우면 니들도 우리회사(한국토지주택공사)로 이직해라"라는 글을 직장인 익명 애플리케이션(앱) 블라인드에 올린 작성자를 찾기 위해 경찰이 수사에 착수한 가운
데, 작성자를 잡을 수 있는지 여부에 관심이 모아진다.

블라인드 측은 서버에 작성자를 추정할 수 있는 정보가 저장되지 않아 전달한 정보가 없다는 입장을 고수하는 가운데, 경찰은 자료 입수 여부가 수사 성공 여부에 영
향을 주지 않는다며 엄정한 수사를 예고했다.

16일 경찰과 뉴스1에 따르면 경남경찰청 사이버수사대는 전날 진주경찰서로부터 LH 관련 익명 게시글을 블라인드에 올린 작성자에 대한 고발건을 넘겨받아 수사에
착수했다.

LH는 지난 14일 해당 글 작성자를 대상으로 명예훼손과 모욕, 업무방해 혐의로 경남 진주경찰서에 고발한 바 있다. LH 직원으로 추정되는 작성자는 지난 9일 블라인
드에 '내부에서는 신경도 안 쓴'이라는 글을 올렸다.

해당 글 작성자는 "어차피 한두달만 지나면 사람들 기억에서 잊혀져서 물 흐르듯이 지나가겠지"라며 "우리 회사만의 혜택이자 복지인데 꼬우면 니들도 우리회사로
이직하든가"라고 명시했다.

또 "아무리 열폭해도 난 열심히 차명으로 투기하면서 정년까지 꿀 빨면서 다니련다"라고 언급해 국민적 공분을 샀다.

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2021. 4. 6.     Case 4:21-mc-80084-DMR Document 1-5
                                        세상을 보는 눈,   Filed
                                                  글로벌 미디어04/20/21
                                                          - 세계일보 - Page 136 of 173


이에 대해 블라인드 측은 경찰의 수사에 최대한 협조하겠다는 방침이지만, 작성자가 누구인지 추정하기는 불가능하다고 선을 그었다.

블라인드 관계자는 "수사는 수사기관의 독자적 영역이므로 블라인드는 요청이 온다면 최선을 다해 협조할 예정"이라면서도 "다만 가입자의 개인정보를 아예 저장하
지 않는 방식으로 서비스가 설계돼 전달할 개인정보가 없다"라고 했다.

블라인드의 '개인정보처리방침'에 따르면 블라인드 가입자의 모든 정보는 암호화돼 저장되며, 회사는 암호화된 정보를 복호화(암호화된 정보를 되돌리는 것)할 수 없
다고 기재돼 있다.

또 암호화된 정보가 시스템에 저장된 후에는 누구의 정보인지 확인할 수 없다고 한다. 특히 법적 요청과 피해 방지를 위해 보유하고 있는 정보를 일부 공유할 수 있으
나, 해당 정보에는 특정인임을 판단할 수 있는 정보는 포함돼 있지 않다고 명시돼 있다.

그간 블라인드의 정보 제공 협조 요청 거부는 여러 차례 있었다. 대표적으로 올해 초 국내 굴지의 한 IT기업 직원이 직장 내 괴롭힘을 호소하며 블라인드에 유서를 올
려 경찰이 자살 방지 차원에서 정보 제공 협조 요청을 했으나, 블라인드 측은 관련 정보를 제공하지 않았다.

반복되는 블라인드 측의 모습에 시민들은 비판의 목소리를 내고 있다.

직장인 이모씨(28·남)는 "여론이 들끓는데 협조하지 않는 모습은 이래저래 보기 좋지 않다"며 "정보 제공 사례를 남기면 '탈퇴 러쉬'가 이어질까봐 두려워서 그러는
것"이라고 했다.

직장인 조모씨(30·남)는 "공익보다는 개인의 권익을 위하는 것이라고 하지만, LH 사건과 같이 공익성이 큰 사건에는 기업도 협조해야 한다고 생각한다"고 했다.

경찰 관계자는 "지난해 박사방, n번방 등 디지털성범죄자들을 수사할 당시에도 텔레그램 측으로부터 자료를 받지 않았음에도 검거에 성공했다"며 "(블라인드 측의)
개인정보 자료 제공 여부가 수사에 영향을 주지 않는다. 엄정하게 수사하겠다"라고 했다.

김현주 기자 hjk@segye.com




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                 Exhibit N
April 6, 2021    Case 4:21-mc-80084-DMR Document     1-5global
                                         Your world view,  Filed  04/20/21
                                                               media -Segye Ilbo Page 138 of 173                 [Translation]




Segye Ilbo



It is claimed that personal information is not stored in the Blind server…could the author
of the post “Join us if you are jealous” be punished?
Police: “We have successfully arrested digital sex offenders last year without receiving any materials from Telegram.
Our investigation shall not be affected by whether or not we receive personal information from Blind.”
Entered on March 16, 2021 15:30:42, Revised on March 17, 2021 08:05:58



[Blind Post]
Nobody in the company cares at all

LH (redacted)
1 min

Everybody, including me, believes that this too shall be forgotten by people within a month or two just like the water
flowing away. How would they possibly find out when everything is under borrowed names? LOL
I will work until retirement and enjoy the investment opportunities under borrowed names, whether or not you turn green
with envy. This is the fringe benefit and welfare available only at our company. Join us if you are jealous! Makes me sick
to get publicly bashed by people who weren’t even smart enough to join us, tsk-tsk.

As the police commences an investigation to track down the author of the post entitled “Join my company (LH) if
you are jealous” in Blind, which is an anonymous application for company employees, attention is focused on
whether the track down would be successful.

Blind is maintaining its position that they have no information to provide since any information that could lead to the
identity of the author was not stored on their server. Nevertheless, the police announced that whether or not they
receive such information from Blind would not affect the outcome of their investigation and declared that they will
conduct a thorough investigation.

According to the police and News 1 on the 16th, the Gyeongnam Police Cyber Investigation Team took over the case
from the Jinju Police Station and initiated their investigation with respect to the author who posted the anonymous
post about LH on Blind.

LH filed a complaint on the 14th to the Gyeongnam Jinju Police Station against the author of the post on charges of
defamation, insult, and interference with business. An anonymous person, who is believed to be an LH employee,
uploaded a post on Blind on the 9th claiming that “nobody in the company cares.”

The post claims that “this too shall be forgotten by people within a month or two just like the water flowing away”
and further adds that “this is the fringe benefit and welfare available only at our company. Join us if you are jealous.”

The post enraged people across the country by stating that “I will work until retirement and enjoy the investment
opportunities under borrowed names, whether or not you turn green with envy.”

In response, Blind declared that their policy is to cooperate with the police investigation to the fullest extent possible,
but maintained its stance that it is impossible to track down the identity of the author.

A Blind official claimed that “as the investigation is the exclusive domain of the investigative agency, we plan to do
our best to cooperate if requested, but we have no personal information to provide because the service is designed in a
way that does not store subscribers’ personal information.”

According to the Privacy Policy of Blind, all information of Blind subscribers is stored after encryption, and it is
impossible for the Company to decrypt (restore encrypted information) such encrypted information.

In addition, it is said that it is not possible to verify whose information it is after the encrypted information is stored in
the system. In particular, although it is possible to share some of the information stored in order to accommodate legal
requests and prevent further damages, it is clearly stated that such information would not contain information that can
be used to identify a specific person.

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                                        Your world view,  Filed  04/20/21
                                                              media -Segye Ilbo Page 139 of 173              [Translation]

There have been several instances where Blind refused to cooperate with the requests to provide information. For
example, at the beginning of this year, an employee of a leading domestic IT company posted a suicide note on Blind
claiming that he or she has been suffering from workplace harassment. The police requested Blind’s cooperation to
provide information in order to prevent suicide, but Blind declined to provide the information.

People are voicing their criticism for such repeated stance of Blind.

Mr. Lee (28, male), an office worker, said, “it does not look good in any way especially when the public is furious”
and further added that “they are probably afraid of mass cancellation of the membership if they leave a case of providing
information.”

Meanwhile, Mr. Jo (30, male), another office worker, said, “they say it is for the interest of individuals rather than the
public, but I think companies should cooperate when there is a significant public interest, such as the LH case.”

The police stated that, “we have successfully arrested the digital sex offenders involved with Doctor Room and N-
Room last year without receiving any materials from Telegram” and added that “our investigation shall not be affected
by whether or not we receive personal information [from Blind]. We are determined to conduct a thorough
investigation.”

Reporter, Hyunjoo Kim hjk@segye.com




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                 Exhibit P
     Case 4:21-mc-80084-DMR Document 1-5 Filed 04/20/21 Page 164 of 173

                                                                                 [Translation]


                                           Complaint


Plaintiffs       1. Woori Bank
                 Representative Director Kwang-seok Kwon

                 2. Kwang-seok Kwon
                 Address: 51 Sogong-ro, Jung-gu, Seoul, Republic of Korea (Hoehyeon-dong
                 1-ga, Woori Bank Head Office)

                 Counsel for Plaintiffs: Kim & Chang
                 Attorneys-at-law: Sang Jin Oh, Song Yi Baek
                 39 Sajik-ro 8-gil Jongno-gu Seoul, 03170 Republic of Korea


Defendants       1. Unidentified individual

                 2. Unidentified individual

                 3. Unidentified individual
                 Addresses of Defendants unknown

Action for Compensatory Damages

                                        Summary of Claim


Plaintiffs seek judgement as follows:

1.       Defendants shall jointly pay a sum of KRW 200,000,100 to Plaintiffs together with the
         interest accruing thereon (i) at the rate of 5% per annum for the period from February
         26, 2021 to the date when this Complaint is served upon Defendants, and (ii) at the
         rate of 12% per annum for the period from the date immediately following the date of
         service to the date when the above sum is fully paid.

2.       The litigation costs shall be borne by Defendants.

3.       Paragraph 1 may be subject to a provisional execution.




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                                                                                       [Translation]


                                        Grounds for Claim


1.        Status of the Parties

Plaintiff Woori Bank (“Woori Bank”) is a financial company providing a full range of
financial services including personal financing and corporate financing. Plaintiff Kwang-seok
Kwon (“Plaintiff Kwon”) has been appointed as the Representative Director of Woori Bank
since March 24, 2020, and has been in charge of overseeing and directing the financial services
provided by Woori Bank (Plaintiff’s Exhibit No. 1 Certificate of Partial Registered Items of
Woori Bank).

Defendant 1 is the person who uploaded a post entitled “This is the true identity of the boss
that we have trusted and followed” on February 16, 2021 under the nickname of “ijlijllij” on
the Woori Bank page of Blind (“Blind App”), an anonymous community application for office
workers. Defendant 2 is the person who uploaded three posts entitled “Question 1”, “Question
2”, and “Question 3” on February 26, 2021 on the same page of Blind App under the nickname
of “I Disagree”. Defendant 3 is the person who uploaded a post entitled “This is not right”
on February 26, 2021 on the same page of Blind App under the nickname of “Last Question”.

2.        Defendants’ liability for damages to Plaintiffs

A.        Background of this case involving Blind App

Blind App is an anonymous community application for office workers that was release around
December 2013. Users can sign up for Blind App by receiving or sending a verification request
email through their company email account,1 and users who have completed such verification
process are able to anonymously share work-related information with other users through the
app. As of February 2021, the number of Blind App subscribers in Korea and the United States
is approximately 4.4 million in total. On average, these subscribers use Blind App for 40
minutes per day (Plaintiff’s Exhibit No. 2 News Article of Maeil Business News dated February
17, 2021).

     1)   Defendant 1’s tort related to the post on February 16, 2021

          On February 16, 2021, a post entitled “This is the true identity of the boss that we have
          trusted and followed” was uploaded by Defendant 1 on the Woori Bank page of Blind
          App (“Primary Post”). (Plaintiff’s Exhibit No. 3 Primary Post)

          In the Post, there was a photo of a man wearing a partially unbuttoned blue shirt while
          sitting on a sofa at a place that appears to be a hostess bar, hugging and kissing the left
          cheek of a woman who seems to be a hostess (“Photo”). In addition to this Photo, there
          was the following description to depict the man as Plaintiff Kwon.

               No.                                Descriptions in the Post


1
  In the past, users were verified by their receipt of a verification email. However, users
now verify by sending a verification email using their company email account.
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                                                                             [Translation]

           1        Woori Bank allegedly has an online comments monitoring team and
                    a Blind monitoring team.
           2        Behind our back, he did not hesitate to enjoy a drinking party while
                    being shamefully physically affectionate with a young woman.
           3        He was wearing an unbuttoned shirt while hugging a woman who
                    looks to be even younger than his daughter.
           4        Thousands of employees’ blood and sweat go to a waste for a pathetic
                    man’s nightly drinks with a hostess, (blood and sweats) flowing down
                    the throats of such humans.
           5        Take a closer look at what you have done in one year. There are no
                    achievements. Woori Bank is now ranked 7th or 8th.

     However, since Plaintiff Kwon took office as the Representative Director of Woori
     Bank on March 24, 2020, he has never visited a hostess bar nor drank with a hostess.
     Further, he does not know the location of the place nor the identity of a woman in the
     photo mentioned above. Woori Bank has a public relations team at its head office, and
     this team is responsible for the ordinary management and response to the media.
     However, Woori Bank has no online comments monitoring team nor a Blind
     monitoring team as claimed in the Post. As such, the descriptions in the Primary
     Post including the Photo are all false.

     Moreover, the Photo seems to have been illegally manipulated to look like Plaintiff
     Kwon or it is a photo of another man who looks like Plaintiff Kwon. The purpose of
     this photo seems to be to anonymously defame/insult Plaintiffs or cause a sexual
     humiliation of Plaintiff Kwon.

     The Primary Post became “hidden” on Blind App only after Plaintiffs, who became
     aware of the Primary Post, requested Teamblind Inc. (“Teamblind”) to delete the
     Primary Post.

     Since the Primary Post was unattended until it became “hidden” after the request by
     Plaintiffs, a large number of unspecified users of Blind App read it and some users
     even leaked it to other applications or websites.

     Meanwhile, with regard to the aforementioned criminal conduct committed through
     Blind App, Plaintiffs are currently carrying out criminal proceedings by filing a
     complaint against the uploader of the Primary Post for violating the Act on Special
     Cases Concerning the Punishment, etc. of Sexual Crimes (for distribution of false
     media content).

2)   Torts by Defendant 2 and Defendant 3 – with regard to the posts on February 26,
     2021

     On February 26, 2021, 10 days after the upload of Primary Post, Defendant 2 uploaded
     three separate posts along with the Photo (collectively referred to as the “Secondary
     Posts”). (Plaintiff’s Exhibit Nos. 4-1 through 4-3 Each of the Secondary Posts)




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                                                                                [Translation]

   (i)      The first post (Plaintiff’s Exhibit No. 4-1) entitled “Question 1” contains the
            following statement: “Is this the time when you were drinking in August,
            when COVID-19 was prevalent?”

   (ii)     The second post (Plaintiff’s Exhibit No. 4-2) entitled “Question 2” contains
            the following statement: “Who is that woman?”

   (iii)    The third post (Plaintiff’s Exhibit No. 4-3) entitled “Question 3” contains the
            following statement: “Did you pay for this alcohol with your own money or
            bank expenses?”

   In addition, on the same day (immediately after the upload of Secondary Posts),
   Defendant 3 uploaded another post along with the Photo on Blind App (“Tertiary
   Post”). (Plaintiff’s Exhibit No. 5 Tertiary Post)

   The Tertiary Post entitled “This is not right” contains the following statement: “Based
   on the angle of the Photo, it was taken from the front – which means that the Photo
   must have been taken by an aide… can a leader who gets betrayed even by his aide
   really be considered a leader?”

   As in the Primary Post, the Secondary Posts and the Tertiary Post also include the
   Photo, which is illegally manipulated for the purpose of defaming/insulting Plaintiffs
   or causing sexual humiliation of Plaintiff Kwon.

   By comprehensively considering the contents in the Secondary Posts and the Tertiary
   Post, Defendant 2 and Defendant 3 seem to have an intention to (i) undermine Plaintiff
   Kwon’s leadership and legitimacy of his performance of duties, and (ii) indirectly urge
   Plaintiff Kwon to step down from his position as the Representative Director of Woori
   Bank. Such intention is shown as Plaintiff Kwon is portrayed as a person who got
   betrayed by his own aide while drinking alcohol with bank expenses in the midst of
   COVID-19. Further, one of the comments to “Question 3” was “Wow… just leave.”
   This comment is presumed to have been written by Defendant 2 (or an employee who
   agrees with Defendant 2) to claim for the resignation of Plaintiff Kwon.

   Moreover, since the Primary Post was already “hidden” upon Plaintiffs’ request,
   Defendant 2 and Defendant 3 must have known (or should have known), that the
   Primary Post violates Blind App’s policy or may be illegal. Regardless, they repeatedly
   uploaded the malicious posts using the same Photo in the Primary Post. We cannot rule
   out the possibility that Defendants worked systematically by having set roles and
   repeatedly uploading each post for the purpose of inflicting harm to the management
   of Woori Bank by defaming/insulting Plaintiffs or indirectly urging Plaintiff Kwon to
   resign.

   Plaintiff Kwon has been suffering from an extreme mental agony as the Secondary
   Posts and the Tertiary Post got uploaded even after the “hiding” of the Primary Post.
   Woori Bank is also suffering from severe tangible and intangible damages - not only
   is there a threat to the ordinary performance of duties by its representative director, but
   also disruptions to the ordinary operation of Woori Bank due to the unrest among its
   officers and employees.

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                                                                                        [Translation]

B.       Defendants’ liability for damages to Plaintiffs

Defendants’ uploading of each of the foregoing Posts is a series of acts conducted to tarnish the
reputation of Plaintiffs, which constitutes not only a joint tort against Plaintiffs but also a
criminal offense.

From such joint tort, Plaintiffs suffered a serious harm to their reputation, and in particular,
suffered a “non-property damage” (i.e., mental damage and intangible damage) (see Article
751(1) of the Civil Act and Supreme Court Decision No. 2006Da53146 rendered on October 9,
2008).

Due to the nature of the online medium where information is shared and spread in real time,
even a spread of false information for a short period of time can result in a serious and
irreparable harm to the victim and company.

Furthermore, the contents of the Posts are serious and has a great impact on the general public
because they contain unfounded, false facts about (i) Woori Bank, one of the top five
commercial banks in Korea, and (ii) Plaintiff Kwon, the representative of Woori Bank (along
with the illegally manipulated photo of Plaintiff Kwon).

Moreover, considering the size of Blind App, number of its users, and the social status of
Plaintiffs, the damage suffered by Plaintiffs (e.g., damage to the corporate image, social
reputation, and credibility) from the Posts is so great that it is difficult to calculate the monetary
amount of damage. It will be extremely difficult for Plaintiffs to recover.

Plaintiffs have decided to determine the specific monetary amount of damages later on (i.e.,
after confirming the extent of damages suffered by Plaintiffs and confirming the background of
the torts committed by Defendants). At this time, Plaintiffs are claiming for only a portion of
the total damage suffered from the joint tort by Defendants.

Therefore, pursuant to Article 760 of the Civil Act, Defendants are jointly liable to pay Plaintiffs
KRW 200,000,100 first as damage for joint tort, together with default interest accrued thereon
(i) at the rate of 5% per annum as prescribed by the Civil Act for the period from February 26,
2021 (when the Secondary Posts and Tertiary Post were uploaded) to the date when this
Complaint is served upon Defendants, and (ii) at the rate of 12% per annum as prescribed by
the Act on Special Cases Concerning Expedition, etc. of Legal Proceedings for the period from
the date immediately following the date of service to the date when the above sum is fully paid.

C.       A separate request for preservation of evidence will be filed to obtain Defendants’
         personal information

It is necessary to review Defendants’ personal information and the originals of each of the Posts
in order to identify Defendants and calculate the exact amount of damage suffered by Plaintiffs
from the joint tort by Defendants.

In addition, considering that the Secondary Posts and the Tertiary Post were repeatedly
uploaded on February 26, 2021 (immediately after hiding the Primary Post upon Plaintiffs’
request), there is a good chance that the same or similar torts against Plaintiff will occur again.



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                                                                                  [Translation]

Hence, it is necessary to identify the person that uploaded the Posts in order to figure out the
background of this case, as well as to prevent recurrence. Since the uploading of the Posts
constitutes a criminal offense, it is necessary to identify the anonymous uploaders and make
them take both civil and criminal liabilities.

However, each of the Posts is currently “hidden” and, as explained above, Blind App operates
based on the guaranteed anonymity of its users. Hence, Plaintiffs are unable to identify
Defendants or check the contents of the Posts without Teamblind’s cooperation.

According to the verification system and method registered by Teamblind (Plaintiff’s Exhibit
No. 6), it seems that Teamblind manages its anonymized users by membership number, and the
information such as sign-up time and activity details of each user is stored and managed through
its server Therefore, it would be possible to identify the uploaders of the Posts by comparing
the foregoing information of Teamblind with the information stored in the server of Woori Bank,
such as the date and time of the verification email sent from Woori Bank email accounts to
Blind App.

Accordingly, Plaintiffs have filed for a request for preservation of evidence with the Seoul
Central District Court on March 4, 2021 (Case No. 2021KaGi50610) to specify Defendants,
identify the background and details of their torts, and calculate and prove the amount of damage
suffered by Plaintiffs from such torts.

We will revise the Complaint as soon as the personal information and addresses of Defendants
are confirmed through the above evidence preservation procedure.

We respectfully request that the Court take into account the foregoing circumstances when
proceeding with the litigation, including service of a copy of this Complaint.


3.      Conclusion

For the foregoing reasons, Plaintiffs have filed this lawsuit against Defendants, and hereby
respectfully request the Court to accept all of Plaintiffs’ claims.




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                                                                                 [Translation]


                                   Evidentiary Documents

1.   Plaintiff’s Exhibit No. 1 Certificate of Partial Registered Items of Woori Bank Co., Ltd.
2.   Plaintiff’s Exhibit No. 2 News Article of Maeil Business News dated February 17, 2021
3.   Plaintiff’s Exhibit No. 3 Primary Post
4.   Plaintiff’s Exhibit No. 4-1 Secondary Post (1)
5.   Plaintiff’s Exhibit No. 4-2 Secondary Post (2)
6.   Plaintiff’s Exhibit No. 4-3 Secondary Post (3)
7.   Plaintiff’s Exhibit No. 5 Tertiary Post
8.   Plaintiff’s Exhibit No. 6 Verification System and Method of Blind App




                                     Attached Documents

1.       Certificate of Partial Registered Items



                                        March 4, 2021

                                                        Counsel for Plaintiffs

                                                        Attorney-at-law Sang Jin Oh

                                                        Attorney-at-law Song Yi Baek




To: Seoul Central District Court




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                                                                                    [Translation]

Plaintiff’s Exhibit No. 3

This is the true identity of the boss that we have trusted and followed.
Ijlij!llij
13 minutes ago

Woori Bank allegedly operates an online comments monitoring team and a Blind monitoring
team – isn’t this worse than the online comments monitoring team at the National Intelligence
Service? If they have enough personnel to operate such teams, such personnel should be
assigned to a branch that is currently extremely busy. I don’t know when this post will be
removed, so please take a quick look.

This is the true identity of the boss that we have trusted and followed.

While emphasizing the importance of leading an ethical life to 15,000 employees, behind our
back, he secretly had a drinking party while being shamefully physically affectionate with a
young woman. He did so while both employees and customers are going through such difficult
times.

In the long history of Woori Bank for more than 120 years, was there anyone who committed
such a shameful act?

He shouts, “it is a time of crisis, so everyone should be devoted to sales.” However, behind our
back, he wears an unbuttoned shirt while hugging a woman who looks to be younger than his
daughter.

Indeed, where on earth is this place, and who is this woman in his arms…

Countless employees who are not even aware of his true identity are sweating at sales sites,
working overtime at the head office, and sacrificing themselves for the bank.

However, thousands of employees’ blood and sweat go to a waste for a pathetic man’s nightly
drinks with a hostess, (blood and sweats) flowing down the throats of such humans.

I can’t help but lament. I’m even more furious because I trusted him. It is an act that completely
ignores and betrays our long history as well as many seniors and juniors of the bank.

Sir!
Woori Bank is not your personal property, and employees are not just slaves running around
and bowing down when you ask them to do so.
Woori Bank is a magnificent and noble product of tens of thousands of employees. Keep that
in mind.

You got that position without any ability by riding on someone’s coattails. Shouldn’t you at
least work hard, and work in a right manner?

Take a closer look at what you have done in one year.
There are no achievements.
Oh! We got one – “no dress code”…


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                                                                                 [Translation]

You may say that we have VG?
Every single one of the 15,000 employee knows that this is merely a copy/imitation of another
bank.

A man who is more suitable as a staff or a secretary got his current position by riding on the
coattails of his high school alumnus.

Woori Bank is now ranked 7th or 8th.

Should we just watch this man who gets drunk with a woman at this time of crisis?

This is such a lamentable reality that makes me pound the ground and vomit blood.




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                                                                                 [Translation]

Plaintiff’s Exhibit No. 4-1

Question 1
User: “I Disagree”
22 minutes ago

Is this the time when you were drinking in August, when COVID-19 was prevalent?



Plaintiff’s Exhibit No. 4-2

Question 2
User: “I Disagree”
21 minutes ago

Who is that woman?



Plaintiff’s Exhibit No. 4-3

Question 3
User: “I Disagree”
19 minutes ago

Did you pay for this alcohol with your own money or bank expenses?



Plaintiff’s Exhibit No. 5

This is not right
User: “Last Question”
13 minutes ago

Based on the angle of the Photo, it was taken from the front – which means that the Photo must
have been taken by an aide… can a leader who gets betrayed even by his aide really be
considered a leader?




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